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areqTodtg

uotsseideq

sSeqeqetqd

pooy

euyasy

ewyasw
pooy

uot suaqredéAyq

azeqTodtg

aeptodtg

aeqTodtgd

UOT ACSJUT
qoeiq Areutin

Bu 00°Sz

Bu o0°Sh
Bu a

Bu 00°00z

SJjgnd 00°72

Ssjjnd 00°?
bu

Bu 00°09T
Bu 00°00€

Bu 00°02

Su 00°02

Bu 00°00z2

s97xdoy «GPF ET? LOOZHYNZO

[seutdezetyL
puy seutdezexg ‘seutdezetaq]
ELVAWNOdA ANIAVILanNS

[squesseizdeptquy 22830]
HATAOTHOONCAH SANIXVAVINGA
[SsuoTpeuTpTTOZeTyL])
HOTAOTHOONCAH ANOZVLITIOOId

[squesseizdeptquy teyI0]
HAITYOTHOONCAH HNOdOZVuaL
[sas tuoby
Toydaeser0uerpy-z-e198g
SATIOS TES]

TOW LNETYS

[seseestq AemaATY ATIASqoO 10g
sBniq 2euj0/soTbrzsueazpy]
HLYNOTdOdd ANOSWOITLNT4
[SeaTIeATAeq suTdezetTpozueg]
WWd4ZYNOTIO

[UTeTd ‘sastuobequy

TI utsueqotbuy]

NWLUVSTVA

[S8aTIeATIaq eptTwexoqzeD]

HNIdHZVadvoxKoO

[sf20aTqTyUl eyeqdney
UTUOJOASS SATIOSTES
HQTYOTHOVOUGAH HANILAXONTA

[sqoatqtyUul eyeqdney
UTUOJOASS SATIOSTES
HLVIVXO WYAdOIVLIOSH

[SSATIPATIEQ UPANJFOAATIN]
NIOLINVANAOULIN

cISt

ses’ ooTpew

ON

ON
ON

ON

ON

ON
ON

ON
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ON

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ON

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SHA

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SaA

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SaA

SHA
SaA

SaA
SHA

Sada

ON

ON

“600TZOZTTI/3123/3ndano /ds/97T00°L rr TP/ Tenbozes /pord/aiso/

900CNVPTE
-900CNWD PZ

HANTINOD
->aINN

HANTLINOD
-2ANO

HANTLINOD
->INN

900ZAYNI0
- 900CEHA9T

900cTdHA0e
- 900CEH4AOT

900cHdVS0
-900¢dHAzO

900caxdV90
-900ZNYVIET

dLO IO 9TO0E7TOR

ONISSIWN STOE7TOR

ONISSIN VIOe7 Od

ONISSIN €TOe7TOd

diS IO ZTOe710e

NOT LYWO TANI

asod

[NOILYOIAISSVIO NOILYOIGIN]

da

IO wold

aLvVa dOLs

WHHL OISHNED NOILYOICHW NAMWL NOILYOICHW -HLVd LAVLs

NOILYOICSN

aLV¥d doOls

-HLVG LYVLS -aLVd Laws
qeZIWOCNVa ‘THavl Naydo

LNGWLYA aL qdadod
Loarans

GTTT JO TLZ abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771643
Case 6:06-md-01769-ACC-DAB Document 1363-3 Filed 03/12/09 Page 2 of 90 PagelD 85678

erst

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
[seutdezertyL
puy seutdezexo ‘seutdezetq] 9007TEHAET
azejTodta Su 00°00z2 HLVaWWNA ANIGVILENS ON ON SHA -900cCEHATS
[seutdezeryy
puy seutdezexo ‘seutdezetq] 9007GH4ATZ
ae podtg Bw 00°00T HLVYWWNA ANIdVILHYNS ON ON SaA - 900CAEHAOT
[seaTaeatszeq ptoy Aaqqeg] 900ZAWNTO
zejtodtq Sw a0°o00T WONIGOSIWHS HLVONdTVA ON Sax SaA -900cEH4AL0
[seutdezetyL
puy seutdezexo ‘seutdezeta] 9007EH4OT
aeptodtg Bu 00°Sz HLVYWWAA ANIGVILENS ON ON SaA -900CaHAL0
[ST0OITqTYyUT eyeqdney
UTUOICISS SATIOSETAS] 900TEHAET
zejTodta Bu 00°02 HAIWONsOUNCAH WYEdOTYLIO ON ON SHA -900CNYL9T
[S®ATIeATASq ptToy Aq leg]
reptodtg Bw 00°00S WOIGOSIWHS HLVYONdTVYA ON ON Sada
[Seat zeatseq sutdezetpozusg] 9007dHALO 9007TAdVTO
zejTodta Bu zo WVIOZVadTY ON ON SHA -900CNYL9T -900CTEHAET dLO IO LIO€7TOE
[seutdezertyL
puy seutdezexg ‘seutdezetq] 900TAYNSO
azetodta Bw 00°00¢ HLVUWWONA ANIGWILHNG ON SHA ON  -9007HavSO
(Wnty aty] 900CAYNSO
zejtodtg Bu 00°006 WOIHLIT ON Sada ON -900CEHATT
[seutTdezertyuL
puy seutdezexg ‘soutdezetq] 9007¢da4z0
zejodtg bw 00°00T SLVUVNNA ANIGVILANO ON ON SHA -900CNWITE
[untyat Tl 900CEHATT 9007HdWS0
zejTodta Su 00°009 WOIHLIT ON Sax SHA -900CNWLSZ -900¢dEH4AzZ0 dlS IO 9TOE7TOF
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans

NOILYOICSN

qeZIWOCNVa ‘THavl Naydo

GTTT JO ZLz abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771644
Case 6:06-md-01769-ACC-DAB Document 1363-3 Filed 03/12/09 Page 3 of 90 PagelD 85679

vIST

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

[s6n2a
peqetea eutdezetpozueg] 9007dHS7Z
reyTodta Bu 007s HLIVaALYVL WHAIdIOZ Sar ON ON -9007INOTE
[Seuo ToutTnborzo0nt a] SOOcONdET
statsnuts 6w o0°000T NIOVXOTAONdIO ON Sada Sada -SO00COHALT
[seutdazeryL
puy seutdezexg ‘seutdezetq] SOOZONATS
reyTodta Su 00°00% ELVYWWOA ANIGVILANO ON ON SaA -SGOO0ZOXATT
[SPTOo2TIA0D0NNTS] 9007TdHSCC
setbietty sAeazds 00°2 HLVONNA ANOSVIAWOW SAA ON ON -900cCONWES
[SeATIeATASq ptoy Aqqeg] 900¢CdHSZZ
aetodtg 6w oo*000T WNIGOSIWHS HLVONdTVA SHA SHA Sada -S00ZLOOTO

[s6nadq 28410
UA-M SuUOTIeUTquOD ‘wNToOTeD]

queweTddng Sw 00°000T SON GC NIWZLIA SHA SHA SA
[septuenbt g]
z edAj seqeqetad 6w 00°000T NIWMOSLEN SHA SHA SHA
[squsby
ButAz{pow ptdty zsy.0]
quewetTddng sqeq 00°2 TIO HSId SHA SHA SHA
[UTeTA
‘(2 UTWweITA) PTOW oTqr00s8y] HONILNOD 9g900ZDNWET 900ZAWN8O
queweTddns 6w 00°000T GIOW DIGYOOSY SHA SHR SHR -MNQ -900ZKYW60 -SO00ZOHazTZ TWA / 4LO TOOS7TOR
[sotadeTtdatquy 2a1y30] 900ZAYNZO
aeqTodta Bu 00°Sz HNIDIMLOWWI ON ON ON -90078HaY90
[SeaATIeATANGq euTdEzZzeTpozueg]
azeptodtg Bu ost WWdHZYNOTIO ON SHA ON
[Sa0qTqtTYyUl ayeqdnsey
UTUOIOASS SATIOSTSS] 900ZAYNTO 9007HaWPO
azeqtodta Bu 00°07 HCIWONGONCAH WYHdOTVLID ON SHA ON -900ZEHAEZ - 900ZEHAEZ dL3 10 LTO€7TOe
NOILWOIGNI Hsod [NOIL¥VOISISSVIO NOILWOIGEW)] ca TO WOINd LWd dOLS HLvd dOLS LVd dOLS INSWLVAUL aaoo
WHHL OINENHD NOLLVOIGHW NSNVL NOILWOIGHN -HLVd LYWLS -HLVd LUVLS -HLVd LYWLs Loarans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

GTTT JO €42 Obed

CONFIDENTIAL
AZSER12771645
Case 6:06-md-01769-ACC-DAB Document 1363-3 Filed 03/12/09 Page 4 of 90 PagelD 85680

g9zxdoy

SP FET? LOOcCHYNZO

STST

ses’ ooTpew

AST 600TZOZTTI/F13/3nd3ano /ds/9ZT00°L 77 TP/Tenbotes /pord/aiso/

[SSATIPATA9Q sUTdEzeTpozuEg] 900ZNNST
rejTodta Bw 00°T WYddZVeOT SaA ON ON -900ZAYNLO
[UTeTd ‘sastucbequy
TI utsueq,otbuy] 900CNNCST
woTsueqzedAH Su 0070s WONISSWLOd NYLAVYSOT SHA ON ON -9007CHdTLE
[seatqeatszeq prow Aq3e,] 900CNNCST
aepodta 6u 00°005 WONIGOSIWHS HLVONdTVA SHA SHA ON - 900CAYNST
[seutdezeryy
puy seutdezexo ‘seutdezetq] soozogaoz
zejTodta Bw 00°0S7 HLVYWWNA ANIdVILHYNS ON ON SaA -g007OHAzO
[sesuowz0H ptoxrAyL] 900cNNCST
ustptorAy odAy Bu 00°0£ GIOMAHL SHA SHA SHR -SOOZOEATO
[seatqeatszeq prow Aqjeg] 900TAVNGT
zejtodta bw oo°o00T WNICGOSIWHS HLVOUdTVA ON SaxA SHA -GO0O0@DHaTO
[squeby Sutszeds-umtssejog
euaps Bet puy sotqeizntq But[tep-moq]
TOMOT TeASAeT TSA ge 00°T HNGAHHLAVIUL SHA SaA SaA
(untsse jog]
quewetddng  bew 00°0r WOISSYLOd SHA SHA SHA
[squeby
stTatayqsze aatsserddnsounuwy] 721740]
proqzeuneuya Bu 00°0T ALVXHALOHLEW SHA SHA SaA
aseastp xnTjear [sz04TqTYyUI dung uo 074]
Teoeboydossor4sep Bu 00°0€ aHIOZVadOSNVYI SHA SHA SaA
[butqoy- buoy
'senboTeuy puy SUT [TNsuT]
T eddéq seqeqetqd sqtun 00°7Z ANIOUYVIO NITOSNI SHA SAA SaA
[but oy-3ase4
‘'sonboTeuy puy SUT [NsuT]
T edéQ seqeqetqd sqtun 00°8z2 LavdS¥ NITIOSNI SHA SHA SEA
Adezeyy [UTe Tq ‘suebor4syq
quewsoe Tdert oT IeyquAsStTwes puy TeznqQeN] HANTLINOD 900 TAYNIT 9007TAdV8T
SuUOULOH Bu 00°T TIOIGVALSH SHA SHA SHA -MNN -9007HdV6T -SOOZDHACTZ TWA / W1d Z00S7T0
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans
NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GTTT JO #LZ Obed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771646
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OTST

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
[SeaTIeATAeq suTdezetpozueg] 9007dES07
reTodtg Bu 00° T Wd4HZVHOT SHA ON ON -900CHdTLZ
ustptozAyjodAy [seucwz0H ptozrAyL] 9007dHS0Z
Butuesit0m Bow 00°s WNIGOS HNINOYAHLOII SHA ON ON -900cadT8T
feataoetes-uON
‘squeby butsypotg e3eqg] 9007dHS0Zz
Tower PTT Bu o0°0£ HQTHOTHOOUGAH 'IOIONVadOudd SHA SHA ON -9007HHACT
[SSATQeXET
Bbutqoy ATTeotqowso] 9007d4HS0Z2
uot edt ysucp Sq 00°T HSOTNLOVYI SHA SHA ON -S00coOud6c
[uMntyatT] 9007dHS0Z
aetodtg Su 00°006 HLVNOddvO WAIHLIT SaA SHA ON -SO00cOHeaCT?
[seutdezertyL
puy seutdezexg ‘seutdezetq] s00zONd0z
azeptodtg Bu 00°008 BLVYWWOA ANIGVILENG ON ON SHA -GO0COHd0Z
sworpuds [sastucby sutwedog]
bel sseTqseu Bu 90°s HQIYOTHOOUCAH HIOWINIGOWN SHA SHA SHA
[ssucwz0H ptorAyL] 9007dH502
ustptortAyqodAH = Bs«éOONN GZT. WOIGOS BNIXOWAHLOAWI SHA SHA SHA -S007OEAI0
[wntyatT] GOOZONAOZ
rejTodtg Bu 00°009 WOIHLII ON ON SHA -GOOCAON6 Z
[S®aATIwATA9G sUTdEzeTpozuseg] S9O0O0THWNST
aetodtg Bu 00°T WYdHZvaol ON SaA SHA -SOOcNW’SO
[seutdezertyL
puy seutdezexg ‘seutdezetq] SOOcOHd6T 9007ONTTC 9007TAdV60
zejTodta Bu 00°008 BLVYWWOA ANIGVILENG ON ON SHA -SOOZDHA90 §=-900ZHdYOT -SOO0ZDHaTZ IT / dlS €00S7T0g
[seutdezertyL
puy seutdezexg ‘seutdezetq] 900cCNNCST 900CAYWNYT 9007TaAdV8T
zejTodta Su 00°008 ELVaVWOdA ANIGVILENO ON ON ON -S9OO0ZAWWOE -900ZHAY6T -SOOZDHQTZ TWA / Wild Z00S7T0R
NOITLYOICNI asod [NOLLYOISJISSVIO NOILYOICEN] da TO dorldd aLVd dOLs HLYd dos aLvVd dOls LNENLYYaL ddoo
Waal OITHHNAS NOILYOICGHN NANWL NOILVYOICHW -HLVd LAVLS -dLvd LAVLs -aLlvd Lavls Loarans
NOILWOICHN dHZIWOGNVaA ‘THadv1 Nado

GTTT JO GLZ abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771647
LIST

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AZSER12771648

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Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

euepe AqtTwer4xe

TersqerTiq [UTe Td ‘Sseptweuoz{[ns]
wotsueqtedéy Bu 90°02 HCIWHSOWNA SHA SHA SaA
[utzedeyH “OXY szOVTQTYyUL
uotieberbby JeTeqeTd] 4HONILNOS 900CAYNEO 900cHd TET
stxeTydozd oetprep Su 00°18 (IOV OLIAOLITIVSIALHOY SHA SHA SaA -MNN -900@HUd¥?T -SOO0ZDHdEc IT / Wid S00S7T0R
[seutdezetyL
puy seutdezexo ‘sautdazetq] S00ZAYNSZ
aetodtg Su 00°004 ELVYWWOA ANIGVILHNG ON ON ON -900cHdY9C
ustptorAyqodAy [Ssuowz0y ptoxrAyL] SO00ZAWNGZ
yo Hutueszom Bow 00°0ST QIOWAHL SHA ON ON -9007AdY VC
us tptorAyqodAy [sesuowz0H ptoxrAyL]
go Butuesiom 60w 00°00T CGIOWAHL SHA ON ON
wustptotAyqodAy [Ssuowz0yH ptTorAyL] 900ZHAVEZ
go butueszom Sow 00°0ST CQIOWAHL SHA ON ON - 900TH YLT
[seutdezertyL
puy seutdezexg ‘seutdezetq] SOOCOHATZ
aetodtg Bu 00°004L BLVYWWOA ANIGVILINS ON ON Sada -S00cOHd6T
[seucwZ0H pTorAyL] 900cHdT9T
ustptotéyjodéH =o 00° 00T CIONAHL SHA SHA SHA -SOOZAONTZ
(wn tyatT] 900CAYNISS
aetodtg Bu 00°0S7 WOIHLIIT SHA SHA SaA -soociInecae
[seutdezertyL
puy seutdezexg ‘seutdezetq] SOO0CDHd8T
rejTodtg Bu 00°009 BLVYWWOA ANIGVILINS ON ON Sada -soocinred
[STOIVFQLUUI
eT asejonpey eop buy]
weT01984s9 ToYyorSsdAy Bu 00°0T WOISTWO NILVISVANSON SHA SHA SHA
(UTETa ‘Ssqstuobequy
TI UtsusjoTbuy] HONTLNOS 900cHdvYST 900cCaAdTCT
uot sueqzsedAH Bu 00°0z TTIWOXOGCHW NWLAYVSHWIO SHA SHA SHA -MINQ -900ZHYdVET -S00ZDNdzZZ ITI / W1d POOS7TOR
NOLLYOICNI asod [NOILYOI4ISSVIO NOILYOICHN]) da TO dorldd aLVd dOLs HLvd dos aLVd dOLS LINEWLVHaL qdoo

WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs
NOILYWOICSN CeZIWOGNVa ‘THavl Nado

Loarans

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

GTTT JO 942 Obed
SISI

CONFIDENTIAL
AZSER12771649

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Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

[6utqoy-Bbuey

‘sonboTeuy puy SUT TNSUT]
QNISYVIO NIINSNI SHA SaA SHA

[uoTq0eluy TeooT

tog squeby Butsorzeypos

z eddy saqeqetq satun 00°0Z

uted 4seyD Bu 07-0 ASOONID SHA SHA SHA
[UTeTd ‘septweuoz [ns]
wotTsueqreddAy Bu 00°02 HQIWHSOUNI SHA SHA SHA
[suotjerzedaerzg
TelO ‘QuUSeTPATG UorT]
quewetTddng Su 00°SZze ALVAINS SQOWMHA SHA SHA SHA
[sdwop wntssubeW ‘WNToOTeD
aAN[ Tez ‘unTUTUNTY sexe Tduop /quop] SONILNOO 900ZRYNOE 900ZHaAWLT
qreey eatisebuop = =6u 00° 007 HGIXO WOINIWNIY SHA SHA SHA -MNQ -900ZAHd¥8T -S007ONdLZ TWA / dLO 900S57T0R
[seutTdezeryL
puy seutdezexg ‘seutdezetq] 900ZNNrZO
zejodta fu 00°007 HLVavVWnA ANIGVILYNG ON ON ON  -900ZAYWTO
[seucowz0H ptorAyL] 900cNNCcO
wsTptorAyq0dAyq Bu 00'S? GIOMAHL SHA SHA ON - 9007NV¥P90
[squer0j.edxg]
sTaqTyouorq eqanow bw 00°00zT NISHNEATWND ON SHA ON
[seuoeToutnbozont a] 900¢NYCOT
sTqatTyouorq eqnoy Sw 00°000T NIOWXOTAOWUdID ON SHA ON -S00ZOHA8Z
uoTyoSeJUuT AoerQ [seuo Toutnbozont a] SOO07OedTT
Azoqyertdsea zsddq 65w 00°005 NIOWXOTAONdID ON ON SHA -SOOZDEATO
[SSuUOWAOH prorzdAyus] S9O00CNVLSO
ustptorAyqodAy Bu 00°09 GIOMAHL ON SHA SHA -SOOZAONZZ
[seutTdezertyuL
puy seutdezexg ‘soutdezetq] so00zoNdzz
zejtodtq wu o0°o00E HLVUVNOA ANIGVILENO ON ON SHA -S00ZLOOVO
[wntyatT] HONTLNOD 200ZAWNEO 900THAWET
azejtodtq 6 00°00€ WOIHLIIT SHAK SHA SHA -MNQ -900ZHdWVv¥T -SOOZOHaGEZ II / Wid SOOS7TOR
NOILWOIGNI Hsod [NOIL¥VOISISSVIO NOILWOIGEW)] ca TO WOINd LWd dOLS HLvd dOLS LVd dOLS INSWLVAUL aaoo

WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs
NOILYWOICSN CeZIWOGNVa ‘THavl Nado

Loarans

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

GTTT JO LLZ abed
oISt

CONFIDENTIAL
AZSER12771650

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Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
aseestp AzeuowTnd
eATIONAAS qo
oTUeETUO
eATIONAASqo [SPTOOTAIOD.OONTH]
oTUeryo Su 00°38 HCINOLHOY ANOTONIOWVIHL SHA SHA ON
[sastuoby
eseostp AreuowtTnd to ydeser10uerpy- Z- e498
sATIONAASqO BATIDSTSES] 900CNN6Z
oTuertyO S4tun 00°F TIOWZLNGTYS SHA SHA ON -GOO0cOHeCOE
[seuowz0H pTorAYL] 9007THAYET
ws tptozAyj0dAH Su 00°O2T QIOWAHL SHA SHA SaA -SOOCAON9Z
[SeaTqeATIeq suTdezetpozusg] S9O00ZNNLEZ
azejpodtg Bu o0°T WYd4HZVdO1l SHA SHA SaA -SOOTAONST
suorzpuds [sastuoby eutwedoq]
HbeT sseT soy Bu 00° T HQIYOTHOONCGAH HTIOWINIGON SHA SHA SHA
[squeby
aan[Tey BuyyootE eqeg puy eudty] 9OOZNNLEZ
WesYy sATISSHUOD Bu ete TNIOTIGHAYWD SHA SHA SHA -SO0O0CdHSES
[SseutTdezeryuL
puy seutdezexgo ‘seutdezetq] GOOZONAIZ
azejpodtg Bu 007007 ELVaWNOdA ANIGVILANG ON ON SHA -SOOcTONTTO
[SeaTqeaAtszeq ptow Aqqeg]
zejtodtq Sw o0°000€ QIOV OIOUdTYVA SHA SHA SHA
aINTTey [SeaTIeATIeq SsUTYAUeX]
qreey eatasebuopD Bu 007007 QNITIAHGOYHL SHA SAA SaA
(untsse jog]
queweTddns 5eu 00°09 HQIYOTHOS WNISSWLOd SHA SHA SHA
[uteTa ‘szoqTqtyuy Soy]
uot sueqredéy Bu 09°Z TIMGONISII SHA SHA SHA
[Sutqoy-eqetpewzequy
'sonbo[euy Puy SUT TNSUT]
ANVYHd
z edd seqeqetd satun 00°02 OSI ‘NOILOBSCSNI NYWOH NITIOSNI SHA SHA SHA
[but qoYW-ISseq
‘senboTeuy puy sut[nsul] HONTLNOS 900CAYWNOE 9007TAdVLT
z edAQ seqeqetad satun 00°s NYWOH NITINSNI SHA SHA SHA -MNN -900ZHd¥8T -SOO0ZDHALZ TWA / dlLO 900S7T0R
NOITLYOICNI asod [NOLLYOISJISSVIO NOILYOICEN] da TO dwoldd aLvd dOLs HLYd dos aLvVd dOls LNENLYYaL ddoo
Waal OITHHNAS NOILYOICGHN NANWL NOILVYOICHW -HLVd LAVLS -dLvd LAVLs -aLlvd Lavls Loarans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

GTTT JO @L2 abed
Case 6:06-md-01769-ACC-DAB Document 1363-3 Filed 03/12/09 Page 9 of 90 PagelD 85685

s97xdoy «GPF ET? LOOZHYNZO

OST

ses’ ooTpew

AST 600TZOZTT/F13/ ndyano /ds/9ZT00°L PPT P/Tenbores/pord/aiso/

[seutTdezeryL
puy seutdezexg ‘seutdsezetq] SOOZONATZ
zejTodta Bu 00°007 HLVaWWNA ANIGVILHYNS ON ON SaA -SO0O0COHAVT
[seatqeatTszeq prow Aqje,] 900¢ase40T
zejtodtq Sw a0°o0sT WONIGOSIWHS HLVONdTVA ON Sax SaA -G00cO4d90
[squer0joedxg] 9S007AYWTT
se7breTTe Teuosess 6u 00°009 NISHNSATWND ON Sada SHA -GOO0¢CdHS62
[SsuoTpsuTpTTOZeTtyL])
z edAq soeqeqetq ge. 00°T HATAYOTHOONCAH YNOZVLITIDOId ON Sada Sada
[septuenbtg] 900CAYWTT
@ seqeqetda ger 00°T NIWHOALEWN ON Sada SHA -GOO0CdHS9T
[soTqeantq
puy SATORTQCTYUL Soy] 900CAYNTT
wot sueqredéy Bu 90°02 TIIMdONISITI ON Sada SaA -GOOTAWNZ
[SEATICATASG SUTZeTAL
puy ‘SUTZeETUL *‘TOzZexo] 900CHYWTT
etbTexAmorqtg Hw o0o°o00zE HNOTYXYLYW ON Sada Sada -SOO0CHYN9T
wd [sptotdo 29840] HONTLINOS 900¢aH460
eth TeAMorqty sqeqy 00°2 HCTIYOTHOOUCGAH 'IOGVWVWHL ON Sada SaA -2INN -G00cOudLe dLO IO 400977108
[seutdezetyL
puy seutdezexo ‘seutdezeta] 900ZNNr6z
zejTodta Bw 00°008 HLVYWWNA HNIGVILHNS SHA ON ON -900ZAYNOE
[SeaTqeATAeq suTdazetpozuag] 9007HaYSZ
zejTodta Bw oso WYddZVaHOT SaA ON ON -900TAdYVe
[seuowz0H ptoxrAyL] 900CNNCE2
wus tTpTortAyqodAH 5 00°% CIONAHL SHA ON ON -9007HaYOZ
[SOTIOTQTIAUY] 900THdYOE Q9OOTAVWNOE 9007CHaVLT
YysnayL ds 00° NILWVLSAN SHA ON ON -900ZHdYOZ -9007HdY8T -S00ZDEdLZ TWA / dLO 900S7T04
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod

WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs

Loarans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GTTT JO 642 abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771651
Case 6:06-md-01769-ACC-DAB Document 1363-3 Filed 03/12/09 Page 10 of 90 PagelD 85686

IST

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

[seutdezertyL
puy seutdezexo ‘seutdezetq] SOO07ZONALZ
aepodta Su 00°00L HLVaWWNA ANIGVILENS ON ON SHA -GOO0cCONdES?
arepTodtq [s6nad
03 Arepuoses pe .etey eutdezetpozueg] 9007EEAZZ
eTUWOSUT Bu 00°0T HLVaLAVL WHOIdIOZ ON SaA SaA -g007cOHdSO
[SeaTQeATIEC
suTWweTAyTe [Aue] S9O0O0ZNVPET
uot sue qredéy Bu 00°0rz HATYOTHOONGAH 'TIWVdVadA ON Sada Sada -GOOZCAONLZ
[SseuTdezertyuL
puy seutdezexg ‘seutdezetq] S00cONdzz
aepodtg Su 00°00% ELVYWWOA ANIGVILENO ON ON SaA -GOOZLOOTE
[SSaTIeATAEq suTdezetpozueg] 900THAVET
zejtodtg Bu 00°2 WYdEZVaOT ON SaxA SHA -GOOCNWDTE
[seatqeatizeq ptoy Aqqed]) SONILNOD 900CNNr6Z 900ZAWWLT
aetodtg 6w oo°o00sT WNIGOSIWHS HLVONdTVA SHA SHA Sada -MNNQ -900ZAVNST -S007OHd8Z TWA / VW1d 80067709
[SeaTIeATAeq suTdezetTpozueg] 900ZUYNTT
reyTodtg Bu oo°T WYd4dZVaO1I ON SaA SHA -S00ZO8dzz
[seutdezetyL
puy seutdezexo ‘seutdezeta] SO007ONC9Z
zejTodta Bw 00°009 HLVYWWNA ANIdVILHNS ON ON SaA -G00cOeadce
[SIOATATYUL
aseqonpey eop Sux]
etweptdt T71sdAyu Bu 00°02 NILVLSVAWIS ON SHA SHA
[SWEOTXO] 900CUVNTT
eth TeAWoAqT | Bw 00°ST WYOIXOTHN ON SaA SHA -S00ZOEC9T
[ssuowz0H ptozAyy] S900CAYNTT 9007cdH4A60
wstptTorAyj0dAyH Bu 00'S? CIOWAHL ON Sax SHA -GO00COHAPT -GO00ZOHALZ diS IO L00S7T0¥
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

GTTT JO 082 abed

CONFIDENTIAL
AZSER12771652
Case 6:06-md-01769-ACC-DAB Document 1363-3 Filed 03/12/09 Page 11 of 90 PagelD 85687

s97xdoy «GPF ET? LOOZHYNZO

[STe2eUuTW
YITM SUTWEITATI TOW]

CCST

ses’ ooTpew

AST 600TZOZTT/F13/ ndyano /ds/9ZT00°L PPT P/Tenbores/pord/aiso/

queweTddngs qea oo°t SON SNIWVLIA SHA SHR SHR
sept rs0ATBtazqizsdéy
eTwe [019488 TOYO [seqeaqt yg]
azedAH bw 00°SFT HIVAGIAONHA SHR SHA SHA
[wunFoTed]
quewetddngs Sw 00°009 WOIDTYO SHA SHA SHA
[uteT@ ‘sto rTqTyul soy]
uoTsueqredAy Bu 00°0z TIMdHZVNHG SHA SHA SHA
[utzeday * [Oxy sSrOATQTYyUrL
uot ebezbby 4eTSIeT a] ZONILNOO Q007AYNB8T 900ZAVWZO
stxeTydozd oetprzep Su 00°18 GIOV OIIAOTIVSTIALHOY SHA SHA SHA -MNQ -900ZKYWEO -900ZNWPSO IT / Wid OTOS7TOR
[SseuTdezertyuL
puy seutdezexg ‘seutdezetq] S007ZONd6z
azejtodta 6wu o00°o00€ FLVAVWNA ANIGVILENO ON ON SHA -S00ZOHA6Z
[seutdezetyL
puy seutdezexo ‘seutdezeta] SOOZOHALZ
zejodta 6 00°00T ALVEWWOA ANIGVILENO ON ON SHA -S00ZOHALZ
[seatqeatszeq prow Aqje,] 9007HdV60
zejodta Sw oo0°000T WOIGOSIWHS HLVOWdIVA ON SHA SHA -S007TLOOTZ
[seutdezertyL
puy seutdezexo ‘seutdezetq] SOO7ZOHA8Z 900ZHYWOT
zejtodtq 6u 00°00z FLVEVWAA ANIGVILENO ON ON SHA -S00ZOHA8Z -S00ZOHGOE dL IO 600S7T08
[seutdezertyL
puy seutdezexg ‘seutdezetaq] 900cINr6z
azejtodtq 6 00°008 HLVEVWNA ANIGVILHNO SHA ON ON -900ZNNP6Z
[SepTtT Tuy] S9O00ZAYWOE
eyoepesH bu 00°005 TOWWLHOVUVd SHA ON ON -900ZAYW6Z
[SSATIPATIAEQ
eutpTtAdozpAyt gq] 900cINré6z 200CNNF6Z 9OOTAWWLT
uotsuel redAH Bu 00°0T HNIGIGOINY SHA SHA ON  -900ZNYPVT -900ZKYN8T -SO0ZDHa8zZ TWA / Wld 800S7T08
NOILWOIGNI Hsod [NOIL¥VOISISSVIO NOILWOIGEW)] ca TO WOINd LWd dOLS HLvd dOLS LVd dOLS INSWLVAUL aaoo
WHHL OINENHD NOLLVOIGHW NSNVL NOILWOIGHN -HLVd LYWLS -HLVd LUVLS -HLVd LYWLs Loarans
NOILWOIGEHN CHZIWOGNVS ‘THav1 Nado

GTTT JO Tez abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771653
Case 6:06-md-01769-ACC-DAB Document 1363-3 Filed 03/12/09 Page 12 of 90 PagelD 85688

g9zxdoy

SP FET? LOOcCHYNZO

ecsl

ses’ ooTpew

AST 600TZOZTTI/F13/3nd3ano /ds/9ZT00°L 77 TP/Tenbotes /pord/aiso/

[wntyatT] 900ZHdWLZ
zejTodta Bw 00°SL9 WOIHLIT SHA SaA ON -9007dH4A ZO
[eso otweqsdsg
Jog SsuTWweASTUTIUY 7eI0)] 900cCNNrE?
se7breTTe Teuoseses Bw 00°s HUNTQVLIVAOT SHA SHA Sada -GO00cOHedLze
(un tyatT] 900¢dH4TO
zejTodta Bw 00°009 WOIHLIT ON Sada SaA -GO00COHAEO
[Ssuowz0y ptoxrAyL] 900¢dH4 720
ustptorAyjodAy Bu 90°09 GIONAHL ON SHA SHA -S007d4HSTO
[seutdezetyL
puy seutdezexg ‘seutdezetq) 900cCNVCZO 900ZAYVNVZ 9007CHdVPZ
aetodtg Bw 00°009 ELVYWWNA ANIdVILHNS ON ON Sada -MNNQ -900ZHdv¥SZ -900ZNWTEO0 IT / WId TI10S7T0Ou
[seutdezertyL
puy seutdezexg ‘seutdezetq] 900CNNCLT
rejTodtg Bw 00°008 ELVYWWNA ANIdVILHNS ON ON ON -900CAVNGZ
[seucwZ0H pTorAyL] 900CAWNST
utsptorAyjodAy Bu 00°ST CIOMAHL SHA ON ON -900ZAWNOT
[wntyatT] 90O0ZNALLT
zejtodta Bw 00°006 WAIHLIT SHA SaA SaA -900CNWCEO
[seutdezertyL
puy seutdezexg ‘seutdezetq] SOOCDHA8z
aetodtg Bu 00°0S?r ELVaWWNA ANIdVILANS ON ON Sada -GOO0COHAST
[uMntyatT] 9O00ZNYLZO
zejTodta Bw 00°009 WOIHLIT ON ON SaA -G00¢dHSTO
[seutdezertyL
puy seutdezexg ‘seutdezeta] 900CNYCVO 900 TAVNBT 9007TAYWCO
azeptodtg Bu 00°00€ ELVYWWAA ANIGVILHNO ON ON SHA -SOOZDHdG6Z -900ZAYNEO -900ZNYCSO IT / WId OTOS7TO
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans
NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GITT FO zez abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771654
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CONFIDENTIAL
AZSER12771655

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Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
[SseuTdezertyuL
puy seutdezexo ‘seutdezetq] 9O00ZNYLOT
zejTodt Su 00°008 ELVYWWOA ANIGVILENO ON ON SaA -GOO0CdHSET
[seucwz0H ptozrAyL] 9007cNNCTO
us tpportAyqodAH Bw 00°09 CGIOWAHL SHA SHA SHA -S0O0zSNWZO
[SSATICATIAaq sUuTdezetpozueg] 900ZNYN80
reptodtg Bu 00°2 WYddZVaO1I ON Sada Sada -sooconyzo
(un tyatT] 900ZAWNILZ
aejtodtgq 6w oo°oSEt WOIHLIT ON Sada SaA -SOOCNNCET
[sotpowsedstquy Azreutzg]
TOPPETI SATIOETSAO Bw o0°€ HLVaLavVL-I ANTIGOWALIOL SHA SaAaA SaA
[Sas Tuobequy
Zojdesey suetzqoxNeT]
euyASy Su 00°OT LSVANTHLNOW SHA SAA SaA
[seutToAoery98L]
SuUoY Bw 00°00T HATAOTHOONCAH ANTTIOADONIWN SHA SHA SaA
aseestp xnTyar [S1oaTqtTuul dung uwojo7d]
Teeboydossor4sep Bu 00°0€ HIOZVadOSNYI SHA SHA SaA
[squeby
butqoy ATTerquep 7SyI0]
a HANTINOD 9O0O0TAVWNEO 9007AdVTO
eTbTeAworg ta Bu 00°OT GIMOTHDONdAH HNIUGWVZNHAOIDAD SHK SHA SHA -MNN -9007Hd¥SO -900ZNWCTT IT / dLO ztos710a
[seutdezertyL
puy seutdezexg ‘seutdezetq] 900ZNOrEZ
zejTodta Bu 00°008 HLVaWWNA ANIGVILENS ON ON ON -900CAYINNGZ
[SSBATIBATAEQ BsUTdezetpozueg] 9O0ZNOLET
zejtodtg Bu 00°2 WYddZVaO1 SauA ON ON - 900CAYNGO0
[SSATIPATAEC PTow oOfuctdozg] 900ZNOrEZ
uted Tez0 Bw 00°008 NHAOUGNAI SaA ON ON ~900cedTL2
eT [SIOATATYUL
weTote se ToyorzsdAy Ssejonped SOD Sun] S90O0cNNLET? 9OOTAVNVC 9007TAdVVC
FO DUTUSSTOM Su 00°OT NILVISVANOLY SHA SHA ON -900ZHdVE0 -9007Hd¥SZ -900ZNWrTf0 IT / WId TTOS7TO
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod

WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs
NOILYWOICSN CeZIWOGNVa ‘THavl Nado

Loarans

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

GTTT JO €82 abed
Case 6:06-md-01769-ACC-DAB Document 1363-3 Filed 03/12/09 Page 14 of 90 PageID 85690

s97xdoy «GPF ET? LOOZHYNZO

SéST

ses’ ooTpew

AST 600TZOZTTI/F13/3nd3ano /ds/9ZT00°L 77 TP/Tenbotes /pord/aiso/

[seaTqeaTzeq ptoy oTuotdoza] HONTLINOD 900ZDNWLT  900ZAYWZO
uped qutorp wu 00°008 NHIOWENAI SHA SHA SHA “NNN -900ZAYWEO -900ZNWLOT IT / aL0 €L0S7TOS
[seutdezertyL
puy seutdezexg ‘seutdezetaq] 900cNnNrzo
aetodtg Bu 00°008 ELVYWWOA ANIGVILYNG SA ON ON -900CAYWEO
UOT IoSasUT [SPATIPATIAG STOZeTIL] 900zZNnrzoO
yseed TeutTbea Su 00°0ST WIOZYVNOONTA SHA ON ON -900cCHdYTC
[sqonpolrg
oTqnedezeyL 2eyI0 TTW]
sq MN
STATyouor, Bu 00°005 Onpord OTInedezsyL 7430 TIW SHA ON ON -900cCHdYTC
[S®aTIeATASq eUuTdEzeTpozusg] 900cNnrzo
aetodtg Bu o0°z WYdHZVaO1 SHA ON ON -900TAdV6T
[sastuoby
to ydesa10uerpy- Z- e198
BATIOS TASS]
STItTycuerg Bn 00°o00r7 TOWWLINATTS SHA ON ON
[seseestq AemMaAtTYyY AZISsqoO 104
sbniq teu 0/sotTbrzsueazpy] 900zNnrzo
sTITyouerg yur 00°¢ GHLIYNOIdOdd SHNOSWOILNIA SHA ON ON -9007HdT90
[seutToAoezyeaL] 900cTHdvOT
sTaTycuerg Bu 00°00z2 HNTIOADAXOG SHA ON ON -900cadv90
(Wnty aty] 900cNNLZO
azejtodtgq 6wu 00°008T WOIHLII SHA SHA ON -900CAYNI8C
anbuoq [SOTIOTATIAUY] 9007EHAPT
uotqoezut Tebungy 9° 00°00 NILVLSAN ON SaA ON -900¢cdH440
[sastTuoby
zojdesey SsuTlTOzZeptwt] 900cCNNlcO 900 CAYNEO 900cAdTVO
uot sueqzsedAH Bu of°0 HNIGINOID SHA SHA SHA -SOOZDEC0OZ -900ZHdvVSO -900ZNVCTT IT / dLO Z10S7T0R
NOLLYOICNI asod [NOILYOI4ISSVIO NOILYOICHN]) da TO dorldd aLVd dOLs HLvd dos aLVd dOLS LINEWLVHaL qdoo
Waal OLAHNSD NOLLYOICHWN NEMNVL NOILYOICHWN -HIVd LYVLS -HLVd LAVLS -aLVd Lavis Lodrans
NOLLIVOICHN CHZIWOGNVa ‘THAVI Nado

GTTT JO ¥8z abed

SUOTIEO TPA

6-OT' 2°27 Sutasty

CONFIDENTIAL
AZSER12771656
Case 6:06-md-01769-ACC-DAB Document 1363-3 Filed 03/12/09 Page 15 of 90 PagelID 85691

ggzxdoyx

SP FET? LOOcCHYNZO

[esn otweqasds

IOfq SSUTWEQSTYTIUY 7eI0)

9ST

ses’ ooTpew

AST 600TZOZTT/F13/ ndyano /ds/9ZT00°L PPT P/Tenbores/pord/aiso/

se breTTe [Teuosess Su 00°08T HQOTAOTHOONCAH ANICGVNS4AOXHA ON Sax SaA
Adezeyy [UTe Tq ‘suseborzqsy7
quewece Tdet oF ey quAstTwes puy TeaznjeN] HANTLINOD 9OOTAYWET
SuUOULOH Bn 00°Sz9 CHLYOOCNOD SNHDOULSH ON Sada SHA -¢MNN -900CNYIET dLO 10 vLOS7TOa
[SeaTqeATIeq suTdezetpozusg] 9007dHS9T
zejTodta Bw os'0 WYddZVaOT SaA ON ON -9007NNCSBZ
[seuowz0H ptorzAyL]
utsptordéyqodéH 6u 00°06 CIOWAHL SHR SHA ON
[wnt Yat] 900Z4HS9T
ae podtg Bw 00°006 WOIHLIT SHA SaA ON -900CNYCOT
[seutdezetyL
puy seutdezexo ‘seutdezetq] 900ZNYLOT
reptodtg Bw 00°009 ELVYWWNA ANIdVILHNS ON Sada ON -900CNYCOT
[seutTdezertyuL
puy seutdezexo ‘seutdezetq] 900ZN¥L60
reyTodtg Bu 00°00% HLVavVWNA ANIGVILYNO ON ON SHA -900ZNWL60
[seutdezetyL
puy seutdezexo ‘seutdezeta] S900ZNVWL80
aeptodtg Bw 00°00€ HLVYWWNA ANIdVILHNS ON ON SaA -900cNVC80
[seutdezertyL
puy seutdezexg ‘seutdezetq] 900ZNYLLO
zejTodta Bu 00°00z2 HLVaWWNA ANIGVILENS ON ON SHA -900CNYCLO
[seutdezetyL
puy seutdezexo ‘seutdezetq] 900ZN¥L90
aepodtg Bw 00°00T HLVYWWAA ANIGVILHYNS ON ON SaA -900CNWC90
[uNtyatT] 900ZNVL60
reyTodtg Bu 00°SL9 WAIHLIT ON ON SHA -S00ZO8dzz
[ssuowz0H ptozAyy] 900cNV¥C60 900 7ONYLT 9007TAYWTO
wstptTorAyj0dAyH Su 00°09 CIOWAHL ON ON SHA -SOOZDHAG80 -900ZAYNEO -900ZNYCOT IT / dLO fT0S7TOR
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans
NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GTTT JO G8z abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771657
Case 6:06-md-01769-ACC-DAB Document 1363-3 Filed 03/12/09 Page 16 of 90 PagelD 85692

LST

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

[SqusetzanN 72820] 900CNNI82
quewetTddns gqey oot SqustzqnN 729y30 ON SHA ON - 9007AWN6Z
[seatqeatszeq prow Aq3e,] 9O0O0CNNCBT
azejtodtq bw oo*o00sT WOICOSIWHS FALVONdTVA ON SHA ON - 900CAWNTZ
ustptorAyjoddAy [seuowz0H pTorAYL] 900ZNNr8z
30 Butues10m 5 gz°0 CIONAHL ON SHA ON - 9007AWNLO
[S@ATIPATASq ptoy Aqqeg] S00THWNIET
aetodtq Bw 00°0002 WOICOSIWHS ALVONdTVA ON SHA ON - 900CAWNLO
[S®aTIeATASq eUuTdEzeTpozusg] 9007TMYNLO
zeyodtg Bu 00°2 WYdaZVaO1 ON SHA ON -9007CaHALT
[UTETd ‘SeptzetuL] 900CHAVN8 Cc
euseps Teped Bu 90°Sz ECIZVIHLOWOTHOONTAH ON SHA ON - 900CEHAET
[seatqeatszeq prow Aqjeg] 9007TAVNI0
azejtodtg bw oo*00sz WOICOSIWHS ALVONdTYA ON SHA ON -900caH460
[szoqtqtyuy dung uo 4014] 900CHHAEC
SsoTIstTp oTzAqSsep Bw 00°0F HIOZVAdOLNYd ON SHA ON - 900CNYLEZ
[SeATIeATASd ptoy Aaqeg] 900¢dH490
aetodtq Bw 00°0002 WOICOSIWHS ALVONdTVA ON SHA SHA -900c2NWC90
[AAT oaTas
‘squeby butyootd eyed] 900TAYN8T
wot sueqredéy Bu 00°Sz TIOIONAOLEW ON SHA SHA - SOO cDECET
uted [SWEDTXO] 900CNNI8Z
seuy 3FET OTUCATO Bw 00°ST WYOIXOTEN ON SHA SHA - SOOZAONEZ
[sotideTtdetquy zey.0] 900794480
azejodtg Bu 00°008 NILNHdvdv5 ON SHA ON -900¢aHd 90
[seutdezertyL
puy seutdezexg ‘seutdezetq] SO0OCNYCET 9O0OTAVNGT

zejTodta Bw o00°0SL ELVaWWNA ANIdVILYNO ON ON SHA - 900Z2N¥r90 -900ZNYLET dLO 10 VIOS7TOE

NOLLIVOIGNI gs0dq [NOILVYOISISSVIO NOILYOICHWN)] da TO Worldd HLYd dOLs Hivd doLs GLV¥d dOLS LNEWLVaaL gqdoo

WHHL OLSHNSD NOLLYOICEW NEMWL NOILVWOIGHW -HIVd LAVLS -HLVd LavLS -a1Vd Laws Loarans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

GTTT JO 982 abed

CONFIDENTIAL
AZSER12771658
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CONFIDENTIAL
AZSER12771659

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Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
stTxeTydoisd
sTsoquzo0yq [sasTuobequy 4M uTweqta] 9007dES07
utea deed Bu o0°s NIWVdavM SHA SAA ON - 9007AYN90
[seucwz0H ptozrAyL] 9007THYN8O
wstptTortAyqo0dAyH Su 00°ST GIOMAHL ON SHA ON -900ZNYLPLT
aworpuds [sastuoby eutwedog] 9007dHS0Z
Bey, sseTqsoy Bw 00°T HCTAOTHOONGAH HIOMINIGOY SYA SHA Sada -900CNYOTT
[seutdazeryL
puy seutdezexg ‘seutdezetq] 900CNVL9T
aepodtg Su 00°005 ELVYWWOA ANIGVILANO ON ON SaA -900CNYPTT
stxeTydorzd (uTzTedsH “[OXY SO VIGQTYUL
sTsoquozyy uotieberbby .eTe1eTa] 9007UYN90
utea deed Bu 00°Z9T CIOV OITTAOLIIVSTIALHOY ON Sada SaA -GOO0COHALT
Adezeyy [UTe Td ‘suebor4sq
quewece Tdez otqeyquAstTwes puy TeazanqjenNn] 9007THdYLO
SUOWIOH Bu sZ°T CHLYOOCNOD SNHDOULSH ON SaxA SHA -SGOOCINC YT
[SSeATIPATASq ptoy Aqqeg] 900Z2dHS02
rejTodtg Bw 00°0SL WNIGOSIWHS HLVONdTVA SHA SHA Sada -SOOcCNNPS?
aseestp xnTyar [stoatqyuul dung uojo7g]
Teebeydossozqsep Bu oo°oe HIOZVYdOSNVYI SHA SHA SaA
[STOATATYUL
eT aseqonpay eoD Buy] HONTINOS 900 ZONYTZ 900CNNLISZ
weTote se ToyorzSsdAy Su 00°0OT NILWLSVAYOLY SHA SHA SaA -MNQ -900ZNOr9Z% -900ZNWCLT TWA / dL5 S10S7T0R
uted [sptotdg zey30]
seuy 4FST BTUOAYD Bu 0070s TIOQVWZHL ON Sada ON
(untsseqog]
queweTddns bow 00°0T HaITYOTHD WOISSVLOd ON SaxA ON
[PAT IOSETEAS
‘squeby ButTyootd e3eq]
uot sua .zseddéy Bu 00°Sz HLYNTIOONS TOIONdOLYW ON Sada ON
[uTeTd ‘sepTweuojz [ns] 9OOTNNL8Z 9OO0ZTAWNGZ
eueps Teped Bu 00°0r HaqIWssodndsA ON Sax ON - 900 CAVE Z -900ZNYVIET dLlO 10 PLOS7TO
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod

WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs
NOILYWOICSN CeZIWOGNVa ‘THavl Nado

Loarans

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

GTTT JO LEZ abed
Case 6:06-md-01769-ACC-DAB Document 1363-3 Filed 03/12/09 Page 18 of 90 PagelID 85694

s97xdoy «GPF ET? LOOZHYNZO

[ (senbo Teuy
puy uTWweTeqoosouedD)

67ST

ses’ ooTpew

AST 600TZOZTI/FT3/andano /ds/97T00°L FFT P/Tenborzes /pord/aiso/

ZTq UTWeQTA] ANNILNOD 900ZAYN9T 900ZAWWOT
Aouetyep 7Ta bu 00°005 NIWVIVAODONYVAD SHA SHA SHA -MNN -900ZAYWTT -900ZNWP6T IT / dlO 91057108
(wntsse od]
STITINTT=so «© bem 00°02 WOISSYLOd SHA SHA ON
[UteTd ‘septweuoz [ns] 9007dHSO7
STITINTTED Bu 00°0F HCIWHSOUNA SHA SHA ON -900Z2NNr60
[sqonporg oT InederzsyL 7eyI0]
Tesnedousu ysog Bu 00°000€ TIO SINNSId VWHHHLONHYO SHA SHA ON
[squeby
etTw butAJTPOW PTATI zS8yI0] 9007ZdHS02
aeToreysepoyozsdéH =6w 00° 001 TIO HSI4 SHA SHA ON -9002NNOr40
[S@pTT Tuy]
qZogwoostp Tertsuep Su 00°005 TIOWWLHOWEYd SHA SHA ON
JTeoO
AJOT stTsoquozyy [dnozy utzeday] 900¢dxHS02
utea deeq Bw 00°0F NIMWdHH SHA SHA ON -900ZHYN7T
[seucowz0H ptoxrAyL] 9007dHS502
wstptTorAyj0dAyH Bu oo°0E GIOWAHL SHA SHA ON -9007HYWTT
[seuowz0H pTozAyL] 900TAYVWOT
ws tptortAyqodAH Bu 05° 2z GIOWAHL ON SHA ON -900Za¥N60
[SOATIPATI9q
s puy PTOY OTUTIOOTN] 900¢dHS502
etptazeoATbtaqsedAq Bw «00° 005 GIOW OINILODIN SHA SHA ON  -900ZHYWLO
STsoquozyq UTeA (uTzTedeH * [OXY SrOQTAQTYUL
deep ano eqtnz uotieberbby 48 Te1eTa] 900TAYNTT
USA BFOT UT uted Bw o00°S4 HLVAINS THUDOCIdOID ON SHA ON -900ZH¥WLO
stxeTydord
sTsoquozyy [sastuobequy y uTweqtAl 900zdHS0c 900ZDNWTZ 9%00cNNLSZ
utea deeq Bu os°z NIMW4HUM SHA SHA ON -900ZHY¥W90 -900ZNNr9Z -900ZNWDLT TWA / dO STOS7TON
NOILWOIGNI as0q [NOILVOI4IssvlO NOILYOIGIW] aa IO uOlud Lvwd dols alvd dolls dlvd dOls INEWLWaaL aqoo
WHHL DIWHNAD NOILVOIGHN NSNWL NOILWOIGHN -HIvd LHVLS -adLvd LavLs -a3Llvd 1uvis Lograns
NOILWOIGHN CaZINCGNYWH ‘THav1l NHdo

GTTT JO 982 abed

SUOTIEO TPA

6-OT' 2°27 Sutasty

CONFIDENTIAL
AZSER12771660
Case 6:06-md-01769-ACC-DAB Document 1363-3 Filed 03/12/09 Page 19 of 90 PagelD 85695

OST

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
[seoueqsgqns
peqeley puy sutzodsotTeydaep] 900ZNNrST
unspou zweyjArtq 6u 00°00ST NIXSTVSHD SHA SHA ON -900CAYWOT
(wnaqoeds
pepusyxy UATIM SUTTTTOTUEd] 900CHVN60
wnspou zwmeyqAtq Sw 00°00ST NITIIOTXOWY ON SHA ON -900CEHH4A8C
eseestp xm Tyer
Teebsydoss-o72 seb [Szoqtqtyur dumg uoejo7g] 900ZNNrsSTt
yo Butuesizom Bu oo°0E€ aH IOZVadOsNvI SaA SHA ON -900CEH4A YT
[STOATATYUL
eT eseqjonpsy eoD Buy] 9007CNNLST
weT0O198 489 TOYyor1SsdAy Bu 00°02 NILWLSVAWIS SHA SHA ON -9007NWL6T
[sesucwZ0H pPtTorAyL] 900cCNNPST
ustptotAyqodAy Bu 00°09 GIOWAHL SHA SHA SHA -900ZNYE9T
[UTe Td ‘sueborz4sy_
orqeyquAstwes puy Terznq.eN] S00cCNNST
Aouetyep ueborz4sq Bw oT’ 0 TOIGVULSH SHA SHA SHA -SO00ZOECST
[seutdezetyL
puy seutdezexo ‘seutdezeta] SO0OCNYWL8T
aetodtg Bu 00°0S4L ELVUWNOA ANIGVILHNG ON ON SaA -S00cdHS5ec
[uMtYyatT] 900ZNNPST
aetodtg Su 00°006 WOIHLIIT SHA SHA SaA -S007dHS560
[StOIATQTYUL
eT eseqonpsy eop Bug] 900CNYIST
weToreqse Toyorzedéy Bu 00°07 NILVLISVAWIS ON ON Sada -SOOCAYWIT
[Spforeqsootyr0D
uotqeottdde bututequep sqonporzg]
Sp TOUsIOWeH 00°T Hd 1 xO THOOUCAH aNTWOOWW Hd SHA SHA SHA
asp
uted Teotdo, 204g sotTjeyqseuy]) HONTLNOS 900 CAYN9OT SO00CAYWOT
yoeq MOT OTUOZzYyD yored 00°T HNIVOOCII SHA SHA SHA -MINQ -900ZAYWTT -900ZNWVCP6T IT / dLO 9T0S7T0R
NOLLYOICNI asod [NOILYOI4ISSVIO NOILYOICHN]) da TO dorldd aLVd dOLs HLvd dos aLVd dOLS LINEWLVHaL qdoo
Waal OLAHNSD NOLLYOICHWN NEMNVL NOILYOICHWN -HIVd LYVLS -HLVd LAVLS -aLVd Lavis Lodrans
NOLLIVOICHN CHZIWOGNVa ‘THAVI Nado

GITT FO 682 abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771661
Case 6:06-md-01769-ACC-DAB Document 1363-3 Filed 03/12/09 Page 20 of 90 PagelD 85696

Test

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
[SSATIEAT IEG suTdezetpozueg] 900CdHSST
azeqTodta Bu 00°z WYaaZVHO1 SHR ON ON -900ZNNPTZ
[wnty3tT] 900Zd4HSST
zejodta wu 007006 WOIHLIIT SHA SHA ON -900ZEHAST
[seutdezeryy
puy seutdezexo ‘seutdezetq] 9007ZEHAFL
zejodta Su o00°008 ALVaWWNA ANIGVILENG ON ON SHA -900ZNYLOE
[wnty3t'T] 900CEHAVT
zejtodta Sw 00°006 WOIHLIT ON ON SHA -900ZN¥POT
[sastuoSy
tordaedar0uerzpy- 7-219
BATIOSTES]
ewyjAsy yut 00°Z TOWWLNEGTYS SHA SHA SHA
[soTbasut Toot yuy]
euyjAsy yut 007% HCIWOUG WNIdOMLWAdI SHA SHA SHA
[sastTuoby
ato .deser0uerzpy- ee
puy -eydTy]
AbseTTe seq Bw oc°0 SNIMHGENIGH SHA SHA SHA
[SptooTazoD00nNT5] HONILNOD 900ZDNW9T 900ZAWNWOT
ewyasy ggnd 00°z2 HQINOSHGNA SHA SHA SHA -MNQ -900ZKWWTT -900ZEH4ST IT / 4L0 LIOS7TON
[TOATQCTYUL SSeueqoeT-eyI9g
TOUL SUTTTTOTuSed FO sqwop]) 9O0OCNNL'ST
unsopou ewey qArg 5B o00°T NITIIOIXOWY SHA ON ON  -900ZAYWTT
eSeestp [squeby
YSTp rTequn—t yat butqoy ATTerquaep 7TyI0]
eT6y[ezneu requny Bw 00°8 HNIGINYVZIL SHA SHA ON
SSseostTp
YySsTtp zequn—t Yat [SPTOTePUTY wntdo Tezn jen] 900ZNNPST
eTbyezneu requny Su 00°02 HNOGODAXO SHA SHA ON -9007HdY8z
[SQTXOD] 9O00ZNNLEST J00ZAWNOT 900ZAWWOT
unspou zweyqArq Bu 00°007 GIXODHIHD SHA SHA ON -900ZHYWOT -900ZKYNTT -900ZNWP6T IT / dLO 9T0S7TOR
NOILWOIGNI Hsod [NOIL¥VOISISSVIO NOILWOIGEW)] ca TO WOINd LWd dOLS HLvd dOLS LVd dOLS INSWLVAUL aaoo
WHHL OINENHD NOLLVOIGHW NSNVL NOILWOIGHN -HLVd LYWLS -HLVd LUVLS -HLVd LYWLs Loarans
NOILWOIGEHN CHZIWOGNVS ‘THav1 Nado

GITT FO 062 abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER1277 1662
Case 6:06-md-01769-ACC-DAB Document 1363-3 Filed 03/12/09 Page 21 of 90 PagelD 85697

cest

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

[SseuTdezertyuL
puy seutdezexg ‘seutdezetq] 9007GHA6T
reyTodta Bw 00°009 ELVYWWOA ANIdVILHYNO ON ON SaA -900CEHAET
[wntyatT] 9O00TMYNBZ
azejTodta Bu 00°006 WOITHLI'TI ON Saaz SaA -900CNWL0Z
aseesTp xn {jer [szo01tqtyurT dung uojo01g] 900ZNYNOZ
Teebeydosscrqsep Bu 00°02 aIOZvaddwoO ON Sada Sada -9007CNWL0Z

[seutdazeryL
puy seutdezexg ‘seutdezetq]

zejTodt Su 00°00€ ELVYWWAA ANIGVILANO ON ON SaA
[seutdezertyL
puy seutdezexg ‘seutdezetq] 9007EdHACTT 9007TNESZ SOOCNOLET
azeptodtgd Su 00°OST HLVaWWNA ANIGVILENS ON ON SHA -MNNQ -900ZNOrT¥T -9007EGH4HO07 IT / W1d 610S77T0H
yoeagqe Aqetxue [SPTOOTATED0ONTH]
oj enp uted jAseyD n° HNOSINGHYd ON SaA ON
yoeqae Aqetxue [UTeTd ‘septweuoyTns] 900ZNOALZT
L/a uted sey n° HqIWsAsSOwnNA ON Sada ON -900cCNNC80
yoreagqe Aqetxue [S®ptTtuy]
3/2 uted Aseyo Bw 007005 TIOWWLAOVAYd ON SaA ON
[utTzedeH *- [OXY SAO QTQTYUr
stxe TAydozd uot ebeszbby 4eTeI.eTa] SO00ZAYNTO
oeTPteD 6u 00°18 CIOV OLTAOITIVSIALHOV ON SHA ON - 9007AYNTO
[sotqeantq] 9007dHS77
euepHy pezTTersusD Ssqel 00°? Sotasantd SHA SHA ON -900CAWNET
[sotqeantq) 900CAYNTT
euepy peztTetsuep sqei 00°? sotqeaintd ON Sada ON -900CAYNG60
[SeATIeATASd ptoy Aaqeg] 900CdHST~
aetodtq 6w oo*o000T WNIGOSIWHS HLVOUGTVA SHA SHA SaA -900cCNWL92
[seutdezertyL
puy seutdezexg ‘seutdezeta] 900CdHACT 900TONYET 900CNNLST
azeptodtg Bu 00°008 ELVYWWAA ANIGVILHNO ON ON SHA -900ZNYTOT -900ZNN9T -900Z7GH4ET TWA / dLO 8T0S7T0R
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdoo
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

GTTT JO T6Z abed

CONFIDENTIAL
AZSER12771663
Case 6:06-md-01769-ACC-DAB Document 1363-3 Filed 03/12/09 Page 22 of 90 PagelD 85698

s97xdoy «GPF ET? LOOZHYNZO

[sqeyooTA Teuueyo

cesl

ses’ ooTpew

AST 600TZOZTT/F13/ ndyano /ds/9ZT00°L PPT P/Tenbores/pord/aiso/

UNTOTeD PUY SAOQTQTYUL soy] HONITLNOS
uoTsueqredAy ded 00°T HNIGIGOINY ON ON ON -ANA ONISSIN O2O0S7TOR
[seutdezeryy
puy seutdezexo ‘seutdezetq]
zejtodtg wu 00°00T HLVUVNOA ANIGVILHNG SHA ON ON
[sotadeTtdaetquy 7rar710] 9007ZONY PZ
azepodta Bu 00°Sz HNIDIYLONVI SHA ON ON -900¢7INrSZ
[squetazanNn
JO SUOTIeUTqUOD ASI]
quewetTddns soTnsdeo squ 9007 IN’ yz
Teuo TAT TIANN OO°f ST4AINN FO SUOTIEUTQWOD 2ASU4I0 SHA ON ON -900c INE
[SqueTz4nN
JO SsuUOCTIeUTqUOD 7ZSYI0]
queweTddns soTnsdeo squ 9007 INET
TeuoTIATAINN 00°Z STIINN JO suotjeuTquop zeyAIO SHA ON ON -900ZINLET
[S®aTIeATASq eUuTdEzeTpozusg] 900ZDOVFZ
aejTodta Bu og°0 WYdHZVaO1 SHA ON ON -900CNNLP YT
[squeby
stxe TAydosd SutAZTPOW PTATT 730] 900ZDNYrZ
oeTpted sqey 00°9 TIO HSId SYA SaA ON -900cCAdYT
[sztoatqTyur dwng wor01d] 900zONnwrz
etsdedsAq Bu 00°02 WOIGOS HIOZVudHava SHA SHA ON -900ZHdwOZ
[uMtYyatT] 900zHnwrz
zejodta Sw o0°008T WOIHLIIT SHA SHA ON -900CAYWEC
[uotqjounzsAq
uotjounzsAp eTTIosryY UI pesg s6n2q]
eT tqoe1g Bu 90°0z TIAVIVGVL SHA SHA ON
eseostTp xnT jor [szoatqtyur dum@ uojo1g] 900cCDNYTVC 900cIN’ST 900TNOLET
Teebeydossorqsep Bu o0°0€ HIOZVAdOSNYI SHA SHA ON -S9OO0ZHWNTZ -900ZNNPPT -900ZEGH40Z IT / Wild 61T0S7TOU
NOLLYOICNI asod [NOILYOI4ISSVIO NOILYOICHN]) da TO dorldd aLVd dOLs HLvd dos aLvVd dOls LNENLYYaL ddoo
Waal OLAHNSD NOLLYOICHWN NEMNVL NOILYOICHWN -HIVd LYVLS -HLVd LAVLS -aLVd Lavis Lodrans
NOLLIVOICHN CHZIWOGNVa ‘THAVI Nado

GTITT JO 26zZ abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER1277 1664
Case 6:06-md-01769-ACC-DAB Document 1363-3 Filed 03/12/09 Page 23 of 90 PagelD 85699

ggzxdoyx

SP FET? LOOcCHYNZO

vest

ses’ ooTpew

AST 600TZOZTT/F13/ ndyano /ds/9ZT00°L PPT P/Tenbores/pord/aiso/

[seutTdezeryL
puy seutdezexg ‘seutdsezetq] BONTIINOOS
zeyodtg Bu 00°008 HLVavVWnd ANIGVILYNS ON ON ON - 9007THHATS
[seutdezertyL
puy seutdezexg ‘seutdezetaq] 900784407
azejodtg Bu 00°009 HLVavWnd ANIGVILYNS ON ON ON -9007EHA0T
[seutdazeryL
puy seutdezexg ‘seutdezetq] 9007GHA6T
reyTodta Bu 00°007% ELVYWWAA ANIdVILEYNO ON ON ON - 900CEH4A6T
[seutdezetyL
puy seutdezexo ‘seutdezeta] 9007EH48T
zejodtg Bu 00°00€ HLVavVWnd ANIGVILANS ON ON ON -900CeHA8T
[seutdezertyL
puy seutdezexg ‘seutdezetq] 9007EHALT
reyTodta Bu 00°002 HIVaWWnd ANIGVILYNS ON ON ON -900CEHALT
[SseutTdezeryuL
puy seutdezexo ‘seutdezetq] 9007444 9T
zejodtg 6u 00° 00T HLVavVWnd ANIGVILENS ON ON ON - 9007CHHA9T
[seatqeatszeq prow Aqje,] HONTLNOD
zejTodtg Su 00°000T WONIGOSIWHS BLVOUdTYA ON ON ON -9007EHA9T
uoTASSIUT [seuo ToutnbozontT a] AONILNOD
qoeaq AreuTan Bu 00°05zZ NIOVXOTAOAYT ON ON ON -900¢CEHALO
[Sptotdg 28440] SONILNOD
seToepeely, OTUOAYD Bu 00°00€ TOCYWWaL ON ON ON -SOOCNVLTO
[SSATIeATIEq SsUTdezeTpozusg] 9007EH407
eTUWOSUT Bu 00°0€ WWdHZvVWHL ON ON ON -2ANO
[UTeTd ‘susebor4sq
oTqeyqUAstTwes puY Tern 7eN] AONILNOO
Aouetyep usehorzisy Bw oto TIOIGVaLSH ON ON SaA -2NO ONISSIWN 02O0S7TO
NOIIVOIGNI gs0dq [NOILVYOISISSVIO NOILYOICHWN)] da TO dwoldd aLvd dOLs aivd dos aLVd dOLS LNEWLVaaL adoD
WaatL OTHHNHD NOILYOICGSW NAMVL NOIDVOICHN -SIVd LAVLS -HLVd Lavis -aLlvVd Davis Loadrans

NOILYOICSN

qeZIWOCNVa ‘THavl Naydo

GTTT JO €62 abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771665
Case 6:06-md-01769-ACC-DAB Document 1363-3 Filed 03/12/09 Page 24 of 90 PageID 85700

gest

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

[seatqeatszeq prow Aqje4] SOOCOHCTC
I aetodtg Su 00°005 WONIGOSIWHS HLVONdTVA ON ON SaA -GO00cONd0Z~
[sotade{tdetquy 28740] SOQOCONCALT
I azetodta Su 00° 00T HNISIYLONZGI ON ON SHA -GOO0COHA9T
[sotade{tdetquy 7240] SQOZONAST
I azeqtodtg Bw 00°00z UNIDIYLONZI ON ON Sada -SO00COHAFT
[sotida,tdatquy 7zayI0] SOOZOHECTT
I zeTodta Bw 00°00r ANIOIYLOWZI ON ON SaA ->INN
[sotade,tdetquy 781740] SOOZONACT
I azeqtodtg Bw 00°002 ANIOIALONZI ON ON SaA -SO0O0COHACT
[s6n2q
Nad pe qeTey eutdezetpozuag]
eTUWOSUuT Bu 00°0T HLVaLYVL WHOIdIOZ ON Sada Sada
Nad saeTqeq [S@pTT Tuy]
Ssyoepesy sse1tas o0°2 TOWZLHOVagd = ON SaxA SHA
Nad saeTqeq [Sept T Tuy]
eyoepesy suTeABTW 00°? TOWLHOVavd ON SaA SHA
aejTodtq o3 [SeaTqeATIeq suTdezetpozusg] AONILNOO SOOZORdOE
Azepuooes Aqetxuy Bw 00°T WYdaZVaOl ON Sada SaA ->aINN -GOQO07TONdTTS dLO IO 100977108
(wnazqoeds
uotqsesut pepueqxy UIIM SUT TT ToTtued]) S900ZNNITT
Azoqeaztdseaz aeddqg 6w 00°o00sT NITIIDIXONY SHA ON ON -900Z7NNLTO
[seatqeatszeq prow Aqje,] 900¢dxaS9T
azetodtg 6w oo" 000T WNIGOSIWHS HLVOUdTVA SHA SHA Sada -900CdHHHOT
azeTodt tq [s6n2d
oj Azepuosss Bu peqeley esutdezetpozueg] 9007dHS9T
euTwWoOSsut uazd 00°0T GLVaLYVL WHAIdIOZ SHA SHA SaA -S00cdH4A 70
[seutdezertyL
puy seutdezexg ‘seutdezeta] 900TAYNTO 9007ONYLT 9O00TAVWST
azeptodtg Bu 00°004% ELVYWWAA ANIGVILHNO ON ON SHA -900ZNYWCTLZ -900ZAYN9OZ -900ZHYWZO TWA / W1d TZ0S7T0
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

GITT JO ¥6Z2 abed

CONFIDENTIAL
AZSER12771666
Case 6:06-md-01769-ACC-DAB Document 1363-3 Filed 03/12/09 Page 25 of 90 PagelID 85701

9EST

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
[SUOTIEUTQuoD
pextg ‘sue6o7 sq
spotied puy sueboqseborg] 900ZNWL6Z
yTenzqsueu AaweyH TIER OO'T HNOWALSIHLAYON ON SaA SaA -GOQO0TOHA9T
[seutdezertyL
puy seutdezexg ‘seutdezetaq] SOOZONC9T
I azeqtodtg Bu 90°S4L ELVYWWNA ANIdVILaNS ON ON Sada - S00 COHA9T
[S@ATIPATASq ptoy Aqqeg] SOQOCONCLT
I azeqtodtg Bw 00°00S WNIGOSIWHS ALVONdTIVA ON ON SaA -G00COXAST
[sotade,tdetquy 781740] SOOZONCET
I azeqtodtg Bw 00°00T ANIOIALONZI ON ON SaA -SO0O0COHACT
[s6n2q
pe qeley eutdezetpozueg] SOOcOeCET
eTUWOSUT Nd OW OOF HNOTOTAOZSH ON ON Sada -SOoo0cINeTto
[seutTdezertyuL
puy soeutdezexg ‘soutdezetq] S00cONd0e
I ze TodTg Bu 00°002 HLVavVWNA ANIGVILYNO ON ON SHA -S00Z08d0z
[sotade{tdetquy 28740] SOOCONATT
I zeTodta Bu 00°00z2 HNISIYLOWZI ON ON SHA -¢NN
[SseutTdezeryL
puy seutdezexo ‘sautdezetq] SOOZOECLT
I azejtodtg Bw 00°00T HLVYWWNA ANIGVILHYNS ON ON SaA -GOO0COHCLT
[seutdezertyL
puy seutdezexg ‘seutdezetq] SOOCDHaST
I ateTodtg Bu 00°05 ELVaWWNA ANIdVILANS ON ON Sada -GOO0COHAST
TeTSIeT Tq Naa [SeatyeaTszed ptow oftuotdoza] HANTINOD SOOZOHQOE
S74 Tsang szeprlneys Bw 00°008 NHAOUGNAI ON Sada SaA -2INN -G00cOH AT? dLO IO 20097108
[seatqeataszsq ptow Aq eg] 9O00CNYCE6C SOO7COHCOE
I azetodt@ Sw 00°000T WONICGOSIWHS HLVOUdTVA ON Sax ON -GOO0ZONAzZz -GO00ZONdzz diS IO T0097T0
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GTTT JO G6Z abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771667
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LEST

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
[S20ITQTYUL exyeadney

I azetodtg 03 UTUOJIOISS SATIOSTAES] SOOZORAST
bep z uotsseideq Bu 90°ST HIVIVXO WYAdOTVLIOSH ON ON SHA -SOO0cOHCET
I azejtodtg [Seat eaTAeq euTdezetTpozuag] SOOZONCST
03 bep z Aqetxuy Bu 007s WYdHZVId ON ON SHA -MINA
[S20qTQTYUT exeqdney
I azetodtg of UTUOIOISS SATIOSTAEas] GOOZONAST
Bep z uotsseadeq Bu 90°s HLVIVXO WYAdOTVLIOSH ON ON SoA -SO007OHUBT
[Sa0qTQTYUL eHeqQdney
J aeTodtg of UTUOIOASS SATIOSTSS] SOO0cOeGLT
bep zg uotsseadeq Bu 00°0OT GLIVIVXO WYadOTVLIOSH ON ON Sada -S00cOHd9T
[SSATIexXeT]
uotTyedtqsuop sqeq 00°2 SSATIEXET ON Sada ON
[sqonporg oT InedezsyL 7eyI0] 900ZEe40Zz
but ject, qe3 oo't uotTqeredertg TeqtesH ON SHA ON -900ZEHA0Z
[sqonpoitg TeTSUTW 27eYI20] 900CNYVC8T
SouUeUS UTeW YATCSH ge oot HLYNIIOOId WOINOWHD ON SaA ON -S900CNYI8T
[SUTWEITA JO SUOTIeUTqWOD]
SoueuS UTeW YATPSH ge 00°T SON SNINVLIA ON SaA SaA
[SepTtT Tuy]
uted suoqTtTeL Su 00°059 TOWWLAOVavd ON SaA SaA
[Seat Ieatszeqd ptow otuotdozg] HONILNOD 900ZAYWTO
uted suoqTtTeL Bu 00°00z2 NadOddndI ON Sada Sada -MNA -S00cOHd0z dlS IO €00971T08
[seutdezertyL
puy seutdezexg ‘seutdezetq] SOOCDHA6T
I ae todta Bu 00°0ST BLVYWWOA ANIGVILINS ON ON Sada -SO00cOuHd6T
[SeATIeATASd ptoy Aaqeg] 900CNYVCEZ
I aetodta 6w 00°000T WOIGOSIWHS ALYOUdTIVA ON SaA SaA -S00cOxead8T
[seutdezertyL
puy seutdezexgq ‘seutdezetaq] SoOcOHA8T GOOZOHAOE
I azeTodtg Bu 00°SZT ELVaVWOdA ANIGVILENO ON ON SHA -SO0O0cOed8T -SO0COHATZ dLO 10 20097T0E
NOLLYOICNI asod [NOILYOI4ISSVIO NOILYOICHN]) da TO dorldd aLVd dOLs HLvd dos aLVd dOLS LINEWLVHaL qdoo
Waal OLAHNSD NOLLYOICHWN NEMNVL NOILYOICHWN -HIVd LYVLS -HLVd LAVLS -aLVd Lavis Lodrans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

GTTT JO 962 abed

CONFIDENTIAL
AZSER12771668
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8Esl

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

seyoe eTosnu [S®ATIeATAGG PTOY oTuoTdorg]
peztTezsusD Su 00°009 NH4AOudNEdI SaA SHA SaA
[S®ATIPATAGG PToOY oTuoTtTdorg]
sTPepesey sser4s Bu 00°007 NHAOWdNEaI SaA SAHA SaA
[sastuobequy 10 de5e¥y- 7H] HANTINOD 9OOTAYWIEO 9007cHdVEO
UANGITCSH Bu 00°02 HNIGTLOWW4S SHA SHA SaA -MNQ -900¢Hdv¥¥O -SO07DHAT? IT / W1d 70097708
[wntyat tT] 9O0O0THWNTE
I zeTodtg 6u 00°006 HIVNOGYZO WNOIHLIT ON ON ON - 9007AYN60
[soTqdeTTdetjuy]
uted sucq{[tTeL Bu 90°S4L NITVavOuudd ON ON ON
[souspusedsq
ptotdo ul pesn sbniaq] S00CHWNTE
uted sucq{teL Bw 00's HNOGVHLEW ON ON ON - 900CAYN90
[wntyatT] 900ZNYN90
I azejtodtg Bw 00°00€ HLYVNO@avO WNIHLIT ON ON ON - 9007AYNSO
[wntyatT] 900ZHYNFO
I zeTodtg Bu 00°009 GLVNO@dYO WAIHLIT ON ON ON -9007HWNED
[SSaATIexeq] 900TAWNTE
uot jedtqsuop sqeq 00°¢ Seat aexeyT ON ON ON - 9007CAYNZO
[squewueTddns [erzeutH] S00CHYWTE
SoueuvseqUTeMW YITeSH gery 00°. squsweTddng [ertSsuTW ON Sada ON -900cCEHA0Z
[SSATICATIAaq sUuTdezetpozueg] 9007UYNZO
Fees SsolTAsoy Bu 00°T WYddZvaOl ON Sada ON -900CNYC8T
[Sept T Tuy] SOOZOHCOE
uotqysebuoo [TeseN Tw oo0°OT HLYNIOONS ANINVIAXOd ON Sada ON -GOO0TOHCOE
[Seatzeatszeqd puy PToy OTTO] 900CUWNTE
SoueUuS UTeW YITeSH Bu 00°F dIOV OIIOd ON SaA ON -S00Z08d0z
(wn tat T) 900TAYNCO 9007TAYWTO
I azetodta Bu 00°006 HIVNOGaZO WNIHLIT ON Sax ON -GO0O0ZONd0z -GO00zONd0z diS IO £0097T08
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

GTTT JO L6Z abed

CONFIDENTIAL
AZSER12771669
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g9zxdoy

SP FET? LOOcCHYNZO

6ST

ses’ ooTpew

AST 600TZOZTTI/F13/3nd3ano /ds/9ZT00°L 77 TP/Tenbotes /pord/aiso/

[sasyaq TANTeouTwy] 900Z¢NNCZO
Nad Aat uostog Bw 00°sz HNIWVACAHNAHCIG SHA ON ON -9007advOe
[wntyatT] 900ZNNrzO
T zejtodtq 6w o0*00zT HIVNO@aVO WOAIHLIT SHA SHA ON - 9007CAWNZZ
[SSaTIPATIEG
puy ptoy oTTAOTTeSs] 900ZNYCTT
Syoepesy sse248 Bu 00°0g9 CIOV OTIAOLTIVSTIALAOY ON Sada ON -900CNYCTT
[wntyatT] 900TMYNBT
T zetodtga bw o0°002zT HLIVNOddvO WOIHLIT ON SaA ON -9007NVL60
[wntyatT] 900ZN¥LB0
T zeTodtg Bw 00°006 HIVNO@aVO WOTHLIT ON SaHA ON - SOO ZOHATZ
[seutdezetyL
puy seutdezexo ‘seutdezeta] S007ONCO7
T azetodta Bu 00°oOSE HLVavWnd ANIGVILANS ON ON Sada - S00 cOHaST
[seutdezertyL
puy seutdezexo ‘seutdezetq] SOOZORArT
T zeTodtg Bu 00°00€ HIVaWWna ANIGVILYNS ON ON SaA - G00 cOHaSO
[SseutTdezeryL
puy seutdezexo ‘sautdezetq] S00ZOg8arO
T azetodta Bu 00° 0ST HLVaVWNd ANIGVILANS ON ON Sada -GSOOTAON6Z
[wntyatT] SO0ZONAOZ
T azetodta Bu 00° 009 HLIVNOddvO WOIHLIT ON ON SadA -GOOCAONT 2
[seutdezetyL
puy seutdezexo ‘seutdezeta] GOOZAONSZ
T azetodta Bu 00°002 HLVavWnd ANIGVILYNS ON ON Sada -SOOZAONTZ
[seutdezertyL
puy seutdezexo ‘seutdezetq] 900cNNL ZO 90O0CAVWEO 9007TAdVEO
uot sseideq Bw 00°00T HLVYWWNA ANIGVILYNO SA ON ON -9OO0ZAYWNEO -9007Hd¥PO -SOO0ZDHATZ IT / W1d 7O0097T0H
NOIIVOIGNI gs0dq [NOILVYOISISSVIO NOILYOICHWN)] da TO dwoldd aLvd dOLs aivd dos aLVd dOLS LNEWLVaaL qdadod
WaatL OTHHNHD NOILYOICGSW NAMVL NOIDVOICHN -SIVd LAVLS -HLVd Lavis -aLlvVd Davis Loadrans
NOTIVOIGHN dxZIWOGNVS THadvl Nado

GITT FO 962 abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771670
Case 6:06-md-01769-ACC-DAB Document 1363-3 Filed 03/12/09 Page 29 of 90 PagelD 85705

OrsT

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
NYd T re Todtq o3 [S®aATIwATASG sUTdEzeTpozuEg] S900THWNSO
Azepuooses Ajetxuy Bu 00°T WYdazZvVadol ON SaA SaA -900CNY¥L'SO
T aeqtodtq of [SeaTIeATAeq suTdezetpozusg] 9007aa480
Azepuooes AjetTxuy Su 00°77 WYdHZVaOl ON DaA SoA -9007CNVI'SO
[wntyatT] 900zINrBz
T aetodtd Su 00°009 HLVNOdavo WOIHLIT ON SHA SHA -S00cOxedTO
[sastucbequy
uotqeutan ztojdaeaer0uerpy- eydty] 9007GH460
ATNOtFFta Bu oro HOTYOTHOONCAH NISOINSNZL ON SaA SaA -SO0O0CAONST
[seutdezertyL
puy seutdezexo ‘seutdezetq] 9O0O0ZNVLOT
T aetodta Su o0°00S BLVYWWOA ANIGWILHNG ON ON SHA -MNA
I aetodtq o3 [S®ATIVATA9G sUTdEzeTpozuEg]
Arepuooss Aqetxuy Bw os-o WYdHZYNOIO ON OM SHA
azeqtodtq o3 [SSaTIeATAEeq suTdezetpozueg] 900TNYLLO
Azepuooes AjetTxuy Bu 00-2 WYdHZYNOID ON ON SHA -YNA
[sotqdeTtdet uy] 900ZNVC YO
eTbhyTeAworqta Bu 00°0ST NIIVGvVOxud ON ON Sada -S00coOud6c
[saqusby
butqoy ATTerquep 7yI0]
eth TeAWoAqT | Bu 00°F HQAIHOTHOOUCAH HNICINYZIL ON SaA SHA
[squeby
Butqoy ATTerquep 7eyI0]
eTbTeAworqta Bu 00°79 HQTaSOTHSOUGAH HNICINYZIL ON SHA SHA
[sto atqtTuul dung uojo7g]
UANg Leon Bu 00°02 WOIGOS WIOZVaddddvd ON SaA SHA
[se0ueqsqns peqeTey puy
stqatazyqze SOATIEATAEq PTOW OTISeOY]
prorzeunseya Bu 00° 0ST TIOLSOUdOSIW ON SHA SHA
[seuowz0H ptorzAyI]
ustptorAy odAy Bn 00°SL WOIGOS HNIXOMAHLOANT ON SHA SHA
[squeby satsserddnsounuwy
STaTzyqsze BATIOSTSS] HONTLNOS SO00CNNOL8C
prTorzeunseya Bu o0°0s IddodsNvLe ON SHA SHA -YNA -900CNYCTT dL 10 S0097T0E
NOLLYOICNI Hs0qd [NOLLVOISISSVIO NOILYOICSN] da TO dorldd aLVd dOLs HLvd dos aLVd dOLS LINEWLVHaL qdoo
Waal OLAHNSD NOLLYOICHWN NEMNVL NOILYOICHWN -HIVd LYVLS -HLVd LAVLS -aLVd Lavis Lodrans

NOILYOICSN

qeZIWOCNVa ‘THavl Naydo

GTTT 39 662 abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771671
Case 6:06-md-01769-ACC-DAB Document 1363-3 Filed 03/12/09 Page 30 of 90 PagelD 85706

Isl

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
[squesseizdeptquy 781740] SOOCOHATE
T aetodtd Bu 00°00Z HQTHOTHOONCAH HNOCOZVAHN ON ON SHA -S00cOed6~c
[seutdezetyL
puy seutdezexo ‘seutdezeta] SO0O0TNYVL9T
T aeTodta Su 00°00T ELVYWNOA ANIGVILHNG ON ON SaA -S900CNYCI9T
[seaTjeatizsq ptoy Aq jeg] 900cCNYLSO
T azeqTodta Sw 00°000z WOIGOSIWHS HLVOUdTVA ON ON SoA -ANA
[seutdezetyL
puy seutdezexg ‘seutdezetaq] 900ZNVP8T
T aetodta Bu 00°00€ ELVYWWOA ANIGVILING ON ON Sada -900CNYI'8T
[sbnad
peqetey sutdezetpozueg]
PTUWOSUT Bu 90°OT HLVaALAVL WHCTdIOZ ON SHA SHA
[SUTWEITA JO SUOTISUTQWUOD]
SoueuS UTeW YATPSH ge 00°T SON SNINVLIA ON SaA SaA
[S®aATIATAGG PTOW OFUOTdoOrd]
STIATAYIAY Ssqej 00° WNIdGOS NHXOudvVN ON SaA SaA
[S®ATICATAVG PTOW OTUOTdOIg]
Seypepesy ssert4s Bu 00°00F NadOuddndI ON SaA Sada
[szo0qtqtyur dumg uoj07g] HONTLINOO 900TAVN6O
UANGILeSH Bu o0°0r WOISHNSVN SHIOZVAdHWNOSH ON SHA SHA -YNA -900CNYL6T dl5 10 90097104
NYd T 2eTodtq 03 [SeaTqeATAeq suTdazetpozuag]
Azepuooes Ajetxuy Bu og"o WYaHZvVaOI ON SHA ON
TI aetTodtq o3 [S®aTIwATASG sUuTdEzeTpozuEg] 900cInrsz
Azepuooss AjetTxuy Bu og°T WYdHZvaol ON SaA ON -900cCAYW60
UoTIeUTAN [soTpouseds Tquy ATeuUTIO] 9007ZHdVEZ
3TNOtFFta Bu 00°0OT HQTAOTHOOUGAH NINALNEAKO ON SaA ON -900CEHAO0T
T a2eTodtq o4 [SeaATIeATANGq euTdEzZzeTpozueg] 9007THYN8O
Azepuooes Ajetxuy Bu 00°72 WYddZVaO!I ON SaA ON -900cdH4A60
[sotqdettdet quy] 9007 Inrsz 900ZNNL8Z
eTbTeAWorqta Bu 00°Szz NIIVavOeudd ON SHA SHA -900CNYCSO -900CNYCTT dL 10 S0097T0E
NOLLYOICNI asod [NOILYOI4ISSVIO NOILYOICHN]) da TO dorldd aLVd dOLs HLvd dos aLVd dOLS LINEWLVHaL qdoo
Waal OLAHNSD NOLLYOICHWN NEMNVL NOILYOICHWN -HIVd LYVLS -HLVd LAVLS -aLVd Lavis Lodrans
NOLLIVOICHN CHZIWOGNVa ‘THAVI Nado

GITT FO OOF Bebe

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771672
Case 6:06-md-01769-ACC-DAB Document 1363-3 Filed 03/12/09 Page 31 of 90 PagelD 85707

crsi

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

uoOTIOSUT [Sept ToOr0eN] 900cCAWNSO
Azroqertdsea ssddq 5B o0°2 NIDAWOUHLIZY ON SHA ON -90074WNSO
Tq zetodtgq
oy Azepucoes
Aqetxuy of [sotideTtdetquy 19730) 900zudw80
Azepuooes AQeTxuy Bw 00°00€ NILNYdvadvyD ON Sada ON -900CEHAES
[sot qerAdtquy
azeqTodtq o4 puy sotsebTeuy 278430] 900CEHHATT
Azepuooes Ajetxuy Su 00°009 NILNAHdVvavD ON Sax ON - 900CEHA9T
[souspusedseq
SUTIOOTIN UI peso sbnadq] 900¢cdH4S0
T azetodtg Bw 00°0ST HATAYOTHOONGAH NOTdOwdnNa ON Sada ON -900CNWLO¢
[seutdezertyL
puy seutdezexg ‘seutdezetq] 900ZNVWLLT
T azeTodta Bu 00°00z2 HLVaWWNA ANIGVILENS ON ON SHA -900CNYCLT
[SSeATIPATASq ptoy Aqqeg] 900Zadv80
T aetodtgq 6wu oo*o00Gz WNIGOSIWHS HLYONdTVA ON Sada Sada -900CNYC90
[STOATQTYULI
yJozeqse Toyo aseqonpsey eop Sux] 900ZUYN80
peqeAeTa Bw 00°08 NILVLSVAWIS ON SaA SHA -SOO0ZOEC6T
T azeqTodtq oj [sotade,tdetquy 2420] 900THHAST
Azepuooess AqetTxuy Bu 00°006 NILNHdvavyD ON SaxA SHA -GOO0COHA6T
[souspuedeq
SUTIOOTIN UL pesg shnaq] S9O00ZNYI6T
T zetodtg Bw 00°00€ HATAYOTHOONGAH NOTdOwdnNa ON ON SaA -GOO0COHA6T
[squesseizdeptquy 721740] S00 ¢cOed82
T azeTodtd Bu 00°00% ACIYOTHOOUGAH YNOCGOZVWAYN ON ON SHA -aNN
[Seat zeatszeq sutTdezetpozuseg] 900CNYCOT 9007TUYWE0
T azejTodta Bu 00°T WVIOZVadTY ON ON SHA -900CNYCOT - 900Z2NYVI6T diS 10 900977104
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans
NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GTTT JO TOE abed

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

CONFIDENTIAL
AZSER12771673
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s97xdoy «GPF ET? LOOZHYNZO

erst

ses’ ooTpew

ast

“600TZOZTTI/3123/3ndano /ds/97T00°L rr TP/ Tenbozes /pord/aiso/

[seutTdezeryL
puy seutdezexo ‘seutdezetq] 900ZN¥L90
I azeqtodtg Bu 90°52 HLVaWWNA ANIGVILHYNS ON ON SaA -9007CNVC'SO
[seutdezertyL
puy seutdezexo ‘seutdezetq) 900ZN¥L80
I azeqtodtg Bw 00°00T ELVYWWNA ANIdVILaNS ON ON Sada -900CNYC80
[seutdazeryL
puy seutdezexo ‘seutdezetq] 900ZN¥LLO
I aetodtg Su 0070s ELVYWWOA ANIGVILANO ON ON SaA -900ZCNVCLO
[sasTuobequy M utTweqta]
stxeTAydordg Bu o0°s WNIdGOS NIYvVsdvM ON Sada SHA
[wn tyatT)
zejTodt Su 00°006 HLYNOGAVO WOIHLIT ON Sax SaA
[seuowz0H ptTorAyy]
ws tptoszdéyqo0d4y 6n 00°88 WNIGOS SNIXOWAHLOAST ON SHA SHA
eutboue [SSI2CAITN OFUebIAOC]
Ss, Te youzZzutszg Bw o7'o GLVaLINIG@L TAWHOATIO ON Sada SaA
[PTOTSIS-UON ‘SAONporzg
stqatazyqsze oT QV eUMSTAT Uy /MWe TIUTT ITY]
dty pue puey Bw 007005 aLVAINS NILIOWNGNOHD ON Sada SaA
[UTeTd ‘xeTdwop-gq UTWeIATA]
SouUeUSIUTeW YIATPSH 4eTA[e4 OOTT GLYNAHLOLNYd WOIOTYO ON Sada SaA
[SSATIPATIOG
euTbue autptrzAdorzpAyta]
Ss, Te euzutrd Bw 007s HNIGIGOINZ ON Sada SaA
[squeTnjaeTFTiuy
Nad YIM sppoejuy] HANTLINOD 900c¢NYC8T
UANGILPCSH ds3 00°T HadTXOedAH WOINIWN'TY ON Sada Sada ->INN -900CNVLOT dLO IO 400977108
[STOATQTYULI
yJozeqse Toyo aseqonpsey eop Sux] 900ZUYN9T
pezeAela Bu 00°02 WNIOTWO NILVLISVANSOY ON SHA ON - 900CHWN60
[septuenbtq] 900TAYNCT 9007TUYWE0
sereqetda Su 00°005 NIWHOALEW ON Sax ON - 9007AYNB0 - 900Z2NYVI6T diS 10 900977104
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans

NOILYOICSN

qeZIWOCNVa ‘THavl Naydo

GTTT JO zoe abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771674
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vrsl

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
[wntyatT] 900THWNZZ
T azeTodta  6w 00°006 ALYNOGNYO WOIHLIT ON SHA ON -900Z8H460
[seutdezetyL
puy seutdezexo ‘seutdezeta] 9007GH4L0
T aetodtq fw 00°00S5 ALVUWWNA ANIGVILYNO ON ON SHA -9007@Haz0
[wntyatT] 900744480
T azetodtg fw 00°009 ALVNOGNYO WOIHLII ON ON SHA -900ZNWIZT
Nd T 2zeTodtq o3 [S®aATIeATAEGq SsUTdezeTpozuEg] 9007CHWNZ2
Arepuooes AqetTxuy Bw o00°T WYGEZVNOT ON SHA SHA -SO00ZONAzZ
[seutdezetyL
puy seutdezexo ‘seutdezeta] 9007GH4TO
T azetodtg 6w 00°o0r ALVaWWOA ANIGVILYNO ON ON SHA -S007DNazz
[seatqepeg puy sotqoudAdy] 9007TMWNZZ
Nud eesnen Su 90°05 HNIZVHLAWONd ON SHA SHA -SOOTOHAST
[SUCTISUT QUOD
pexty ‘suebor4sy
puy susboqsebo1g] 9007HYNZZ
uot qdeserzquop qea oo°t HNONHMIGSONG ON SHA SHA -SOOTOHAOT
Nid uted uopueq [S@aATIeATAMG pPToy otucotdozg] 9007MWNZZ
seTTtyoe qSty Su 00°007 NHd0udngI ON SHA SHA -SOOZAONST
Nua uted [SeptT Tuy]
yoeq queztindey bu 00°059 TOWWLHOVavYd ON SHA SHA
Nud uted [sept [Tuy]
yooeu quetanoey =u 00-059 TONZLHOVavYd ON SHA SHA
[SWS TUPHIOO1I9 TH
TesyszeT pT quy]
SOURIS TOQUT CQNNOdW
asoqoey] qe 00°T OD SMIIHAOGIOV SNTIIOVEAOLOVI ON SHA SHA
N&d [SSPATIPATASC Ptoy oTUOTdorg]
ayoepesy suTeIBTW fu 00°007 NHA0WdNgI ON SHA SHA
Nua [SeaTzeatseq ptoy otuotdozg] ANNILNOD 900784407
peyoepesey ssezas bu 00°00r NHA0WaNgI ON SHA SHA -INA - 900288480 dLO 10 80097704
NOILY¥OIGNI as0qd [NOILVOISISSWIO NOILYOIGSW] da TO UYOINd Lvad dOLS ALYd dOLS Lv dOLS LINSWLWaIYuL aqoD
WHEL OIMHNED NOLLYOIGHW NANVL NOLLYOIGHW -HLVG LYWLS -SLVd LavVLS -aLvd LawLs LOarans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GTTT JO €0€ abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771675
Case 6:06-md-01769-ACC-DAB Document 1363-3 Filed 03/12/09 Page 34 of 90 PagelID 85710

SPsl

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

[seutTdezeryL
puy seutdezexg ‘seutdsezetq] 900ZNYI FT
T aetodtg Bw 00°00T HLVaWWNA ANIGVILHYNS ON ON SaA -900CNYVCCT
[S8ptTtuy] 900cedv90
Syoepesy sser4s gey 0o0°T TOWWLAOVAd ON Sax SaA -900CNYCOT
[eouspuedeq
SUTIOOTN UI pesn sbnzq] 900CEdH4AES
zejTodta Bw 00°0S7T HATAYOTHOONGAH NOTdOwdnNa ON Sada SaA -G00coOeadSe
[seqeuoydsoydst g] 9007HdY90
S$ Tso10dos so Bu 90°04 WNIGOS ALYNOMGNYTY ON SaA SaA -SO0O07OHAST
[SUOTIEUTQquoD
AsyAO ‘SAOATATYUL
yToreqse Toyo aseqonpey eop Bux] 900ZNaY90
peqeAeTa Bu 00°ST HaIWILYZH ON Sada SaA - GOOTAONST
[s20qTqTYyUl exeqdney
UTUOIOASSY SATIOSETASS] 900CNYVC8T
T azetodtg Bu 00°0T HLVIVXO WYAdOTIVLIOSH ON ON Sada -¢INN
[SeATIeATASd ptoy Aaqeg] 900CNYC8~
T azetodtg Bw 00°0SL WNIGOSIWAS HLVOUdTVA ON Sada ON -900c¢NWCS2
[seutdezertyL
puy seutdezexo ‘seutdezetq] 900TNWL TZ
T azeTodta Bu 00°00z2 HLVaWWNA ANIGVILENS ON ON SHA -900CNYWL PCS
[sesuowz0H ptorzAyy]
ustptoréyqedAéH = BN. 00" ONT WOIdGOS HNIXOWAHLOATI ON SHA SHA
[(WnTOTeD]
SOURUSIUTeW YATesy ATqel oot HLVaLIO WOIDSTYD ON SaxA SHA
[spunodwop wntoTed]
Wand resy, dsq 00°2 HIVNO@aYO WOAIOTYO ON SHA SaA
[uTzedey *TOxyY STOYTQTYUL
uotieberbby jeTeqetd] HONTLNOD 9007UHYNLO
stxe TAydord Su 00°18 CIOW ODITAOITVSTIALYOY ON Sax SHA --INN -900ZNWISZ dLS 10 60097104
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

GTTT JO FOE Sbea

CONFIDENTIAL
AZSER12771676
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ggzxdoyx

SP FET? LOOcCHYNZO

[Sa0qTQTYUI eHeqQdney

9PST

ses’ ooTpew

AST 600TZOZTT/F13/ ndyano /ds/9ZT00°L PPT P/Tenbores/pord/aiso/

UTUOIOASS SATIDSTSS] 9007EaHATO
T aetodtg Bw 007s HLVIVXO WYAdOTIVLIOSH ON Sada ON -900CNWPTE
[SeATIeATASd ptoy Aaqeg] 900¢dH4ATO
T azetodtg Bw 00°0SL WNICGOSIWAS HLVOUdTIVA ON Sada ON -900CNVLOE
[seatqeatszeq prow Aqje,] 900CNVL6Z
T aetodtg 6w 00°005 WNIGOSIWHS HALVOUdTIVA ON SaA ON -900CNWL67Z
[seutdezetyL
puy seutdezexg ‘seutdezetq] S9O00ZNWLEZ
T azetodtg Bu 00°SLT ELVYWWNA ANIdVILaNS ON ON Sada -900CNYLEZ?
[SseuTdezertyuL
puy seutdezexg ‘seutdezetq] 900CNWL ZZ
T azeTodta Su 00°00z ELVYWWOA ANIGVILENO ON ON SaA -900CNVPZ7
[seutdezetyL
puy seutdezexo ‘seutdezeta] SO0O0TNWETZ
T azetodtg Bu 00°Szz HLVYWWAA ANIdVILHNS ON ON SaA -900CNWPT 2
[seutdezertyL
puy seutdezexo ‘seutdezetq] 900ZNYLOZ
T azeTodta Bu 00°05zZ HLVaWWOA ANIGVILENS ON ON SHA -900CNWLO
[SA0qTQqTYUL SYyeqdney
UTUOIOISS SATIOSTAasS] 9O0ZNYL TZ
T azetodtg Bw 007s HLVIVXO WYHdOTIVLIOSH ON ON SaA -900CNWCP6T
[seutdezertyL
puy seutdezexg ‘seutdezetaq] 9O00ZNWL6T
T zetodtg Bu 00°Szz ELVaWWNA ANIdVILANS ON ON Sada -900CNYP6T
[seutTdezertyuL
puy seutdezexg ‘soutdezetq] 900ZNYLP8T
T aeTodtg 6u 00°002 HLVaVWNA ANIGVILYNS ON ON SEA -900CNWCST
[seatqeatszeq ptoy Aqjeg] 900CNVC YT 9007TAYWLO
T azeTodta Sw 00°000T WONICGOSIWHS HLVOUdTVA ON ON SHA -900CNYC ZT -900ZNWISZ dLS 10 60097104
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] ca IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GTTT JO SOE abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771677
Case 6:06-md-01769-ACC-DAB Document 1363-3 Filed 03/12/09 Page 36 of 90 PagelID 85712

LYSI
Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
[SseuTdezertyuL
puy seutdezexo ‘seutdezetq] 9O0O0ZNYL6T
T aetodtd Bw 00° 00T BLVAVNNA ANIGVILANO ON ON SHA -900CNYP6T
[seutdezetyL
puy seutdezexo ‘seutdezeta] SO0O0CNYL YZ
T aeTodta Bu 00°SLT ELVYWNOA ANIGVILHNG ON ON SaA -S900CNYI YC
[seutdezertyL
puy seutdezexo ‘seutdezetq] SOOZNYI8T
T azeTtodtgd Bu 9070s BLVYWWOA ANIGVILENSG ON ON SHA -S900CNYI8T
[SSATIPATAEq PToy oTuctdozg]
Ssyoepesey sseitas Bu 00°Orr WNIdGOS NHYXOuUdvN ON Sada Sada
[Seat zeatszeqd pToy otuctdoza] HONTLINOOS 9007TdHAST
Sypepesy ssetis Su 00°00% NH4AOudNaI ON Sada SHA -¢MNN -900CNVLSZ dl5 IO OT097T0E
[seatqeatseq prow Aqqeg]
T azeqtodtq Sw o0°000T WNIGOSIWHS HLYOUdTIVA ON ON ON
[SeuTdezetyuL
puy seutdezexo ‘seutdezetq] 900ZNav90
T zeTodtg Bw 00°00€ ALVYWWNA ANIdVILHYNS ON ON ON - 900CHWN80
[eouepuedeq
SUTIOOTN UI pesn sbnad] 900cadT90
T aejtodta Su 00°0ST HQTYOTHIOUGAH NOITdOudnNd ON SaA ON -900caAYWCO
[eouepuedaq
SUTIOOTN UI pesg shnaq] 9007TUWNIZO
T aeTtodta Bu o0°O0€ HQATYOTHIOAGAH NOIdOddnd ON SHA ON -900CEHHAGC
[seaTqeATseq ploy Aqqeg] 900TAYNLO
T aetodta Bu 00°0SL WNIGOSIWHS HLVOUdTVA ON Sada ON -900cCdEdH4H60
[SeATIeATASd ptoy Aaqeg] 900¢d4H480
T aejtodta Su 00°005 WOIGOSIWHS ALYOUdTIVA ON SaA ON -900¢dH4 20
[stoqTqtTyUl eyeqdney
UTUOIOISS SATIOSTSS] 900cCdHAvO 900CAVNLO
T aeTtodta Bu os-z HIVIVXO WYadOTVLIOSH ON SHA ON -900cdH4 720 -900CNYVLSZ dL 10 6009770
NOLLYOICNI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLVd dOLS LINEWLVHaL qdoo
Waal OLAHNSD NOLLYOICHWN NEMNVL NOILYOICHWN -HIVd LYVLS -HLVd LAVLS -aLVd Lavis Lodrans

NOILYOICSN

qeZIWOCNVa ‘THavl Naydo

GTTT JO 90€ abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771678
Case 6:06-md-01769-ACC-DAB Document 1363-3 Filed 03/12/09 Page 37 of 90 PagelD 85713

8PrSI

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
[wnFoTed]
aoueuequTeW yATeeH wu 00°009 WOIDTYO ON ON SHA
[SSATIPATIOG
puy ptow oTTAotTes]
Nad St4tauatzy 4eTFesa ooO'T QIOV OITAOLTIVSTALHOY ON ON SaA
[uTzedeH *TOXY STOVTQTYUI
uot ebeszbby 4eTS4eTa] HOANTLNOD
stxe TAydoirg Su 00°18 CIOVW OITAOITVSTIALYOY ON ON SaA —-INN ONISSIW Z2T097T0
(un tyatT] 900CEHHAET
I azeqtodtg Bw 00°006 HLVNOGavO WNIHLIT ON Sada SaA -900CNYCLT
[S®eaTQeAT IEG
Nad 49TIeL puy prow oTTAot Tes]
uted yored o0°T CIOW ODITAOITIVSTIALYOY ON Sada SHA
[SSATQeATIE
Nad 39TOQPL puy Ploy OTTAOT Tes] HONTLNOOS 900CNVIPZ
syoepesy ssert4s 00°T CIOW OITAOITIVSTIALYOY ON Sada Sada -¢INN -900CNVIETS dLO IO TT097T08
[seutdezertyL
puy seutdezexg ‘seutdezetq]
T azetodtg 6w 00°00z GLVEWVNOd ANIGVILINO ON SHA ON
[wntyatT] 9O00TMMNLT
T aetodta bw 00°00zT SLYNO@YWYO WAIHLII ON SHA ON  -900ZEH 4ST
[SseutTdezeryL
puy seutdezexo ‘seutdezetq] S00ZNYLZZ
T azetodtg 6w o00°0ST ALVUWVWNA ANIGVILANG ON ON SHA -900ZNWLTZ
[untyat 900ZEHAvT
T aetodtg Bw 00°006 HLYNOdadvO WOIHLITI ON Sada Sada -900CNY’8T
[seutdezetyL
puy seutdezexo ‘seutdezetq) SOOZNYLEZ
T aejodta 6 o0°002 HLVEWWNd HNIdVILANG ON ON SHA -900ZNWLEZ
[seutdezertyL
puy seutdezexo ‘seutdezetq] 9O00TNYLOZ 9007EH4ST
T azejTodta Bu 00°S2T ELVYWWAA ANIGVILHNO ON ON SHA -900CNWLOZ -900ZNWISZ diS IO 0T097T0¥
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans

NOILYOICSN

qeZIWOCNVa ‘THavl Naydo

GTTT JO LOE abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771679
6rSI

CONFIDENTIAL
AZSER12771680

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Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
[seutdezetyL
puy seutdezexg ‘seutdezetaq] HONTLNOOD
I azetTodta Su 00°008 FLVAVWNA ANIGVILENO ON ON ON  -S00ZLOOO
[sbnad
peqetey sutdezetpozueg]
eTuUWOSsUT Bu 00°0T NOTd31¥Z ON ON SHA
[Seatqeatszeq prow Aqjeg]
I aetodta 6wu oo°000z WOIGOSIWHS ALVOWdIVA ON ON SHA
[SZoQTqtTyUur dumg uojo7g]
wang zeeH Bu 00°0Or HIOZVAdOLNVd ON ON SHA
[sesucwZ0H PTorAyL]
ustptotéyjodAH = BN NN 0GZ WOIGOS BNIXOMAHLOASI ON ON SHA
. [UTeTd ‘SeptzetyL]
uot sue qasdAH bu 00°Sz HCIZWIHLOWMOTHOOUGAH ON ON SHX
[(UTeTa ‘Sz0ITqQTYUI e0%y]
uot sueqrsdAH Bu 90°OT TTMdVIVNH ON ON SHA
[S®aTqeATAeq seUuTdEzeTpozusg] AONILNOO
eTuUMOSsUr Bu 00°T WYdHZYNOIO ON ON SHA -MINA DNISSIN €T097T0N
[SUTWEITA JO SUOTIeEUTqUOD]
SoUeUeIUTeW YATeSH ASTWGeI’ 00°T SON SNIWWLIA ON ON SHA
[sotpowsedstquy Azeutzy]
Aouenbeay Areutan Bu 00°0OT HCIYOTHOOUGAH NINALNGAXO ON ON SHA
[seutdezertyL
puy seutdezexg ‘seutdezetq]
I ae todta Bu 00°0OT ANIGWZN¥VIO ON ON SHA
[wntyatT]
I aetodta bu 00°009 WOIHLITIT ON ON SHA
[seuowz0H pTorAyL]
ustptorAyyodAy Bn 90°Sz ANIXOWAHLOATI ON ON SHA
[sotade,ttdetquy 71740]
I azetodta 6m 00°00€ HNIOIULOWWI ON ON SHA
sqeTqeq. [seat eatszeqd prow ofuctdozg]
Nad statzyqazy 007% NHAOUOLEA ON ON SHA
[SSATIPATASC PToy oTUOTdoOIg]
NYé esyoepesH bu 00° 007 NHAOUaNGI ON ON SHA
[UTETd ‘SeptzetuL] HANTLINOD
woTqueiea pinta Bu 00°Sz HCIZVIHLOWOTHOOUGAH ON ON SHA -¥INOA ONISSIN ZTO97TON
NOILWOIGNI Hsod [NOIL¥VOISISSVIO NOILWOIGEW)] ca TO WOINd LWd dOLS HLvd dOLS LVd dOLS INSWLVAUL aaoo
WHHL OINENHD NOLLVOIGHW NSNVL NOILWOIGHN -HLVd LYWLS -HLVd LUVLS -HLVd LYWLs Loarans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

GTTT JO g0€ abed
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OSST

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
T aeTodtq of [sotadettdetquy 27°40] 9007EHATT
Azepuooses Ajetxuy 6w 00°00zT NILNHdVavD ON ON SHA -900CEH4ST
[seutdezetyL
puy seutdezexo ‘seutdezeta] 9007GH49T
T aeTodta Bu 0070S ELVYWNOA ANIGVILHNG ON ON SaA -900CdHH4AST
[wNtyatT] 9007EHA8z
T aeTodta Su 00°006 HLYVNOddvo WOIHLITI ON DaA SoA -S900CNVI'CCS
T aetTodtq 03 [sotqdettdetquy 7981420] 9007HHAVT
Azepuooses Ajetxuy 6w 00°008T NILNHdVavD ON ON SHA -YNA
[seutdezetyL
puy seutdezexo ‘seutdezeta] 9007EH48T
T aeTodta Su 00°00T ELVYWWOA ANIGVILANS ON ON SaA -900CEH48T
[seutdezertyL
puy seutdezexg ‘seutdezetq] 9007EHALT
T aeTtodta Bu oo°ss BLVYWWOA ANIGVILENG ON ON SHA -900CEHHALT
[SseutTdezeryuL
puy seutdezexo ‘seutdezetq] 9007444 FT
T aetodta Bu 00°Sz ELVYWNOA ANIGVILHNG ON ON SaA -9007dHH4AL0
[SUTWEITA JO SUOTIeUTQUOD]
SoUeUSAUTeEW YITeSH ge 00°T SON SNINVLIA ON SHA SaA
[SeptT tty]
Nad eyoepeey snuts Su 00°005 TOWWLAOVavd ON SaA SaA
Nua [SepTT Tuy]
Ssyoepesy ssei4as Su 00°005 TOWWLAOvVavd ON SaA SaA
[seuowz0H PTOAAYL] 4HONTLNOO S9O00CHYANST
ustptorAyqodAy Bn 00°SL WONIGOS HNIXOWAHLOAYI ON Sada Sada -MNA -900cEHACcS dlS IO STO97T0
[Sz04TqtTyUr dumg uojo7g]
WANG ATeSH Su 00°02 aIOZvVaddwO ON ON SaA
[eouspuedeq
xo jep ptotdg ur pesq sbhniq] ANNILNOD
UOTIOTPpe UTOASH n° HNOCVHLYW ON ON SHA -YNA ONISSIWN PTO97TOR
NOLLYOICNI Hs0qd [NOLLVOISISSVIO NOILYOICSN] da TO dorldd aLVd dOLs HLvd dos aLVd dOLS LINEWLVHaL qdoo

WHHL OISHNED NOILYOICHW NAMWL NOILYOICHW -HLVd LAVLs

NOILYOICSN

-HLVG LYVLS -aLVd Laws
qeZIWOCNVa ‘THavl Naydo

Loarans

GTTT JO 60€ abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771681
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ISsT

Gozxdoy =SPtET:LOOZTHWWIZO 6ses

[SUOTIEUTQuoD
pexta ‘sueborz4syq

“OOTpaU AST 600TZOZTT/F13/3ndano /ds/9ZT00°LtPIP/Tenbo1tes/pord/aiso/

puy sueboqsebo1g] 900ZNOrTzZ
wot 4dsoe7quoD 6n 00°0ST NIWOMLSHSISYON ON SaA ON -9007THdY ZO
[seatqeatTszeq prow Aqje,] 900CNNCT?S
T zetodtgq Sw o0*000T WOICGOSIWHS ALVONdTVA ON Sada SHA -9007EH4ALT
[seatqeatszeq prow Aq3e,] 900CAUHAST
T zetodtg 6u 00°00S WOIGOSIWES ALVONdTVA ON ON SHA -900cCdH480
[seutdezeryy
puy seutdezexo ‘seutdezetq] 9007GH4ATZ
T azetodta Bu 00° 00T HLVavVWnd ANIGVILENS ON ON SaA -9007THHA6T
[seutdezetyL
puy seutdezexg ‘seutdezetaq] 9007EH4ALT
T azetodtg Bu 00°Sz HLIVavWnd ANIGVILINS ON ON SaA -900CEE4dLT
[seutTdezertyuL
puy seutdezexo ‘seutdezetq] 900CEHATS 900CAVNET
T aeTodtg Bu 00°002 HLVavVWNA ANIGVILYNO ON ON SEA -9007EHATT -9007EHAET dL IO 91097708
[sotideTtdetquy zey.0] 9007THAVOT
T zejTodtg Bu 00° 006 NILNHdvdv5 ON SaA ON - 9007UWNST
(wn tYyatT] 90072HdVbT
T azetodta Bu 00° 006 ELVNO#dYO WNIHLIT ON SaA ON -900TAWNZO
[ZORTATYUT eseweqoey-eqog
TOU] SUTT [Te tUsd JO sqwop] 9007THYN60
qeoryq azog Hu 00°000T NITIIOIXOWY ON Sada ON - 9007AWNZO
[sotideTtdetquy zey.0] 9007EH4 SZ
T azetodta Bu 00°009 NILNHdvVavD ON SaA ON -900cdHAES
[seutdezertyL
puy seutdezexo ‘seutdezetq] 900caHATTS 9007AVNST
T zeTodtg Bu o0°Se ELVaWWNA ANIdVILYNO ON ON SHA -900Z7EH4A6T -900Z2EHATZ dLO 10 STO97T0H
NOILVOICNI gs0dq [NOILVYOISISSVIO NOILYOICHWN)] da TO Worldd HLYd dOLs HLvd dos aLvV¢d dOLS LINSWLVauL adoo
WHEL OI1WESNHD NOILYOICGEN NHNWL NOILVOICGHN -HL1Vd LYVLS -aLVd LYVLS -alvd Laws Loarans

NOILYOICSN

qeZIWOCNVa ‘THavl Naydo

GTTT JO OTE abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771682
Case 6:06-md-01769-ACC-DAB Document 1363-3 Filed 03/12/09 Page 41 of 90 PagelID 85717

cSSt
Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
[sto0aTtqtTyUul eyeqdney
UTUOICISS SATIOSeTAS] 900ZHAAVT
T azeTodta Su 00°0ST HQATHOTHOONGAH ANITVALYSS ON ON SaA - 90074460
[uNtyatT] 9OOTEHAET
T azejtodta Su 00°009 HIVNOGaZO WNIHLIT ON ON SHA -900caEH460
[seutdezeryy
puy seutdezexo ‘seutdezetq] 9007a4a460
T aetodtg Bw 00°00T HLVYWWNA ANIdVILHYNS ON ON SaA -9007dHHA60
[sotadeTtdetquy 28430] 900THYNTZ
T azeTodta Su 00°00T HNTIOTYLONZI ON Sax SaA -SOO0ZOXAST
[SUOTIeEUTquoD
pextg ‘suseborz sq
puy sueboqsebozg] 900cadwoz
uot ideoerquop gey 0o0°T HLVWILSHDAYON ON Sax SaA -SOOZAONST
[st0qtTqTYyUl exeqdney
UTUOIOTSS SATIOSTES] 900¢cd4H480
T azetodtg Bw 00°002 HCIYOTHOOUCAH ANITIVYLYES ON ON SaA ->INN
[seutdezertyL
puy seutdezexo ‘seutdezetq] 9007TEHAET
T azeTodta Bu 00°OST HLVaWWOA ANIGVILENS ON ON SHA -900CEH4ATT
[SseutTdezeryL
puy seutdezexo ‘seutdezetq] 900ZEN40T
T azetodtg Bw 00°002 HLVYWWNA ANIGVILHYNS ON ON SaA -900CdHAOT
[uNtyatT] 9007HYN8O
T azetodtg 6w oo 00zT HLYNOdadvO WOIHLITI ON Sada ON -900CUYNITO
[SepTtTtuy] HANTINOD 900TAYWTC
Syoepesy sseris gery 00°2 TOWZLHOVagd = ON SaxA SHA -¢NN -900CEHAPT dLO I0 LT097T0R
[seutdezertyL
puy seutdezexg ‘seutdezetq] S900cNNCTC 9O00TAYWTT
T azejTodta Su 00°00T ELVYWWAA ANIGVILHNO ON ON ON -900ZAVNIEZ -900CEHAEZ dLS 10 9T097T08
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GTTT JO TTe abed

SUOTIEO TPA

6-OT° 2°21 Butasty

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Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
(wn tat T)
T azetodta Bu 00°006 HLYVNOdavVO WOTHLIT SHA SHA SHA
[UTeTd ‘septzerys)
uot sueqrsedAy Bu o9°2T HCIZVIHLOWOCTHOONMTAH SHA SHA SaA
[squsby
SutAJTpow pTAtTI zsyI0]
soueuequtTew YATeesH 6w 00°000% TIO HSIA SHA SHA SHA
[sastuobequy 10 4decey- ZH]
Nad Mang 4zeoH Bu 90°02 GNIGILONVA SHA SHA SaA
(UTeTd ‘S1OqTqTYUL soy]
wot sueqredéy Bu 00°02 TIMdVIVNE SHA SHA SHA
[(FI
dnozp) queqog ATeqerepow
‘SPTOTS4SOOTIAIOD] HONILNOO 900Z7INITT 9007NOLET
STSseTtzosd % GO°O HoOVNOITdOddId HNOSVLHWOIOTY SHA SHA SHA -MNQ -900ZNOr¥T -900ZGH4ATZ IT / Wid 8109770
[seutdezertyL
puy seutdezexg ‘seutdezetq]
T aejtodta Bu 00°007 ELYYWWOA ANIGVILYAG ON ON ON
[sotadeTtdetquy 29430] 9007HaVO?
T azeTodta Su 00° OST HNIOIYLONZI ON ON ON -900CAYNC?
[wntyatT] 9007THAWOZ
T aeqtodta bw 00°002T HLIVNOddYS WOIHLITI ON SHA ON -900CHWNOT
[STO4TQTYUL sYyeqQdnsey
uTUOIOTSS SATIOaTAasS] 9007AWWLO
T aeqtodta Bu 90°Sz HQIAOTHOOUCAH SANITWALHHS ON Sada ON -9007TAWNTO
[st0aTqTyUl exeqdney
uTUOJOASS BATIDSETES] 9007HHA8Z
T aeptodtgd Bu 9070s HQIYOTHOOUCAH SHNITVWALYYS ON Sada ON -900CdEH4TZ
[uMntyatT] 9007EHA8Z
T aeptodtd Bu 00°006 HLYNOdavO WOIHLITI ON SaA ON -900cdaHA4T
[stoqTqtTyUl eyeqdney
UTUOIOASS SATIOSTSS] 900CHHA0T 900TAYNTC
T aejtodta Bu 00°00T HQIYOTHSOUCAH SANITVALHHS ON SHA ON -900CEH4ST -900CEHAPT dL5S I0 LI097T0H
NOITLYOICNI HS50da [NOLLYOISJISSVIO NOILYOICEN] qa TO dwoldd aLvd dOLs HLYd dos aLvVd dOls LNENLYYaL ddoo
Waal OITHHNAS NOILYOICGHN NANWL NOILVYOICHW -HLVd LAVLS -dLvd LAVLs -aLlvd Lavls Loarans

NOILYOICSN

qeZIWOCNVa ‘THavl Naydo

GTTT JO ZTE abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER1277 1684
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Psst

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
sTatatqoun[u05 [SeATIOSzUTTIAUY 1840) 9OOZNNLLZ 900ZHNWLO
TEATA dozqd 00°T NIOVXOTAOUdIO ON Sada ON -900CNNC Le -900CEHATT dLO IO 61097108
[SSaTIeATAaeq euTdezetpozuag] 900ZDNOVOT
SSeuTTT ae TodtTa bu 0072 WYdHZVHOI SHA ON ON -900z"INrSO
[s6nad
pe .etey eutdezetpozueg] 900ZDNVOT
Nad eTuwosur Bu 00°0T HLVULYVL WHOIdIOZ SHA ON ON -900ZNNPTZ
[sastuobequy
(€ayug) UWtucjoOrAaS] 900cCNNLEZ
But qywoa/esney Bu o0°8 ACIUOTHOOUGAH NOWLHSNVYGNO SHA ON ON  -900ZNO0PTZ
[SeATIeATASd ptoy Aaqeg] 9007TAYN90
T azetodtg Bw 00°00S WNIGOSIWHS ALVONdTIVA ON Sada ON -900CEHA8C
[seatqeatszeq prow Aqje,] 900¢dH4A Lz
T zeqtodtg Su oo*o000T WRIGOSIWHS HLVOWGTIVA ON SHA SHA -9007HHAST
[seutdezertyL
puy seutdezexg ‘seutdezetaq) 900ZdHA0z
T azetodtg Bu 00°00% ELVYWWNA ANIdVILHNS ON ON Sada -900CEHAET
[sbnad
pe qeley eutdezetpozueg] 900ZNOr0z
Nac eTuwosut na HLVaLYVL WHCIdTOZ SHA SHA SHA - 9002NWITZ
[seatqeatszeq prow Aqjeg] 900CEHHAVT
T azeTodta Sw o0°00sT WNICGOSIWHS HLVOUdTVA ON ON SHA -¢NN
[SeATIeATASq ptoy Aqqeg] S9OO0CHYNTT
T zetodtg Bu 00°0S2z WNIGOSIWHS HLYOUdTVYA ON Sada ON -900CAYNLO
[STOATQTYULI
yJozeqse Toyo aseqonpsey eop Sux]
peqereTa Bw 00°0F NILVLSVAWIS SHA SHA SHA
[SATIOSTSS-uUoON
AOWet ‘squeby butyxpooTq eqeq] HANTLINOD 900TTINE TT 9O0O0CNNLET
puey Tersi3eT Ta Su 00°OT TIOIONVAdOud SHA SHA SHA -MNN -900ZNOPPT -900Z7EGH4TZ ITI / W1d 8T097T08
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans
NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GITT FO €TE abe

SUOTIEO TPA

6-OT° 2°21 Butasty

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SSSI

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

[UOTIeUTquoD
UI] SSATIOSJUTTIUY
STatTAtqoun fuoo puy SPTOTEASOOTIIOD] S900ZNNCLZ
TeEATA dozdq 00°T NIOAWNZHdOL ON SaA ON -900CNNC TC
uted yoreq pue [sotade{Ttdetquy] 900Zd4HS90
yooeu AUerANosy Bu 00°00€ NIIVavVOvdd ON DaA ON -9007AdYTO
uted yoeq pue [sotade{Ttdetquy] SOOCUWNTE
soou JUuSetaNosy Bw 00° 0ST NITVavOeHd ON SHA ON -900CAVW67
[wntyatT] 9007dHS90
I azeTodtg Bu 00°006 HLVNOddvo WAIHLIT ON SHA ON - 900CAYW9T
(wntyatT] 900ZAWNST
I aetodta Sw 00°00zT HLVNOddvO WAIHLIT ON SaA ON -900CAYW80
[sot qertAdtaquy
uted yoeq pue puy sotsebrleuy 2280] SO00THYNGZ
yoou querzmnoey Su 00°00LZ NILNHdvdv5 ON SHA ON - 900CAYNITO
[wntyatT] 9007TMYNLO
I azeTodtg Bu 00°006 HLVNOddyS WAIHLIT ON SHA SHA -900cCEHHHO0c
[SseutTdezeryL
puy seutdezexo ‘sautdezetq] 9007GH4ATZ
I azetodta Su 00°00T ELVYWNOA ANIGVILANS ON ON SaA -900CEHHA9T
[s6n2q
pe ,eTea eutdezetpozueg]) 900CHHAST
eTUMWOSUT Bu 00°0OT HLVaLavL WHACIdIOZ ON ON Sada -MNA
[sot qertAdtaquy
uted yoeq pue puy sotsebleuy zeI0] S900TEHASZ
yoou querzinoey wh 00°000€ NILNHdvdv5 ON SHA SHA -900CNYL CZ
(wn tyatT] 900CEHHA6T 900cDNVTLO
I azejtodtg 6w 00°00zT HLIVNOddvo WAIHLIT ON ON SHA -900CEH49T -900CEHACTZ dL 10 61097T0E
NOLLYOICNI asod [NOILYOI4ISSVIO NOILYOICHN]) da TO dorldd aLVd dOLs HLvd dos aLVd dOLS LINEWLVHaL qdoo
Waal OLAHNSD NOLLYOICHWN NEMNVL NOILYOICHWN -HIVd LYVLS -HLVd LAVLS -aLVd Lavis Lodrans

NOILYOICSN

qeZIWOCNVa ‘THavl Naydo

GTTT JO #TE abed

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

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s97xdoy «GPF ET? LOOZHYNZO

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ses’ ooTpew

AST 600TZOZTT/F13/ ndyano /ds/9ZT00°L PPT P/Tenbores/pord/aiso/

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

[suTweqtA JO SUCTIeUTqWOD]) AONT.INOO
SoueuSqUTeW YATePSH 3TIeL OO'T SON SNIWWZLIA ON ON SHA INT ONISSIN 1209770
[seatqeatTszeq prow Aqje,] 900CAVINOT
T zetodtgq Sw o0*000T WOICGOSIWHS ALVONdTVA ON Sada ON - 9007AWN8Z
[seatqeatsieq proy Aqje4] 900TAYNLZ
T zetodtg Bu o0°0SL WOIGOSIWES ALVONdTVA ON Sada ON -900CAWN9Z
[SeATIeATASq ptoy Aqqeg] 900CAVNSZ
T azetodtgq bw oo°000T WOIGOSIWES ALVONdTVA ON Sada ON -9007AWNZZ
[SeATIeATASd ptoy Aaqeg] 900CAYNTZ
T azetodta Bu 00°0SL WOIGOSIWES ALVONdTVA ON SaA SHA -900cdedSc
[seatqeatszeq prow Aqje,]
T azetodta Bu 007005 WOIGOSIWES ALYOUdTVA ON ON SHA
[SeuTdezetyuL
puy soeutdezexg ‘soutdezetq] 900CEHAPS
T aeTodtg Bw 00°05 HLVavVWNA ANIGVILYNO ON ON SEA -9007EHATT
Nad setSzeTTe [S@aTqIeATAeq eUuTzezedT a] 9O00TAWNOZ
Teuoseses Bu 00°0T HQIAOTHIONCGAH ANIZINILYD ON Sada SHA -SOOZAONST
[SseutTdezeryL
puy seutdezexo ‘sautdezetq] 9007Ea49Zz
T azetodta Bw 00°Sh HLVaVWNd ANIGVILANS ON ON SHA -9007THHAST
[SUTWEITA JO SUOCTIeUTqUOD]
SsoueuS UTeW YITeoH gea 00°T SON SNIWVLIA ON SHA SHA
[Sept T Tuy]
Nad eyoepesey snuts Su 00°059 IOWWZLAOVAYd ON SaA SHA
Nad [S®aATIeATAEG PToOw oOFuOTdorg]
uted eTyue qybTY Bu 00°00% NH4AOudnagI ON SHA SHA
[SSATIPATAGG PToOY oOTuoTdorg]
Nad eyorpPey snuts Bu 00° 00% NH4OedndI ON Sada SHA
[wnFoTeD] AONTLNOD 9007HdV9T
SoueUuS UTew YITeSH 6w o00°00S WOISTYO ON SHA SHA -xNO -900ZEHALZ dLO IO 020977108
NOILVOICNI gs0dq [NOILVYOISISSVIO NOILYOICHWN)] da TO Worldd HLYd dOLs HLvd dos aLvV¢d dOLS LINSWLVauL adoo
WHEL OI1WESNHD NOILYOICGEN NHNWL NOILVOICGHN -HL1Vd LYVLS -aLVd LYVLS -alvd Laws Loarans

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LSST

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
[seat eatsed ptow Aqqea] Goozudvvo
woTIeSstTTtqe3s poow bw oo0°o00T WNIdGOS ALVYOUdTVA ON Sada ON -YO0coxea80
[seatqeatszeq prow Aqje,] POOcOACLO
UOTIeSstTTTqeqis poom Hw oo°o00rT WNIGOS ALYOUdTVA ON SaA ON -~oo0coOea ZO
[6utqoy-yaseg
‘sonboT[euy puy SUT [NSUT] VOOCOEAITS
seqeqetd sqtTun 00°2e LYvdsS¥ NITINSNI ON Sada ON -BOOCAONSZ
[S@ATIPATASq ptoy Aqqeg] POO CONATO
worIestTtqeqs poom bw o0°0002 WNIdGOS ALVYOUdTVA ON Sada ON -LVOOCAONY 2
[6utqcy-aseg
’sonboTeuy puy SUT TNSUT] VOOTAONTZ
soqeqetd satun 00°72? Lavdsv¥ NITIONSNI ON Sada SHA -POOCLOOST
[SeATIeATASq ptoy Aqqeg] DOOZAONEZ
wor IestTtqeqis poom bw oo°00rz WONIGOS ALYONdTYA ON Sada Sada -FO0CLOOST
(UTeTd *SAOATQTYUL soy] SOOcNNOST
uoTsueqasdAy Su 00°38 TTIMGOGNTYHd SHA SAA SaA -PO0CLOOTO
[S®aATAePATIEG
eutweTAyTeT Aue]
uot sueqzsedAH Bu 00°08T HATYOTHOONGAH 'TINVGVYHA SHA SHA SHA
[STO TQTYUL
et aseqonpey vod Bug]
weToreqse Toyorzedéy Bu 00°07 NILVLSVAWIS SHA SHA Sada
[septuenbtg]
seqeqetad 5wu 00°*000T NIWHOS LEW SHA SHA SHA
{burrow -s3e ppowte3u]
’sonbo[euy puy SUT [NSUT]
OLLAHLNA
seqeqetd Ssatun 00°9T SOId NYWOH ‘ANVHGOSI NIINSNI SHA SHA SaA
[uot IoONperdg POW _oTan
304 butqatqtyul suotqezedazg]
u; JUSEWIeSty INCH Bw 00°00€ TIONINNdOTIY SHA SHA SEA
[uTredsy *[axy STORTAQTYUL
ButaqAeTo uotqeberBbby eTS3eTa] HONIINOD SOOZAYN9T SOOZTAYNTO
go stxe TAydoita Su 00°00T CIOW OITADITVSTIALHOY SHA SHA SHA -MNN -SOOZAYNZO -POOZAONST TWA / WId TOOTOZO0a
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans
NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GITT FO 9TfF abe

SUOTIEO TPA

6-OT° 2°21 Butasty

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Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

[seaTqeataszseq ptoy Aqqeg]
WAiId0S HLYONdTVA ON ON SaA

[seutdezertyL

puy seutdezexo ‘seutdezetq]
HIVavVWnd ANIGVILYNS ON ON SaA

UO TAISESTTTGeas poow B oo°t

aqvda@ 5w 00°007

[eouspuedeq
ptotdo ul pesn s6n2q] XNA
UOTIOTPpY UTOTSH Bu 00°T HAIXOTHOONCAH SNIHGHONSaYaNd ON ON SHA -yNA ONISSIN ZOOTOZOS
[seatqeatszeq prow Aqje4] SOOCNNCST
woz Iest{TtTqeis poom Sw o00°00zz WOTdCOS HLVONdTVA SHA ON ON -SOOCAYWCO
. [Sept Ttuy] SOOZNALST
SSUDepeoH Boaoe TOWWLHOVad SHA SHA ON -SO0O0cadYTT
[SeaTIeATASq ptow AqWe4]
woz IestTtTqeis poom Sw 00°o0sT WOIdGOS HLVONdTVA SHA SHA ON
[SSaTIeATAEq SsUuTdezetpozueg] SOOTAYNWST
epte butdeets Bu 00°0€ WYdHZVXO SHA SHA ON  -SOOTHaYSO
[SPTOOTAAOOOONTY] SOOCAYNTC
MoqT® (7) UT uted Bu 00°0OT HNOSTILYOD ON SaA ON -SO0O0CAYNY
[SPpTOoTI1OD0aNTS] SOOCHYNEO
MOGTS 4FFOT UT UTed Bu 90°OT HNOSILYOD ON SaA ON -S00cavWCO
[SWEDTXO] SOOCAWNST
U-eTAS Woe ASMo'T Bu 90°02 WYOIXOUId ON SaA ON -SO0O0cHHACO
[6utqoy-qaseg
’senboTeuy puy SUT [NSUT] SOOCNOLST
seqeqetd satun 00°ST LavdsS¥ NIINSNI SaA SHA ON -SO00caHATO
[SeptT Tuy] SOO7TAHAEO
U-eTAS yoeq A9sMo'T 5B 00°F TOWWLAOvVavd ON SaA ON -S00¢cdaH4ATO
[6utqoy-3aseg
‘senboTeuy puy sut[nsul] SOOCHHABT SOO CAYN9OT SOOCAVYAWTO
seqeqetd satun 00°02 LavdsSv¥ NITINSNI ON SHA ON -POOZDECLZ -SOOZAWWZO -POOZAONST TWA / W1d TOOTOZOR
NOLLYOICNI asod [NOILYOI4ISSVIO NOILYOICHN]) da TO dorldd aLVd dOLs HLvd dos aLVd dOLS LINEWLVHaL qdoo

WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs
NOILYWOICSN CeZIWOGNVa ‘THavl Nado

Loarans

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

GTTT JO LTE abed
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Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

[seutdezetyL
puy seutdezexg ‘seutdezetaq] voOozoONdOZ
AqeTxuy Bu 00°SL ELVYWWOA ANIGVILANS ON ON ON -POOcoOeaET
[seutTdezertyuL
puy soeutdezexg ‘soutdezetq] POOcOed80
AQetxXuy Bu 90°Sz BLVAVNNA ANTIGVILANO ON SHA ON -7oocoed80
[SeptT Tuy] VOOZTAONBZ
Sloe pesH 5B o0°2 TOWWLHOvVavd ON ON SHA -TOOCAON8Z
(wntsse od] SOOZNWCTT
e twee TeyodAY Bu 00°009 HOITHOTHOD WNISSYLOd ON SaA Sada -FOOCAONBT
[SseuTdezertyuL
puy seutdezexg ‘seutdezetq] VOOZOHCEO
Jepiostp rzeTodtg Bw 00° 0ST BLVAVNNA ANIGVILANO ON ON SHA -7O0cLO090
[UTeTd ‘septweuoczt{ns] SOOCNYCOTT
uot sueqzsedAH bu os-z HOCINVdVAaNI ON SHA SHA -vOO0cdHSTO
[SATIOS TSS -UON
‘squeby butyoo[Tg eqeqg] POOZONAZS
uoTsueqredAy Bu 00°07 HQATYOTHOOUCAH "IOIONVadOud ON SaA SaA -voocdHsTO
[S@aATIeATAMG pPToy otucotdozg]
SeuTerS TW Bw 00°0SL NHXOWdYN ON SHA SHA
IaepiloOstp AzeTodtq
UOTIESSTTTGe Ss (wn tyatT)
poom 6wu oo°o00T WOIHLII ON SHA SHA
[eso
($804) otueysAg 20g sTeBungtquy]
uotqoezut Tebung Bu 00°00S NIATOIOXSIYD ON Sada Sada
[seseestq Aematy 29Sqo 104
sBniqd 19eUI0/soTbreuerpy] 4HONTLNOS VOOCDEACT
Su ASY ggnd 00°2 HLYNOIdOdd ANOSYOILNTA ON SaA SaA ANA -%00cOea70 dlS IO €00T0Z0e
swoadwAds [squesseizdeptquy 781740] YNOA
eAtsserdeq Bu o0°O00€ HNIXVAVINGA ON ON SHA -YNA ONISSIWN cOOTOZOd
NOLLYOICNI Hs0qd [NOLLVOISISSVIO NOILYOICSN] da TO dorldd aLVd dOLs HLvd dos aLVd dOLS LINEWLVHaL qdoo

WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs
NOILYWOICSN CeZIWOGNVa ‘THavl Nado

Loarans

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

GTTT JO ate abed
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09ST
Gozxdoy GPIET:LOOZTMYNZO SeS*OOTPaM AST 600TZOZTT/313/3ndano /ds/9ZT00°L PP IP/Tenborzes /pord/aiso/
[st0atTqtTyUl eyeqdney
UTUOJOASS SATIOSTASas] SOOZLOOLZ
epostde eatsseizdeqd Bu 00°02 HLVIVXO WYAdOTVLIOSH ON ON SHA -GOO07CLOOES
[SSATICATIAaq sUuTdezetpozueg] 900ZNYPOT
Aqetxuy 0 WYddzZvId ON Sada Sada -S00ZLOOTO
(un tyatT] SOOZAONOT
Zepiostp azetodtgq Sw 00°0SzT HLVNOGavO WNIHLIT ON Sada SaA -GOO0CdHSOE
[seutdezertyL
puy seutdezexo ‘seutdezetq] SOOZAON9O
Jepiostp rzetodtg Su 00°00€ HLVaWWNA ANIGVILENS ON Sada ON -GOOZAON90
[seutTdezeryL
puy seutdezexg ‘seutdezetq] SOOZLOOTE
Zeprzostp azeptodtg Bw 00°009 HLVYWWNA ANIGVILHYNS ON ON SaA -GO00TLOO6Z
[seutdezertyL
puy seutdezexg ‘seutdezetq] SOO0?LOO8Z
tepiostp azertodta Bu 00°00% ELVYWWNA ANIdVILHNS ON ON Sada -GO0O0ZLOOT 2
[seutdezertyuy
puy seutdezexg ‘soutdezetq] SOOZAONEO
Jepiostp zeyTodtg Bu 00° 00€ HLVaVWNA ANIGVILYNS ON SaA ON -SO0O0ZAONZO
[Sszsonpozg 4% TN] SOO0ZLOO8Z
uot jedtqsuop 0 WLIVAO OOVINYId ON ON SHA -GO0O07LOOSZ
[seuowz0H ptorzdAyg] HONTLNOD 9007CEdHHEO
ustptorAyqodAy 6n 00°00T WNIGOS YNIXOWYAHLOAYT ON Sada Sada -¢NN -GOO0CLSOTE dLO IO voOOTOzOR
[uteTd ‘sazoqtqTyur soy] SOOc¢NYEOTT
wot sus qzedAH Bu 0072 TIUdOGNINYd ON ON ON -pO0coOeAdTC
[sot qoyoAsdrtquy] SOOTNWETT vOOTONAZT
Jaepiostp rzeTodta Su 00°OT HIOZVadIdI4yy ON ON ON -POOCONATZ - PO02ONdPrO di5S IO £00T070N
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GTTT JO 6TE abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771691
Case 6:06-md-01769-ACC-DAB Document 1363-3 Filed 03/12/09 Page 50 of 90 PagelD 85726

s97xdoy «GPF ET? LOOZHYNZO

19ST

ses’ ooTpew

AST 600TZOZTI/FT3/andano /ds/97T00°L FFT P/Tenborzes /pord/aiso/

[uMntyatT] yOOTONWST
Zepiostp azetodtgq Sw 00°0SzT WOIHLIT ON Sada ON “Looe Inrgst
[wntyatT] POOTINIST
Zepiostp azetodtq Sw 00°000T WOIHLIT ON SaA ON -POOCTNNCTZ
[wntyatT] POOZNNLOZ
Jeprzostp azertodtg Bu 00°0SL WOTHLIT ON Sax ON -POOCNNLOZ
[wntyatT] PVOOZNALET
Jepiostp zertodtg 6u 00°005 WOIHLIT ON Sada ON -POOCNNC6T
(wntyatT] POOZNnrst
Iepiostp azetodtg Bw 00°0S2z WOIHLIT ON Sada ON -ZOOCNNLST
[SseuTdezertyuL
puy seutdezexg ‘seutdezetq] VOOCNNLLT
Jeprzostp azertodtg Su 00°00z ELVYWWOA ANIGVILENO ON ON SaA -POOCNNAPST
[seutdezetyL
puy seutdezexo ‘seutdezeta) POOCNNL PT
Teprostp azejodtq@ wu o0°00T ELVEVWOd HNIGVILANS ON ON SEA -%OOZNNLET
[seutdezertyL
puy seutdezexo ‘seutdezetq] POOCNNI'TZT
Jepizostp azertodta Bu 0070s HLVaWWOA ANIGVILENS ON ON SHA -POOCNNL ZT
[Seat IeatTszeq sutTdezetpozuseg] yOOoT IN’? SOOCHdYFT SOOCHWNEO
Iepiostp rejTodtg Bu oo's WYdHZvVId ON SaA Sada -YOOCHWWIO -SOOZHYNYO -7OOZNOTST IT / WId T00z0z0a
[wntyatT] 9007TMYNSO
Jepiostp azejtodtq Bw oo SzZtt HLIVNOddvO WOIHLIT ON Sada ON -GOOCAONTT
[SeaTqexeT
butaoy ATTeotqowso] SOOZAONZT
uot edtqsuoD 0 HSOTNLOVI ON Sada ON -SO0O0ZAON8O
[SUTTT FOTUad
que sTsey Ssseweqoey-e eq] SOOCTAONCT 9007THHAEO
asho ujtorip 5 o0°T WNIGOS NITITOVXOTIONIA ON Sax ON -GOOZLOOTE -GOOZISOTE dLO IO vOOTOZOR
NOT LYWO TANI gs0dq [NOILVOISISSVIO NOILYOICIN]) ca TO dwoldd aLvd dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans
NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GTTT JO OzZE abed

SUOTIEO TPA

6-OT' 2°27 Sutasty

CONFIDENTIAL
AZSER12771692
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COST
Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
[st0qTqTYyUl exeqdney
UTUOIOASS SATIDSTSS] soocnnrgd
tepiostp azejtodtg Bu 00°02 HLIVIVXO WYaUdOTIVLIOSH ON SaA ON -SOOcNNPES?
[StoaTqTYyUL eYyeqQdnsey
UTUOJOASS SATIOSETEsS] soocnnrez
Jepiostp zeTtodta Bu 90°OT HIVIVXO WYAdOTVLIOSH ON SHA ON -SOOCNNPST
[seutdezetyL
puy seutdezexo ‘sautdazetq] SOOZAYNPT
Zepiostp zejtodtg Su 00°008 ELVYWWOA ANIGVILHNG ON ON SaA -SOOCAYWTT
[seutdezertyL
puy seutdezexo ‘seutdezetq] SOOZTAYN60
Jepiostp zetodtg Su 00°008 BLVYWWOA ANIGWILHNG ON ON SHA -SO0O0cAYWTO
[sdwop wntssuBbeW ‘wnTtoTeD
‘umtutunTy sexe Tdwop /quop] SOOTUWNTT
uotaseBTpur Tu 00°02 HLVOITISIAL WNISHNOVW ON ON SaA -SO0O0CHHAIT
[SeaTIeATAeq suTdezetpozueg] SOOcHYNG6O
Jeprzostp azertodtg n°’ A WYd4ZVId ON ON SHA -SOO07dHA9IT
[sastucbequy
tordedarz0uezpy- eydty] SOOZHYNOE
uotsuejea AreuTan Bu 00°007 HQTYOTHOOUGAH NISOTINSWZL ON SaA SaA -S00cdaHASC
[SeaTqeATIeq suTdezetpozuag] SOOTUWNWAT
tepiostp zejtodtg Bu 00°07 WYdHZVWHL ON SaA SaA -SO0O0CHHALT
[seat jeatszeq ptow Aqqed] soozInrso SOOZNNLEZ
Jeprostp azetodta 6wu oo 0008 WOIdGOS HLVOudIvVA ON SaA SHA -SOO0CHHAST -SOOCHYANST dLS 10 Z00Z07048
[seutTdezertyuL
puy seutdezexg ‘soutdezetq] SOOZAYNPT
Jeprzostp azertodtg 5u 00°OT HNIdYZNVIO ON ON ON -SOOozcedvo7~
(wntyat Tt) SOOCAYWYT SOOcadV7T SOOCAYNEO
Zepiostp zeTodtq Sw oo0°o00T WOIHLII SHA SHA ON -POOZDNY9T -SOOZUYNPO -POOZNMLST IT / W1d T00z0z0a
NOLLYOICNI asod [NOILYOI4ISSVIO NOILYOICHN]) da TO dorldd aLVd dOLs HLvd dos aLVd dOLS LINEWLVHaL qdoo
Waal OLAHNSD NOLLYOICHWN NEMNVL NOILYOICHWN -HIVd LYVLS -HLVd LAVLS -aLVd Lavis Lodrans
NOLLIVOICHN CHZIWOGNVa ‘THAVI Nado

GTIT JO Tze abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771693
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e9S1

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

[seucwZ0H PTorAyL] SOOcLO06c
wstptordyjodAH = &n 00° 00T BANIXOWAHLOATT ON SHA SHA -SOOTHAYET
[seutdezertyL
puy seutdezexo ‘seutdezetq] SOO7THAVTT
Jeprzostp azertodtgd Bu 00°00T HNIGVILHNS ON ON SaA -SOOcadveT
(wntyatT] SOOZHAVTT
Iepiostp J azetodtg Bu 00°00S WOITHLI'TI ON ON Sada -SOO07cHdYvO
[squessaideptquy 7ayI0] GOOZTAYNBZ
epostde eatsseideq Bu 00°00€ AQCTAOTHOONCAH ANIXVAVINGA ON SaA Sada -SOOcHWNCC
[ssucowz0H ptorAyy] SOOCHdAVTT SO0cdHS62
us tptortAyqodAH 6n 00°05 ANIXOAWAHLOARI ON ON SaA -27INO -GOO07THdYTTS dLO IO €00207208
(wntyatT] SOOzINrEe?
Iepiostp azetodtg Bu 00°006 EIVNOGavYO WOIHLIT ON ON ON -SOO7cINCST
[Sz0ITqTyUI ayeqdney
UTUOJOASS SaTIOSTAEsg] soocinarst
Jepiostp zeyTodtg Bw 00°02 GLVIVXO WYHdOTVLIOSH ON ON ON -SO00cTOPST
[S@ptT Tuy] soozinret
Soe pesH n° oO TONWLHOVavd ON ON ON -SOOcINcot
[SZ0OITqTYyUT ayeqdney
UTUOJOASS SaTISETAag] soozlnarry
Zepiostp azetodtg Bw 00°09 GIVIVXO WVAdO1IVLIOSH ON ON ON -soocIncreo
[S20ITqTYUT aseqdneay
UTUOIOASS BSATIVESTIS] soociInrzo
Iepiostp rzetodtg Bu 00°0F GIVIVXO WVHdO1IVLIOSH ON ON ON -SOOCNAL8Z
[seutTdezertyuL
puy seutdezexg ‘soutdezetq] soozinres
Jepiostp zeyTodtg Bu 00°008 HLVaVWNA ANIGVILYNS ON ON ON -SOOCNND YTS
[Seatqeatseq eutdezetpozusg] soocInrec SOOCcNNLET
Jepiostp rzeTodta Bu 00°2 WYdHZVaLINNAITI ON SHA ON -SOOCNNALETS -GOOCAWWST dL5S 10 Z00Z0704
NOIIVOIGNI gs0dq [NOILVYOISISSVIO NOILYOICHWN)] da TO dwoldd aLvd dOLs aivd dos aLV¥0 dOLs LNAWLVaaL qdadod
WaatL OTHHNHD NOILYOICGSW NAMVL NOIDVOICHN -SIVd LAVLS -HLVd Lavis -aLlvVd Davis Loadrans
NOTIVOIGHN dxZIWOGNVS THadvl Nado

GTTT JO zZze abed

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

CONFIDENTIAL
AZSER12771694
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s97xdoy «GPF ET? LOOZHYNZO

vOST

ses’ ooTpew

AST 600TZOZTT/F13/ ndyano /ds/9ZT00°L PPT P/Tenbores/pord/aiso/

[SseuTdezertyuL
puy seutdezexg ‘seutdezetq] SoOcNNrez
Jeprzostp azertodtg Su 00°009 ENIGVILHNO ON ON SaA -SOOCNNP9T
(UTeUD-Sspts oTIeYyIT Ty
UATIM SSUTZeTYQOUSY_] SOOocINCEZ
Zepiostp azetodtg Bw 00°S2T ANIZVWOUdHOTHD ON Sada SaA -SOOCNNCeod
[seatqeatszeq prow Aqje,] SOO0¢dHS2T
Zepiostp azetodtgq Sw 00°00ST QIOVW OIOUdTVA ON SaA SaA -SOOTAWNIEZ
[Seat zeatseq sutdezetpozueg] HANTLINOD SO0cLOOEO
Tepiostp rzelodta Bu o0°T WWdHZ¥NOTO ON SHA SHA -INA -SOOZNNEZ a0 IO vO0zZ0z0e
[squesserzdeptauy 780] SOOcLO06c
Zepiostp azetodtg Bw 00°0S7T ANTIXVAVINGA ON Sada ON -gooc Inryto
STatrzeTostde [Seoueqsqng oTASseTSscosty] SoozNnrsz
Ter040es aubta sdoip 00°% HSOTISWOUdAH ON Sada ON -SOOCNNCOT
STatzeTostde (UTeTEe ‘Sptoreqsooty109] SOOcNNC9T
Teroj0es qySty sdozp 00's GLVLEOV ANOIOHLYWOYONTA ON SaA ON -SOOcNOLOT
[squesseizdeptquy 7°70] SOOcNNrOE
Jepizostp azertodta Bu 00°SLE HNIXVAVINGA ON SaxA ON -GOOCAYVING 2
[SseutTdezeryL
puy seutdezexo ‘sautdezetq] SOOZHAYTZ
Zepiostp azetodtg Bw 00°002 HLVYWWNA ANIGVILHYNS ON ON SaA -GOOTAdYT 2
[seutdezertyL
puy seutdezexg ‘seutdezetq] Soozdadwoz
Iepiostp rzetodtg Bw 00°0ST ELVaWWNA ANIdVILANS ON ON Sada -GOOCHdY8T
[seutTdezertyuL
puy seutdezexg ‘soutdezetq] SOOZUdYLT
Jepiostp zeyTodtg Bu 00° SZT HLVaVWNA ANIGVILYNS ON ON SEA -SOOCAdYST
(wn tyatT) SO07.LOO6 2 SOO0TdHS6C
Iepiostp J zetodtg Bu 00°0SL WOIHLIT ON Sax SHA -GOO0CHdYZT -GOO0ZCHdYZZ di5S IO £00Z207048
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GTTT JO €Ze abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771695
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g9ST

Gozxdoy «SPT ETLOOZTUWWIZO §=6ses*OOTpeW

AST 600TZOZTT/F13/ ndyano /ds/9ZT00°L PPT P/Tenbores/pord/aiso/

(wntyatT] 9007HdVSZ
Zepiostp azertodta Bw 00°0SL WOIHLIT ON Sada ON -G00Z2LD060
[SSATIPATASC suTdezetpozuedg] 9007THdvSz
Zeprzostp azertodtg Bw 00°T WVYIOZVadTY ON Sada ON -gd0cONW92
[wntyatT] G00Z.LO080
Zeprzostp aetodt@ 6wu o0°000T WOIHLIT ON SaA SaA -SOOT INET
[S®aATIeATAEGq SsUTdezeTpozuEg] 900THAYSZ
Jepiostp rzeTodtg Su 00°OT WYddZVNAL ON Sax SaA -soozcinrso
[seutdezetyL
puy seutdezexo ‘seutdezeta] SOOZONYTT
Zeprzostp azertodtg Bw 00°00T HLVYWWAA ANIGVILENS ON ON SaA -SOOcNNré6o0
(peonput [seutToAoez4e8L]
wntyatyT) suoy Bw 00°00T HCTYOTHOOUCAH ANTTIOADONIWN ON SaA SaA
[seuowz0H PTOrAYL] HANTINOD 900 CAYN9Z
prorzdAyqodéy 6n 00°00T WNIGOS ANIXOWAHLOAGTI ON Sada SaA ->INN -So0conweT dlS IO G00z0z0a
[sotade{tdetquy 28740] SOOZTAONZO
Zepiostp rzetodtg Bu 00°00T HNISIYLOWZI ON SaxA ON -GOO0cONTSe
[squesserzdeptquy 7820] SOOZAONZO
Iapiostp zejtodtg Bu 00°0S?r UNTIXVAVINGA ON Sada ON -GOO0CONYET
[sotideTtdetquy zey.0] soozonwyz
Zeprzostp azertodtg Bu 00°S4 ANIOIYLONZI ON Sada ON -GO00CONYET
[squesseizdeptquy 721740] SOOoZconNYsT
Zeprzostp azertodtg Bw 00°Szz HNIXVAVINHA ON Sada ON -godocInr’t2
[sotade{tdetquy 728740] sooconvst
Iepiostp szejTodtg Bu 90°05 HNIOIYLONVI ON SHA ON -soocTnrer
[squessezdeptquy 751730] soocinroc SO00ZLOOEO
Jaepiostp rzeTodta Bu 00°OST HNIXVAVINGA ON Sax ON -GOOCINCET -SOOCNNLES dL 10 700zZ0Z208
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdoo
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans

NOILYOICSN

qeZIWOCNVa ‘THavl Naydo

GITT JO ¥Ze abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771696
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99ST
Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
[S®aATIwATASG sUTdEzeTpozuEg]
Zepiostp zeTodta Bu 9072 WYaHZVaOI ON on ON
[seoueqsqns
peqel[ey puy sutzodsoTeydsap] 9007dHS82
asd peqoezur 6w 00°000T NIXH1TVAHYO ON ON ON -9007DNVOE
[sesuowz0H pTorzAyL]) HONILNOOS 9007ZONV6 2
ws TptorAy odAyH Bu 90°0z WOICOS ANIXOWAHLOAYT ON SHA SHA -yNA -900CHYVWTO dLS IO 40020704
(un tyatT] soozonw6ez
Zepiostp zejTodtq Sw oo0°oset WOIHLIT ON Sada ON -Sd0caNnv9Ic
[seutdezertyL
puy seutdezexo ‘seutdezetq] SOOZONVIT
Jepiostp zetodtg Bu 00°008 ELYVYWWOA ANIGVILYNS ON ON SHA -SOOcoNnTOT
(wntyatT] SOOZzDNVOT
tepiostp zetodtg Bu 00°0GL WOIHLIT ON ON SHA -sooconyco
(wunty at] soocony—to
Zepiostp zejtodtg Bu 00°005 WOIHLIT ON ON SHA -soociInr6ed
[wntyatT] soozinrez
tepiostp zejtodtg Bu 00°04 WOIHLIT ON ON SHA -soocimnest
[seutdezertyL
puy seutdezexg ‘seutdezetq] sooconv6o
Iapiostp zeqodtg Bu 00°004 BLVYWWOd ANIGVILYNS oN ON SHA -SOOCAWNIO
[uMntyatT] soozonwsz
Zepiostp zeqTodtq Sw oo0°o00T WOIHLIT ON SaA SHA -SOO0cONTTT
[seutdezertyL
puy seutdezexg ‘seutdezetq] SOOcONYLT soozconvoe
Iepiostp szejTodtg Bu 00°00z2 BLVYWWOA ANIGVILENG ON SHA ON -SOOcoNYTLT -SO0CSNYVLT dl 10 90907Z070a
[sqonporzg AqtTseqoTquy
Butqoy ATTezeydt1e4] 900THdWSzZ 900TMYNIZ
utTeB5 ayBTom Bu 00°02T LIYVLISTTHO ON SHA ON -SOO0cOHd9T -SoO0cdaNnYZeT dL5S 10 S00Z0Z04
NOITLYOICNI asod [NOLLYOISJISSVIO NOILYOICEN] da TO dorldd aLvd dOLs HLYd dos aLvVd dOls LNENLYYaL ddoo
Waal OITHHNAS NOILYOICGHN NANWL NOILVYOICHW -HLVd LAVLS -dLvd LAVLs -aLlvd Lavls Loarans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GTTT JO Gze abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771697
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LOST

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

[S®aATIwATASG sUTdEzeTpozuEg] S00TUWNSZ
Zepiostp zejtodtg N°’ ON WYdazvVId ON Sada SaA -900cCdHHAEO
[seweug]
uotjedtq4suopD =sTmW OO EET VISVHONOW HLVHASOHd WNIdGOS ON SaA ON
[SPTOTENTY wntdo Tern jen] S00CAYWITE
TeuTMmopge uted N°’ ON GNIHGHON ON Sada ON -900CHWN62
Auo joredet
qasod quseweseTdez [suotyntos sqAjTor4oeTgT] 9O007THAYLO
aqAjTor4oOeTH Tou 00°0z HQC1IYOTHD WNISSYLOd ON ON ON -900cCHdTTO
[SUOT4NTOS ButqebtazaAT TOUT
Auoyorede, 10; squeby Butqan{td/squeatos] S00ZMYN6Z
uotqzerzedesd [Temog N’ N SNOACAHNY ALVAINS WOIGOS ON SaA ON -9007TAWN6 2
(wn tyat I] HONTINOS 900TAWNEC
Iepiostp szeTodtg Bu 00°006 WOIHLIIT ON SHA SHA -yNA -900CHVW90 dLS IO 80020704
UOT AOSFUT [SepTwesoouty] 900cNNr6z
Azebans - 480g Bu 00°009 NIOAWYONITIO ON Sada ON -900cCNNI ce
stxeTAydord
ae6ans [SeptwesooutT] 9007TNNrZZ
- qsod pue a1d Bu 00°0S7 NIOSOAWYONITIDS ON SHA ON -900cNNLr60
[S®ATIVATA9G sUTdEzeTpozuSEg] 900zcINroe
Iapiostp zeqodtg Bu 00°2 Wwdazvaol ON Sada ON -9007HdYL~2
[SeATIeATASd ptoy Aaqeg] 900cTINCOE
Zepiostp zejTodtq Sw oo°000z WNIdGOS HLYONdIVA ON SaA SHA -900c¢CdaHA9T
[SeaTqeATIeq suTdezetpozuag] S9O0TAWNTZ
Zepiostp zejtodtg Bu 90°02 WYdaZVId ON Sada SHA -SOOcdaHAOT
[SeaTqeaAtszeq ptow Aqqeg]
Jepizostp azejtodtg bw 00°0002 WhIdOS HLYONdTIVA ON ON ON
[seutdezertyL
puy seutdezexg ‘seutdezetq] 900CdHS8C 9007TONVEC
Iepiostp szejTodtg Bw 00° 00T ELVaVWOdA ANIGVILENO ON ON ON -900ZDNWOEe -900CHWWTO dL5S 10 L00Z0Z04
NOITLYOICNI asod [NOLLYOISJISSVIO NOILYOICEN] qa TO dwoldd aLvd dOLs HLYd dos aLvVd dOls LNENLYYaL ddoo
Waal OITHHNAS NOILYOICGHN NANWL NOILVYOICHW -HLVd LAVLS -dLvd LAVLs -aLlvd Lavls Loarans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

GTTT JO 9zZ€ abed

CONFIDENTIAL
AZSER12771698
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89S1

Gozxdoy «SPT ETLOOZTUWWIZO §=6ses*OOTpeW

AST 600TZOZTT/F13/ ndyano /ds/9ZT00°L PPT P/Tenbores/pord/aiso/

[sotqoyoAsdt  quy] 9007HdvS0
tepiostp azejtodtg Bu 90°s HIOZvVadIdlyy ON ON ON -900cadYTO
[seoueqasgqns
peqelrea puy sutzodsoTeydap] 900caddTE0
STITUOFIT 19g 5B aoe NITOZW4HO ON ON ON -900cCAdVTO
Awo oredet
qasod quseuscetTdat [SuoTIANTOS sa jora09 Ta] 9007HdYLO
eqAjToroOSeTA Tom 00°0e SUOTINTOS SqATOAAOeTH ON ON ON -900CHAWNTE
Auo joredet
qasod quseweoeTdez [suotyntos sqAjTor4oeTgT] SOOTAWWTLE
eaqATOAIDeETH Tow 00°0z HLIVAINS WOISHNOVN ON ON ON -900CHWNTE
[SepTtT tu] 900cadv90
uted stxeTAydorg N’ON TOWWLHOVaYd ON ON ON -900CAYWOE
[septsooATboutwy 7820] 9007HdVE0
STATUORTAed Bu o0°OzE NIOIWNZLNYD ON ON ON -900cCHYWOe
[Stoq4tTqtyur dumg uojo7g]
ST4ATue A TA+ed Bu 90°07 WNICOS HIOZVWAdOLNvyd ON ON ON
(wnaqoeds
pepusyxy UATIM SUTTTTOTUEd]) 900cedTcO
STITUOIT Ted 5 oot NITIIOIXOWY ON ON ON -9007AWNOE
[sptotdo 28410]
uted Teutwopqy N’ ON TIOCYNWWAL ON ON ON
[seaTtqexeyT
Butqoy AT Teotjowso] 900CAYWO’
uot edt ysuop N°’ N TIODOYOTN ON ON ON -900CAYWOE
[SSATISXeT
Butqoy ATTeotjowso] 900ZUdYTO
uot jedtqsuop STW 00°09 HSOINLOVI ON SHA ON - 9007AWNEZ
[seatstndozg] 900TAVWOe S00CAVNEC
eosnen N° N dOTHOTHSOACAH HOIWVAdOISOLYN ON SHA ON -900CAYN6 C2 -900CAYN90 dLlO 10 80070208
NOLLYOICNI asod [NOILYOI4ISSVIO NOILYOICHN]) da TO dorldd aLVd dOLs HLvd dos aLVd dOLS LINEWLVHaL ddoo
Waal OLAHNSD NOLLYOICHWN NEMNVL NOILYOICHWN -HIVd LYVLS -HLVd LAVLS -aLVd Lavis Lodrans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GTTT JO LZe abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771699
Case 6:06-md-01769-ACC-DAB Document 1363-3 Filed 03/12/09 Page 58 of 90 PageID 85734

69ST

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
[Seat eATAzseq sutTdezetpozueg] HONTINOS 900CINIST
Iepiostp szeTodtg n° nA W¥ddZVId ON SHA SHA -YNA -900CAVN60 dLO IO 60070208
[sotqoyoAsdtquy 7e7I0)] HONILNOD
Zepiostp zejtodtg Bu 00°7 HNOCIaYs#dSTad ON ON ON -900CAYW9C
[sotqoyoAsdtquy 781740] S900ZAYNGZ
tepiostp zejodtg Bu 90°2 HNOGIAHHdSTa ON ON ON -900CTAYWTT
[TOATATUUI Sseseweqoey-eqeg
TOU SUTT[TAOTUsSd JO sqwoD] 900cHd¥90
STATuejTted N°’ ON NITIIOIXOWNY ON ON ON -900cCAdY7O
[seoueqsgns peqeTey puy
SOATIPATI9G PTOY OTIe0V] 900CHdYVO
STITUOFIT 19g Bw 00° 0ST OVNHAOTISTA ON ON ON -900cCAd VO
[sz0aTgTyul dumg uojoz4g] 900zaav90
STITueqTtzed Bu o0°0r HIOZVadHNO ON ON ON -900cadYEO
uotyerzedo [S®ATIVATA9G sUTdEzeTpozuSEg]
qsod uot epes Bu 90°OT WYdHZVWHL ON ON ON
[SSATIPATISQ STOZeEpTwt]
STITueqTtzed 5B agt HIVOZNHd HIOZVCINOALYWN ON ON ON
[SSATIPATASQ STOZepTwuT] 900cedYeO
STITue Tied 5 oot HIOZVGCINOULAN ON ON ON -9007HdWEO
uot qedtq4suos [Stepz0stqd Temog
UAIM peqetoosse Teuotyoung 1z04 sbhnadqd z8yI0]
SsoueTNzonTA Su 00°00z HNOOILAWIS ON ON ON
stxe TAydoad (untsse jog]
etma TeyodAy NON HOTAOTHOD WNISSVLOd ON ON ON
[sastuobequy
(¢ayug) UTucjOrAaS] 9007HdYz0
eosneNn N’ON NOULASNYGINO ON ON ON -900ced¥20
Auo oredet-qsod
Ory [dnozp utzedey] 900cTAdY90 S00CAVNEC
stxe TAydord N’ ON NIdvVddH ON ON ON -900cCaAdYTO -900CAYN90 dLlO 10 80070208
NOLLYOICNI asod [NOILYOI4ISSVIO NOILYOICHN]) da TO dorldd aLVd dOLs HLvd dos aLVd dOLS LINEWLVHaL qdoo
Waal OLAHNSD NOLLYOICHWN NEMNVL NOILYOICHWN -HIVd LYVLS -HLVd LAVLS -aLVd Lavis Lodrans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GTTT JO aze abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771700
Case 6:06-md-01769-ACC-DAB Document 1363-3 Filed 03/12/09 Page 59 of 90 PagelID 85735

OLST

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
[SepTtT Tuy]
uted oTweeyost 5B oo°y TIOWZLAOVavd ON Sada SaA
[septuenbtg]
seqeqetq Su 00°000T HdIYOTHOONCAH NIWYOALEYN ON SHA SHA
uted [S@Qe24qTN oTuUebz0]
otueeyosy /eutbuy Bu 00°009 HLIVaALINIAL TAWHOATID ON Saaz SHA
[S®ATIPATIOG
earn ‘septweuos ns]
seqjeqetad Bu 00°07 HqIZVIOIID ON Sada SHA
[utzedeyH “OXY szOVTQTYyUL
but qqoTo uot leberbby .ejTeqeTd) HONTLNOD yoozoanw6o
poo Tq/stxe TAydoud Su 00°00T (IOV OLIAOLITIVSIALHOY ON Sada SaA INA -YOOCNNL9T dLO IO TOOEOTOR
[SPTOTPXTY wntdo Teaznqen]
uted Asupty n°’ a NIOWZLAOVevd ON SHA ON
[SptoTextTw untdo TeanjeN] 900TINLLT
uted Asupty n° a ANIHAHOW ON Sada ON -900C INP YT
[eso otweqsds
Jog SsuTweaASTYUTIUY 7eY20] 900cCONTIT
yser uTyS Bu 00° OT ANIGVLVUOI ON SHA ON  -900ZAWW6T
[st10qTqTYyUl eyeqdney
UTUOIOASS SATIOSTSS] 9007TONTVT
Jepiostp zeTtodta Bu 00°00T HQIYOTHDOUGAH HANITVALHHS ON SHA ON -900CAWNCT
(wn tyatT] 900cTOrst
Iapiostp azeqtodtgq 5m 00°oSEt WOIHLIT ON Sada SHA -900c¢dH490
[StoaTqTYyUL eYyeqQdnsey
UTUOIOISH SATIOSTSS] S00CAYWNTT
Tepsostp szeTodtg 6u 00° 002 HQTAOTHOOUCAH HNITIVHLHHS ON Sada SHA -900cCdHHH90
[s6n2d
peqetey sutdezetpozueg]
eTUWwOSsUr n°’ a WHOIdI0OgZ ON SaA SHA
[SeatTsTndorg]
PSsneNn O° O ACTYOTHSOYCAH HYCIWNWHdOIDOLAWN ON Sada SHA
[SPpTOTexTy wntdo TeznieN] AONILNOO 9007INIST
SeuoepeoH n° na Na4dOddndI ON SHA SHA -YNOA -900CHWW60 dL5S 10 60020204
NOITLYOICNI asod [NOLLYOISJISSVIO NOILYOICEN] qa TO dwoldd aLvd dOLs HLYd dos aLvVd dOls LNENLYYaL ddoo
Waal OITHHNAS NOILYOICGHN NANWL NOILVYOICHW -HLVd LAVLS -dLvd LAVLs -aLlvd Lavls Loarans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GTTT JO 6ZE abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771701
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IZST

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

[SSATIeXeT AOeIUOD) S900CAYWOE
wot qedtqysucp n° HLVATINSOOId WNIGOS SaA ON ON -900CAWNOE
[SeptTtuy]
SeuTETSTN n° TOWWLHOVaVd SHA SaA SaA
[wn ty3t'T]
Zeprostp T azetodtq 6w oo*o000T WOIHLIT SHA SaA SaA
[suotTqyerzederg
TeotboToqewzeq 7eS1yI0]
suoT a HANTLINOD 9007TONYTET VOOZTAONTT
Nad STSeTtzosd O°  erederg TeotTboToJeurzeq TeyIO SHA SHA SHA -MNQ -POOZAONZT -yOOZNOrST IT / dLB z00e070u
[wNtyatT] FONILNOD
Zeprostp J azetodtg 6w oo0°o00ST WOIHLIT ON ON ON -ZOOTOHATO
[seutdezetyL
puy seutdezexg ‘seutdezetaq]
suojduds ot joyoAsg Bu 00°ST ANIGVZNVIO ON ON ON
[SSaTIeATAEq suTdezetpozueg] ANNILNOO
AqetTxXuy Bu o0°ST WYddZvVId ON ON ON -PO0cdHS80
Aouetotyep [SSATICATIEQ PUY PTOY OTTO]
ptoe ottog 5&n oo0°o000T qaIO¥v OITIOd ON Sada ON
[PAT IOSETSES
‘squeby BbuTyootTa eed] vOOzdeSss0
uotTsueqasddAH Bu 00°Sz TIOIONHLY ON Sada ON -PooeNnred
[seutdezertyL
puy seutdezexo ‘seutdezetq] POOTNNL9T
Zeprostp I azetodtad Bu 00°00z2 HLVaWWNA ANIGVILENS ON ON SHA -POOCAYNZ
(Wnty aty] VOOCAONOE
Iapiostp zeqtodtq 6wu 00°000T HLYNOGaYO WNIHLIT ON Sada Sada -POOCAYNOT
[STOATQTYULI
asejonpey eoD uy] VOOcdHS80
JToreqseToyo YSTH Bu 00°02 WNIGOS NILVLSVAVYd ON SHA SaA -YOOcddYe7e
qesdn [szoqtqtyur dung uo 014] VOOCTNNLET yOOTONWEO
TeUTISSIUT OTQSeD Bu 00°0z HIOZVAdHNO ON SHA SHA -POOCEHA6T -POOCNNL9T dL5S 10 TOOf070e
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

GTTT JO Of€ Sbed

CONFIDENTIAL
AZSER12771702
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cLSI

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

[seataeataszseq ptow Aj eg] VOOCLOOET SOOCNYE'SC SOOcNYC90
Iepiostp T zeTodtg 5 00°2 WONIdGOS HLVONdTYA ON Sax SaA -pooznnrez -soozNvrLo -voozIneL2 TWA / WId vOOEOZON

[seutTdezertyuL

puy soeutdezexg ‘soutdezetq] POOCNNL6S

Jepiostp rzeTodtg Su 00°00z ELVYWWOA ANIGVILANO ON ON SaA -POOCNNL9T

(wn tyat Ty) HANTLINOD yoociInrgo
Taprostd T zeTodtq@ bw 90°00sT HIVNOGYZO WNOIHLIT ON Sada SHA -¢NN -POOCNNLES dLO IO €00€07208

[geoueqsqns

peietea puy sutzodsoTeydap] 9007 INr’so

Zebuty peqoeyur 5 00°2 WNIGOS YNOXVIALAHD SHA ON ON -900c INE TO
[SSATISEXeT

Butqoy ATT eotjowso] 9007d4eSzz

uot aedtasuop Tw 00°Sz HSOTNLOVI SAHA ON ON - GOOTAONTT

[szeonpozg y%TNg] 900CHYWOe

wot edt qsuoD n°’ a VWIVAO ODVINYTd SHA ON ON -SOOCHWNIOE
[sotTbasut Tout quy]

eussAyduy Bn 00°8T WOIGOMLOIL SHR ON ON

[sastuoby
to ydesa10uerpy- Z-e18g

BATIOaTAas] 9007dHS7Z

ewesAyduyq Sn 00°007 TIONWLNEATYS SaA ON ON -ZOOcTOeAEO

[UTeTd ‘sqastucbequy
TI utsueqotbuy]

uotTsueqrsedaéy Bu 00°07 NVLUVSIWIEL SHA SHA ON
(uTzTedeH * [OXY SrOQTGQTYUL
uotieberbby 4eTeIeTd] 9007dES7z
stxeTAydorad 30TD = Bw-:«O00 00T GIOV OIIAOIIVSIALHOY SHA SHA ON -POOZONYI0
[seutdezertyL
puy seutdezexg ‘seutdezeta] VOOTNA8T 900ZDNYEZ PVOOTAONTT
Zeprostp T azeTodtq Sw 00°00z RLVAVWAA ANIGVILENO ON ON SHA -VOOZAVWTZ -POOZAONZT -vOOZNOST II / 4L0 z00e0z0R
NOILWOIGNI Hsod [NOIL¥VOISISSVIO NOILWOIGEW)] ca TO WOINd LWd dOLS HLvd dOLS LVd dOLS INSWLVAUL aaoo
WHHL OINENHD NOLLVOIGHW NSNVL NOILWOIGHN -HLVd LYWLS -HLVd LUVLS -HLVd LYWLs Loarans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

GTTT JO Tee abed

CONFIDENTIAL
AZSER12771703
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eLsl

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
[SseuTdezertyuL
puy seutdezexg ‘seutdezetq] YO0coaa80
Jepiostp rzeTodtg Bu 00°00Z ENTAVILYNG ON ON SHA -POOCLOOLS
[SSaTIeATAaeq euTdezetpozuag] sooznnrzo
eTUWOSUTL Bu oo°o€ WYdHZVXO SHA ON ON -SOOcNNCTO
[SPTOTPNTY wntdo Tern jen]
uted yorg 0 TOWWLHOVaYd SHA SHA Sada
[seoueqsgns peqeTey puy
SSATIPATAAad PTOY OTIe80y] 4HONTLNOS SOOcNOrEeO SOOCAYN9Z
uted yoeq Bu 00°0ST OVNHSOIOIG SHA SHA SHA -MNQ -SOOZAYWLZ -TOOZOHGOT TWA / Wild 9000708
[seutdezetyL
puy seutdezexo ‘seutdezeta] POOTONYOT
Zepzostp I azejtodta Bu 00°00z2 ELVYWWOA ANIGVILANS ON ON ON -poocinroc
[septuenBbtg]
seqeqeta 6u 00-0002 HQTHYOTHOOAGAH NIWAOALEW ON ON SaA
[wn ty3t'T]
Zepzostp I azejtodta Su 00°005 HLVNOddvo WAIHLITI ON ON SaA
[SOATIPATIOG
earn ‘septweuogtns] AONILNOD
seqeqetd Su 00°0OT HqIZIdIID ON ON SaA -ANA ONISSIN SOOeCOTON
[SSeATIPATASq ptoy Aqqeg] SOOCEHA GTS
Iaeprostp T azetodta 5B os'z WNIdGOS HLVOedTVA SHA SHA ON -POOC LOOT
[StoaTqTYyUL eYyeqQdnsey
UTUOJOASS SATIOSETES] POOZLOOFT
Zeprostp T aeTtodtg Bu 00°02 HQITYOTHDOUGAH HNILAXONTA ON SaA ON -VO0CLOOTO
[seutdezetyL
puy seutdezexo ‘seutdezeta] pOOTINCLZ
Zepzostp T azejtodta Su 00°00T ELVUWNOA ANIGVILHNG ON ON SaA -poocinrere
[seutdezertyL
puy seutdezexg ‘seutdezetq] yoociInrec SOOCNY’SC SOOCNYL90
Zeprostp T azeTodta Bu o0°Sh ELVaVWOdA ANIGVILENO ON ON SHA -poozinaroz -SOOZNWPLO -POOZTINOLZ TWA / W1d POOEOZOE
NOLLYOICNI Hs0qd [NOLLVOISISSVIO NOILYOICSN] da TO dorldd aLVd dOLs HLvd dos aLVd dOLS LINEWLVHaL qdoo
Waal OLAHNSD NOLLYOICHWN NEMNVL NOILYOICHWN -HIVd LYVLS -HLVd LAVLS -aLVd Lavis Lodrans
NOLLIVOICHN CHZIWOGNVa ‘THAVI Nado

GTTT JO zee abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771704
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PLSI

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

[wntyatT] SOOZAONET
Ieprostp J azejtodtq 6w oo*osLt WOTHLTT SHA SaA ON -SOOcHdV6T
[seatqeatszeq prow Aq3e,] SOOcadvSTc
Iepiostp J zetodtg Bu 00°00L WiIdOS HLVONdTVA ON Saaz ON -GOO0cadvSO
[seutdezeryy
puy seutdezexo ‘seutdezetq] SOOZHAVET
Teprostp J azetodtg Bu 00° 006 HLVavVWnd ANIGVILENS ON SaA ON -SOO07TAHWWOe
[seutdezetyL
puy seutdezexg ‘seutdezetaq] SOO CHWNGZ
Teprostp I azeqtodtq bw o0°00zT HLVavWnd ANIGVILYNS ON Sada ON -SOOCHWWLT
[SseuTdezertyuL
puy seutdezexg ‘seutdezetq] YOO0coaad80
Iepilostp J zetodtg Bw 00°00€ ELVYWWOA ANIdVILHYNO ON ON SaA - VOOZAONTZ
[wn ty3t'T] SOOcadV8T SOOZLOOPT sOOcONV8T
Teprostp I zeTodt@ bw oo°o0st WOITHLI'TI ON SHA SaA -yooczLoozz -SoOzZDNW6T -7OO0TDHAasO IT / WId LOOCOTON
[seutdezertyL
puy seutdezexo ‘seutdezetq] soozinreo
Iepiostp J zetodtg Bu 00°00F% HIVaWWNA ANIGVILHNG Sax ON ON -SOOcNNALEO
(wuntsse jog]
euepo eTyuy 6w 00°002T HQTHOTHO WOISSVLOd SHA ON ON
[UteTd ‘septweuoz[ns] soo Tired
euspo eT TxUy Bu 00°0F HQIWESOWNA SHA ON ON -GOOCAYWNIOE
[seataeatszeqd prow Aqjeg] SoocINred
Iepiostp I azeqtedtq 6w 00°o00sT WiIdOS HLVONdTVA SHA SHA ON - YOO ZOHA9T
[seuTdezertys
puy seutdezexg ‘soutdezetq] POOZONAOT
Tepriostp I azeTodtg Sw 00°0sT SLVUVNNA ANIGVILANO ON ON SHA - 200708060
[seatqeatszeq ptoy Aqjeg] voocoudast SOOcNOPEO SOOTAVW9T
Teprostp I szetodta Hw 00°000z WiIdOS HLVONdTVA ON SHA SaA -VOOZAON60 -SOOZAYWLZ -POOZOHAOT TWA / W1d 900€070H
NOIIVOIGNI gs0dq [NOILVYOISISSVIO NOILYOICHWN)] da TO dwoldd aLvd dOLs aivd dos aLVd dOLS LNEWLVaaL adoD
WaatL OTHHNHD NOILYOICGSW NAMVL NOIDVOICHN -SIVd LAVLS -HLVd Lavis -aLlvVd Davis Loadrans
NOTIVOIGHN dxZIWOGNVS THadvl Nado

GTTT JO €€€ Bbed

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

CONFIDENTIAL
AZSER12771705
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SLS1

Gozxdoy «SPT ETLOOZTUWWIZO §=6ses*OOTpeW

AST 600TZOZTT/F13/ ndyano /ds/9ZT00°L PPT P/Tenbores/pord/aiso/

[SseuTdezertyuL
puy seutdezexg ‘seutdezetq] SOOCNWCLLT
Zeprostp I azetodta Bu 00°S2ZT ELVYWWOA ANIGVILENO ON ON SaA -SOOCNYP9T
[seutdezetyL
puy seutdezexo ‘seutdezeta] SOOCNYWL9T
Zeprostp J azetodtg Bw 00°00T HLVYWWAA ANIGVILHNG ON ON SaA -SOOCNYPST
[seutdezertyL
puy seutdezexo ‘seutdezetq] SOOCNYLST
Zepriostp J azetodtg Bu oo°SL HLVaWWNA ANIGVILENS ON ON SHA -SOOCNYD FT
[seatqeatszeq ptoy Aq eg] SOOCAYNTO SOOCAVWZO
Tepiostp I zejodtq Su 00°00ST WONIGOS ALYONdTYA ON Sada Sada -POO0cOedre -GOOCNYITS dLO IO 600€0208
[seataeataszseq ptow Aj eg] 900¢dHS0€
Zeprostp T zeTodtq Sw o0°o00T WNIGOS ALVONdTVA SHA ON ON -SOOCNNPST
[seatqeataszsq ptow Aj eg] SOOCNNC VT
Zeprostp T zeTodt@ bw 00°00zT WOIGOS HLVONdTVA SHA SHA ON -GOOCAWNIT?
[seutdezetyL
puy seutdezexo ‘seutdezetq] POOZOMATZ
Zepiostp T zetodtg Bw 00°009 HLVYWWNA ANIGVILHYNS ON ON SaA -YOOCTOHCOT
[seataeatszeq ptow Aq eg] SOOCUYNT 2 900ZONYTE SOO0cudY6ET
Teprostp T zeTodtq@ Bw o0°00rT WhIGOS HLVONdIVA ON SaA SEA -VOOZAONTZ -SO0O07HdYO? -FOOZDNAZZ TWA / dLO 8000708
[seutTdezertyuL
puy seutdezexg ‘soutdezetq] SOOZAONET
Zeprostp J aejtodtg Bu 00° 007 ALVaWWOA ANIdVILHYNO ON ON ON -GO00CLOO8T
[UTETad ‘sastuobequy
TI utsueqotTbuy] SOOZAONET
wot sueqredéy Bw 00°00€ NVLYVSHaYI SaA ON ON -~GO0O0ZONWOE
[seutdezertyL
puy seutdezexg ‘seutdezetq] SOOcaedYSe SOO7TLOOVT SO0cONV8T
Iepiostp J zetodtg Bu 00°008 ELVYWWAA ANIGVILHNO ON Sax ON -SOOZHdvOZ -SOOZDNV6T -POOZDEasO IT / Wid LOOf0z0a
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans
NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GTTT JO vee Bbea

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

CONFIDENTIAL
AZSER12771706
NOILYOICSN

qeZIWOCNVa ‘THavl Naydo

GTTT JO Gee abed

SUOTIEO TPA

6-OT° 2°21 Butasty

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© G9zxdoy SPTET'LOOZHWWZO =SPS'OOTPeW AST 6O0OTZOZTT/F13/andano /ds/9ZT00°L PPT P/ Tenborzes /pord/airso /
o [szo0lTqtTyuI ayeqdney
2 UTUOJOASS SATIOSTAEasS] SOOTAVNGZ
Oo Zeprostp I azetodta Bu o0°s HLVIVXO WYAdOTVLIOSH ON Sax ON -GOOCAVNLZ
[seutdezetyL
o puy seutdezexo ‘seutdezeta] soozudwso
oO Tepiostp I azejtodta Bu 00°002 HLVavWnd ANIGVILYNS ON Sada ON -GOOCAWNIOE
—
N [seutdezertyL
a puy seutdezexo ‘seutdezetq] SOOZTAWN6Z
co Zepriostp J azetodtg 6u 00° 0ST HLVaWWNA ANIGVILENS ON Sada ON -GOOCAWNIEZ
oO
[seutdezeryy
TST puy seutdezexo ‘seutdezetq] SOOZAYNZZ
2 Iepiostp J azetodtg Bw 00°00T HLVYWWNA ANIdVILHYNS ON ON SaA -SOOTAYNYT
LL [seutdezetyL
puy seutdezexg ‘seutdezetaq] SOOCHWNST
4 Iepiostp azetodtg Bu 90°S4L ANIGVILHNS ON ON Sada -SOO0CHYNFO
1
° [uMntyatT] GOOZAONYZ
C9 Teprostp I azejtodtg 6w o0*oset HIVNOdavO WOIHLIT ON Sada SaA -SO00CaHA8T
a [sz0atgqTyul dumg uojord] SONTLNOO S00ZLOOSZ
cS ZeoTn oT deg Bu 00°0€ HIOZVAdOSNVYI ON Sada SaA ->aINN -GOOTAVNTT dLO IO OTO€07OR
®
Ee [SSeATIPATASq ptoy Aqqeg] HONTLNOD
5S Zepiostp J zeqTodtq 6u o0°00ST WiIdOS HLVONdTVA ON ON ON -GOO0cadYSO
oO
Oo [seutTdezertyuL
Q puy seutdezexg ‘soutdezetq] soo0zcudvso
Zeprostp J aejtodtg Bu 00°0T HNIGVZNVIO ON ON ON -GOOCUYNI6GO
oo [seutdezetyL
<x puy seutdezexo ‘seutdezeta] SOO7THYN8O
Q Zepzostp J azetodtg Bw 00's HNIGYZNVIO ON Sada ON -SO00cUYNZO
1
O [seutdezertyL
O puy seutdezexo ‘seutdezeta] SOOTNNLTZ SO07TMYWZO
x Teprostp I szeTodta Bw 00°OST ELVaWWNA ANIdVILYNO ON ON SaA -SOOCNWCDLT -GOOZNYWITZ dLS IO 60007048
o
oo NOT LYWO TANI gs0dq [NOILVOISISSVIO NOILYOICIN]) ca TO dwoldd aLvd dOLs aivd dos aLV¥0 dOLs LNAWLVaaL qdadod
Mm WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans
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CONFIDENTIAL
AZSER12771707
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LLSI

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

[seutTdezeryL

puy seutdezexg ‘seutdsezetq] SOOZLOOTZ

Iepiostp J azetodtg Bw 00°00T HLVaWWNA ANIGVILHYNS ON ON ON -GOO0CdHSE0
[seutdezertyL

puy seutdezexg ‘seutdezetaq] S007@d4HSZzO

Iepiostp J azetodtg Bw 00°00z ELVYWWNA ANIdVILaNS ON ON ON -SOO0CONYET
[SquUetTTowy ‘szeweqyos]

uot edtqsuoD 0 CINOIT ‘NIdd4vevd SHA SHA ON

[S@ATIeXeT

Butqoy ATT eotjowso] SOOZdHSLT

uot edt qsuoD N HSOTNLOVI SHA SaA ON -SOOTAYN9O

[seatqeatszeq prow Aqje4] SOOCdHSLT

Zeprostp I zetodtq Sw o00°o00T WOIGOS HLVONdTVA SHA SAA ON -GOOCAYWEO
[seutdezetyL

puy seutdezexo ‘seutdezeta] SOOCHWNSZ

Zeprostp J azetodtg Bw 00°00T HLVYWWAA ANIdVILHNS ON Sada ON -GO00caWNec

[seatqeatszeq ptoy Aqjedg] SOOZAYNZO

eseestp IJ azetodtg Bw 00°008 WNIGOS ALYOUdTVA ON Sada SaA -GOOTAYNTO

[souowz0H ptozAyy] HANTINOD S00 ZONY8T SO0ZcONYTT
wus tTpTortAyqodAH Bu 00° OST GNIXOWAHLOAYT SHA SHA SEA -MNQ -SOOZDNY2T -SOOZUWW7? TWA / W1d TTO€0Z0R

[sqoatqtyUul eyeqdney

UTUOIOASH SATIOSTIS] SOOZAONTZ
aeprzostp I azeptodtg Bu 00°02 aLVIVXO WYHdOIVLIOSH ON SHA ON -SOO7ONYLZ
[Sa0qTQTYyUI exHeqdney
UTUOICASS SATIDETSsS] SOO0coNT9z
Zepzostp I azejtodta Bu 00°ST ALVIVXO WYHdOIVLIOSH ON SHA ON -SOo7cNnrst
[Sa0qTqtTYyUl ayeqdney
UTUOIOISS SATIOSTSS] SOOcNO’ PT S00zLOOST
tepiostp I zetodtg Bu 00°0T GLIVIVXO WYHdO1IVLIOSH ON SHA ON -GOOZAWWOE - SOOZHWNZZ dLlO 10 OTOf£0Z08
NOIIWVOIGNI Hs0qd [NOLLVOISISSVIO NOILYOICSWN)] da IO wold aHLYVa dOLs aLY¥d doOLs aLVd dOLs LNEWLVSYL aadoo
WHHL OTHENHS NOILYOICEWN NHMVL NOILVOICHN -SIVd LHVLS -HLVd LavLs -a1lvd Laws Loarans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

GTTT JO 9€€ Obed

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AZSER12771708
Case 6:06-md-01769-ACC-DAB Document 1363-3 Filed 03/12/09 Page 67 of 90 PagelD 85743

8LS1

Gozxdoy «SPT ETLOOZTUWWIZO §=6ses*OOTpeW

AST 600TZOZTT/F13/ ndyano /ds/9ZT00°L PPT P/Tenbores/pord/aiso/

Jepzestp [sotadeTtdetqjuy 71830) SoozNnrzz
I aeqtod-tq Bu 00° 00T HNIDIYLONZI ON Sada ON -SOOCNNP ZZ
Aaprzostp (wn tyat tT) SOOZAONET
I aejtod-tq 6w 00°000T WOIHLIT ON Sada ON -GOO0cedY92
1epiostp (wn ty3tT] SOOCHdYSZ
I aeqtod-tq Sw 00°0S7T WOIHLIT ON SaA SaA -GOO0TAdYCT
[SeaTIeATAeq suTdezetpozueg] SOOZAONET
AqeTxuy a WWdaZVI0 ON SHA SHA -S007MAaWGO
[seutdezetyL
Aepszostp puy seutdezexo ‘seutdezetaq] GOOZHaYZT
I azeTod-tg Bw 00°00r HLVYWWAA ANIGVILENS ON ON SaA -gd0cadvso
[SeaTqeATIeq suTdezetpozusg] G00Z.LO0S0
Aqetxuy N WYdaZVId ON Sada SaA -GOOCTAWNET
Aepzostp [wn tyatT) so0cddvTT
I azeTod-Tq 6w 00°000T WOIHLIT ON ON SHA - POO0ZOEATZ
[squesseizdeptquy 7°70] SOO0Z.LOOLT
uotsseadeq Bu 00°00€ HNIXVAVINGA ON SaxA SHA -PO0cLOOZT
[SeATIeATIEd suTdezetpozuseg]) SONILNOOD SOOZLOOPT
eTUMOSTIT 0 WYdaZVaLIN ON Sada Sada -¢NN -GOO0CHdVET dLO IO €TO€0zZ0a
[seutdezertyL
puy seutdezexg ‘seutdezetq] Soocddvso
Iapiostp J zetodtg Bw 00°00T ELVaWWNA ANIdVILANS ON ON ON -GOOCAWNEZ
[SeaTIeaAtseqd ptow Aqqeg]
Zeprostp J azetodtq 6u oo*009z WOIdGOS ALYONdTYA ON ON SaA
[seuowz0H PTorAYUL]
ustptorAéyjodAH = B’:«OD* DDT WOIGOS SNIXOWAHLOAZI ON ON SHA
[sz0aTgTyul dumg uojoz74] AONILNOO
xNTFOH Bu o0°Se HIOZVAdOSNGI ON ON SHA --INN ONISSIW ZTOeOzOd
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GTTT JO LEE Bbed

SUOTIEO TPA

6-OT° 2°21 Butasty

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AZSER12771709
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6LSI

Gozxdoy «SPT ETLOOZTUWWIZO §=6ses*OOTpeW

[s6nad
peretey eutdezetpozuag]

AST 600TZOZTT/F13/ ndyano /ds/9ZT00°L PPT P/Tenbores/pord/aiso/

Teprostp J azertodta Bw 00°OT WHdId1IOZ ON SaA ON
[squesseideptquy 28410)
Teprostp J azertodtg Bu 00° 0ST AQCTSOTHOONCAH ANTXVAVINGA ON Sada ON
[S@eaTIeaTA8q euTdezetpozusg] sooznnre6o
Ieprostp J azetodtg Bu 00°T WVIOZVadTY ON SHA ON -GOOZAVW60
[seutdezeryy
puy seutdezexo ‘seutdezetq] SOOZAYWOT
Teprostp J azetodtg Bu 00° 00T HLVavVWnd ANIGVILENS ON SaA ON -SOO0ZAVW60
[seutdezetyL
puy seutdezexg ‘seutdezetaq] SOOZAVWI80
Teprostp J azertodtg Bu 00°002 HLIVavWnd ANIGVILINS ON Sada ON -SOO0ZAVW90
[seutTdezertyuL
puy soeutdezexg ‘soutdezetq] SOOZAYNSO
Tepiostp I azejTodtg Su 00°00€ SLVaVNNA ANIdVILHNO ON ON SHA -SOOCHdYLZ
[seatqjeatseq ptow Aaqed] sooznnréo GOOZAWNOT
Teprostp I szeTodta Bu 00°00F% WiIdOS HLVONdTVA ON SHA SaA -GOOcadwOT? -SOOTAWW90 dLl5 I0 PIO€O7Oe
[seutdezertyL
puy seutdezexo ‘seutdezetq] AONILINOOS
Zeprostp I azetodtad Bu 00°00€ HNIGVZNVIO ON ON ON -GOOCAONVT
[seataeatszeqd prow Aqjeg] SOOZAONET
Iepiostp I azetedtq 6w 00°o000T WiIdOS HLVONdTVA ON ON ON -SOO0Z.LOO6T
[seuTdezertys
puy seutdezexg ‘soutdezetq] SOOZAONLO
Tepriostp I zejTodtg 6 00°00z SLVUVNNA ANIGVILANO ON ON ON -S007LOOST
[SeaTzeaAtseq seutTdezetpozusg] SOOCTAONET SOO0cLOOPT
AqeTxXuUYy 0 WYdHZVxXO ON SHA ON -SOOcdHSET -SOOcHdWET dLO IO €TOe0Z0u
NOIIVOIGNI gs0dq [NOILVYOISISSVIO NOILYOICHWN)] da TO dwoldd aLvd dOLs aivd dos aLVd dOLS LNEWLVaaL adoD
WaatL OTHHNHD NOILYOICGSW NAMVL NOIDVOICHN -SIVd LAVLS -HLVd Lavis -aLlvVd Davis Loadrans

NOILYOICSN

qeZIWOCNVa ‘THavl Naydo

GTTT JO ate abed

SUOTIEO TPA

6-OT° 2°21 Butasty

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CONFIDENTIAL
AZSER12771711

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Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
[seatqeatszeq ptoy Aqjeg] SOOCHAW6T
Zepiostp zeTodtq Sw on°o00T WONIdGOS HLVONdTYA ON Sax SaA -POOZAONTZ
[st0qTqTYyUl exHeqdney
UTUOIOASS SATIDETSsS] SOOcaHdTE?
wot sseideq Bu 00°0F HCIYOTHOOUCAH ANILAXONTA ON Sada SaA -VOOCAONCT
[s6naq
peqelea eutdezetpozuag] SOOZNYE'TZ
BTUWOSUL Bu 00°ST HNOTOTAOZ ON Sada SHA -POOCAONZT
[SSATICATIAaq sUuTdezetpozueg] SOOZNYPET
AqeTXUY Bu 00°0OT WYddZVId ON Sada Sada -FOOCAONZT
[STOATQTYULI
otqoeyTAydosd etw aseqonpey eoD buy]
ee [018488 Toyor1edAH Bu 00°0z NILVLISVAWIS ON Sax SaA
[TOATQTUUI sueTT, esteasy
se Tbutys TOXY SpTIosTONN/septsoce pony]
of joe TAydora Bu 00°05zZ MIAOTIOIONYA ON SHA SHA
STatbeydosso [spunodwop wntoTed] AONILNOO SOOZAVWLZ
xNT FOU TW 00°OT HIVNO@dYO WNIOTYO ON SHA SaA -2ANO -VOOcOHCET dLO IO 20070208
[seutdezertyuy
puy seutdezexg ‘soutdezetq]
Jaepiostp rzejTodtg Bw 00°00T ALVYWWNA ANIdVILYNS ON ON SaA
[seatstndorg] POOcONTZO
eesnen Bu 00°0T HCIWVadOIOOLEN ON ON SaA -yooconyco
[wn ty4tT]
Jeprostp azeptodtg Bw o0°SLE 4HLVNOddvO WOIHLI'T ON Sada Sada
[sotade,tdetquy 7eT7I0]
Zeprzostp azertodtg Bw 00°00€ ANIOIAGLONZI ON Sada SaA
[STOATQTYULI
etw aseqonpsey eop Sux]
ae TO1e1se ToyoredAy Bu 00°0T NILVLSVANOLY ON SHA SaA
[uTzedey *ToOxyY STOVTQTYUL
stxe TAydorzd uotqeberbby 4eTS3eTa] HONILNOD VOOTONVET
ButqioToO poota Bu 00°OST WOAISTWO SIVIAODITIVSTALYOY ON Sax SHA --INN -POdcONTEO dLlO 10 T0070Z08
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdoo

WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs
NOILYWOICSN CeZIWOGNVa ‘THavl Nado

Loarans

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

GTTT JO 6€€ Obed
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s97xdoy «GPF ET? LOOZHYNZO

18ST

ses’ ooTpew

AST 600TZOZTT/F13/ ndyano /ds/9ZT00°L PPT P/Tenbores/pord/aiso/

[sotideTtdetquy zeyI0] SOOCAWWVO soociInrae
arejodtg Bw 00°05 HNIDIYLONVI ON ON SHA -SOO0ZadYOT - SOO ZAVWGO dL5 IO €0070708
[Sa0qTqTYyUL eHeqdnoey
UTUOIOASS SATIDSETSIsS] soocnnrgd
uoTsssdiseq Bw 00°0F HQIYOTHOONCAH ANILEXONII ON SHA ON -SOOZAYWEO
[STOQTQTYyUL ayeqdneay
UTUOIOISS SATIOSTSS] SOOTAYNIZO
woTsseideq Bu 90°0z HQTAOTHOONGAH ANILEXONTA ON SHA ON -Soozcddwoe
[seatqeatszeq prow Aq3e,] SOOCNN’9C
Jeprzostp azertodtgd Bw 00°00S WOIdOS ALVONdTYA ON SHA ON -SOOcadwOZ
[SSATIPATA9Q sUTdEzeTpozuEg] sooznnrez
Aqetxuy Bu 00°09 WYdaZ¥xXO ON SHA ON - SOO CAWNST
[sbnad
peqeteya sutdezetpozueg] SOOCHWAPT
eTUWOSsUyt Bu cge-€ HNOIDIGOZ ON SHA ON -SOO0caHA6T
[s6n2aq
peqejtay sutdezetpozueg] SOO7GHAST
eTuWwosut Bu os's HNOIDIGOZ ON SHA ON ~so00caea so
[s6n1d
peqetea esutdezetpozueg] SOOTaHAVO
eTuUWwosut Bu sz°qt HNOIDIGOZ ON SHA ON -SOOCNWL ZZ
[SPATIeATASG suTdEzeTpozuEg] SOOCTAYNTL
Aqetxuy Bu 00°0T WidaZV¥VId ON SHA ON -SOOCNYPTZ
[S®aATIeATAeq sUTdEzeTpozueg] SOOZNYLOZ
Aqetxuy Bw 00's WidaZvVId ON SHA ON ~SOO¢NYC FT
[seutdezertyL
puy seutdezexo ‘seutdezetq] DOOTONCET SOOTAVNLE
Jepiostp rzeTodta Bw 00°00€ ELVaWWNA ANIdVILYNO ON ON SHA - POOZAON6Z -POOZOECET dLO I0 20070208
NOLLIVOIGNI gs0dq [NOILVYOISISSVIO NOILYOICHWN)] da TO Worldd HLYd dOLs Hivd doLs GLV¥d dOLS LNEWLVaaL gqdoo
WHHL OLSHNSD NOLLYOICEW NEMWL NOILVWOIGHW -HIVd LAVLS -HLVd LavLS -a1Vd Laws Loarans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GTTT JO OFE abed

SUOTIEO TPA

6-OT° 2°21 Butasty

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c8SI

Gozxdoy =SPtET:LOOZTHWWIZO 6ses

“OOTpaU AST 600TZOZTT/F13/3ndano /ds/9ZT00°LtPIP/Tenbo1tes/pord/aiso/

[wn tyatT)
Zeprostp I zetodtq Sw oo'oset HLYNOGAVO WOIHLIT ON Sax SaA
ustptorAyqodAy [Ssuowz0y ptoxrAyL]
peonput wntyatrl &n 00°00z WOIGOS HNIXOWAHLOASI ON SHA SHA
[UTeTd ‘sastuobequy
TI utsueqotbuy]
woTsueqzedAH Su 00°2T TILSXEYTIO NVLAVYSHCNYD ON Sax SaA
[sqonporzg oT qnedezeyL 1E1I0] HANTINOD SOOZcNNLO?
BTWSPUY n° uotjeredserg Teqrt=H ON SaA SaA ->aINN -SOOCNNLOT dLO IO S0070Z0R
4NON ONISSIW POOPOcON
[sto0aTtqtTyUul eyeqdney
UTUOJOASS SATIOSTES] SOOzDAYTZ
zejTodt Su 00°OT HLVIVXO WYAdOTVLIOSH ON Sax SaA -GOOCAYWNLO
[seutdezetyL
puy seutdezexo ‘seutdezeta] SOOZTAYN80
aeptodtg Bw 00°007 HLVYWWAA ANIdVILHNS ON ON SaA -GOOCAVWLO
[seutdezertyL
puy seutdezexg ‘seutdezetq] SOOZAYWLO
zejTodta Bu 00°00€ HLVaWWOA ANIGVILENS ON ON SHA -GOOCAYN9O0
[SseutTdezeryL
puy seutdezexo ‘sautdezetq] SOOZAYN90
aepodtg Bw 00°002 HLVYWWNA ANIGVILHYNS ON ON SaA -GOOTAYNSO
[wntyatT] SOOZDAYTZ
aepodtg 5 ost HLYNOdadvO WOIHLITI ON Sada Sada -GOOCAYWTO
[st0qTqTYyUL exeqdney
UTUOICASS SATIDETSsS] SOOCAWNI0
aeptodtg Bw 00's aLVIVXO WYYdOTIVLIOSH ON ON SaA -GOO0CAYWTO
[seutdezertyL
puy seutdezexg ‘seutdezetq] SOOCAYNVO soociInrece
zejTodta Bu 00°S2T ELVYWWAA ANIGVILHNO ON ON SHA -GOO0cCedTSZ -GOOZAVWE60 diS 10 £0070708
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans

NOILYOICSN

qeZIWOCNVa ‘THavl Naydo

GTITT JO T¥e abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771713
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esol

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
[SOtIoTqtjuy] SooZNarzz
ysnayL Bw 00°T NILVLISAN ON SaA ON -SOOcNNC ce
[seatqeatszeq prow Aqje,] SOOCNNCET
seprzostp T zeqTodta Su 00-0002 QIDV DIOUdTVA ON DaA ON -SOOCNNEST
[esq Teotdey 104g
STepToyuszrowsytquy reo]
Azoatsoddns WYSIVd SV SOOZNNL9T
SpTOus1Owsoey OO°T Hadd “VA WOWWSTVda NOIAXOAAN ON DaA SoA -SOOCNNCOT
[SPTOTeEXTY wntdo TeznjeN] GOOZLOOOT
Syoey ool n° nA TOWWLHOVaYd ON SHA ON -SO0O0CLOOEO
[SSATIPATIEQ STOZeEpTwT] SO007LOO060
Ssss0gqe YAOoL bu 00°002 HIOZVGINOALYN ON SHA ON -S00cLOOeO
[SeaTIeATASq ptow AqWe4]
Zeprostp T zejTodtq@ Su oo°oo0zz dIOV SOIONdTVA ON SaA ON
[SOTIOTT Uy] soOocNnryz
YysnazyL Boos NILVLISAN ON SHA ON -SOOCNNE YS?
[sotqoyoAsdtquy 29430] SOOCNNC PT SOO0ZLOOLZ SO0cLOOTT
Iepiostp T zetodtg Bu 90°9 HNOCIYHdSTa ON ON Sada -SOOZNOPF#T -GSOOZLOOZT -SOOZNOPST TWA / W1d 10050704
[seatqeatszeq prow Aqje,] 900¢LD080
etuew eqnoy Sw 00°00ST WOIdGOS SHLVOUdTIVA SHA SHA SHA -900CNYCCT
[seutdezetyL
puy seutdezexo ‘seutdezeta] SO0OTNWL9T
eTuew es qnoy Su 00°005 ELVUWNOA ANIGVILANS ON ON SaA -S900CNYI CT
[(¢tI dnoz9)
quejoEg ‘SpTOrTeSOOTIAOD]) HONTLINOOS 900cCdH580 SO00CAYANYT
STSeTlosd N’ON HLVOdNA ANOSVLIEAWOW SHA SHA SHA -MNQ -900ZAWNST -9007GH49T TWA / GLO 90070708
[seutdezertyL
puy seutdezexo ‘seutdezeta] SOOcNArot sooznnrog
etTuewoddAyH Bw 00° 00T ELVaVWOdA ANIGVILENO ON ON SHA -SOOcNNPEO -SOOCNQOLOT dLlO 10 S0070Z08
NOLLYOICNI Hs0qd [NOLLVOISISSVIO NOILYOICSN] da TO dorldd aLVd dOLs HLvd dos aLVd dOLS LINEWLVHaL qdoo
Waal OLAHNSD NOLLYOICHWN NEMNVL NOILYOICHWN -HIVd LYVLS -HLVd LAVLS -aLVd Lavis Lodrans
NOLLIVOICHN CHZIWOGNVa ‘THAVI Nado

GTTT JO z¥e abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771714
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vssl

Gozxdoy «SPT ETLOOZTUWWIZO §=6ses*OOTpeW

AST 600TZOZTTI/F13/3nd3ano /ds/9ZT00°L 77 TP/Tenbotes /pord/aiso/

[SOTIOTqTIAUY] SOOZNNL9T
ysnazuL 5 00°s NILVLSAN ON Sada ON -SOOCNNL9T
[seatqeatszeq prow Aqje,]
Zeprostp T azetTodtg 6w oo0°o0LT QIOV OIOddTVA ON SaA ON
[sopqoyoAsdtjuy 19810) SOOZNNPST
Ieprostp T azetodtg Bw 00°2 HNOGTHYHdSTaY ON Sada ON -SOOCNNCST
[SOT IOTCTIAUY]) SOOcNNPST
ysuszuyL 6 00°0T NILYVLSAN ON ON SaA -SOOCNNLCOT
[SOTIOTqtTIAUyY] soocNnr6o
YsnayL 5 o0°s NILVLSAN ON ON SaA -SOOcNNP60
[Seat eaTAegq proy otucetdozg] SOOTNN6T
SYOeyAooL n° NH4AOudNaI ON Sada SHA -SOOcNNl90
[stuotqezedeitig OeTpzeD 7970] sooznnr90
yBnop Tw o0o°OT MOHANYO ON ON Sada -SOOcNNl90
[seutTdezertyuL
puy soeutdezexg ‘soutdezetq] SOOcNNL PT
Teprostp T ze Todtg n° a HLVavVWNA ANIGVILYNO ON ON SEA -SOOCAWNEZ
[seatqeatszeq prow Aqjeg] SOOCNNC YT
Zeprostp T zeTodt@ bw o00°o00rT qIOW OIOddTYA ON ON SHA -GOOCAYIN8Z
[SOTIOTATAUY] SOOZNN’ST
ysnay Tu 00°? NILYVLSAN ON ON Sada -GOOCAYNOZ
[sot aoyoAsdtquy 7e7I0] SOOcNNLET
Zeprostp T azetodtg Bw 00°F HNOGTYHdSTY ON ON SaA -GOO0ZCAYN9O
[S@PTT Tuy] SOOZNNPST
SuUoepeoH n° ao TIOWZLAOVAYd ON ON SaA -GOOTAVNG
[SeaATIeATANGq euTdEzZzeTpozueg] SOOcNnrst
Teprostp T ze Todtg n° a WYdHYZYNOTD ON SaA SEA -SOOCAWNVC
[SeaTqeatseq seutdezetpozusg] yoocinreet SOO7TLOOLT SO0ZLOOTT
uzted yored n° WYddZVId ON ON SHA -poozmnarz—t -SoozLO0zZT -SsoOoZNNrST TWA / W1d T00S0z204
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans
NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GTTT JO €%e Obed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771715
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S851

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
(unazqoedg
pepueqxg YITM SUTTTTOTUSed]) S00¢.L0080
sseogqe YACoOL Bu 00°005 NITIIOIXOWY ON SHA ON -GOO0ZLOOEO
[S®aATIwATAGG PTow oOfuoTdorg] GOOTLOOEO
SsyoeyjooL Bu 00°007 NHAOUdNaI ON Sada ON -SO00¢dHST2
[sptoTexty wntdo TeanjeN]
SyoeyjooL oo a NHAOadNaI ON SaA ON
[S®aTIeATIeQ pPToy oTuotdozg] GOOZLOOOT
Ssyoey joo. n° an NSHAOudNaI ON Sada ON -SOO0caNYYc
[seatqeatszeq prow Aqje,] SOOZAONLZ
Zepiostp T zeTodtq Sw oo°o000z QIOW OLOddTVA SHA SHA ON -SOO7TONTTT
[SPTOTeEXTY wntdo TeznjeN] soocinrso
uted yorg n° aA TOWZLAOVATd ON Sada ON -soocInrc[o
[seatjeatszeq ptoy Aq3jeg] soozconywot
Tepilostp T zeTodtg bw 00°o00rz dIOW SIONdTIVA ON SHA ON -SOOocNnrSZ
[SSATIPATISQ STOZepPTWT] SOOcNnrs82
ysnzy4 TeuTbea, Bu 00° 00T HIOZVWIYLOTID ON Sada ON -SOOCNNI YZ
[SOATIPATASQ STOZeTAL] SoocNnrez
ysnzyq Tero Bu 00°0ST HIOZYNOONTA ON SaA ON -SOOocNnred
[eso Teotdey 10g
STepTlouszrowseytquy 7840]
Azo jtsoddns WYSTVd AVHI soocNnnrod
SpTous1owsey OO°T Wadd “AVA WOWWSTVWd NOIAXOUAN ON SaA ON -Ssoocnnrst
[SOTIAOTQCT AY] SOOcCNNre?
ysnsyL 5 00°0T NILVLISAN ON Sada ON -SOOcCNALLT
[SOTIROTQTIAUY] soocNnrt2
ysnszyL Bu o0°€ NILYLSAN ON SaA ON -SOOCNNL9T
[seatstndozd] sSOoOcNOACLT SOOZLOOLE SOO07cLOOTT
PSsneNn n° an HCIWVadOIDOLEHN ON SHA ON -SOOZNOP9T -SOOZLOOZT -SOOZNOPST TWA / Wid To00S0z0a
NOITLYOICNI asod [NOLLYOISJISSVIO NOILYOICEN] qa TO dwoldd aLvd dOLs HLYd dos aLvVd dOls LNENLYYaL ddoo
Waal OITHHNAS NOILYOICGHN NANWL NOILVYOICHW -HLVd LAVLS -dLvd LAVLs -aLlvd Lavls Loarans
NOILWOICHN dHZIWOGNVaA ‘THadv1 Nado

GTTT JO #rE abed

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

CONFIDENTIAL
AZSER12771716
Case 6:06-md-01769-ACC-DAB Document 1363-3 Filed 03/12/09 Page 75 of 90 PagelD 85751

Azebans

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Azebans

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Tetoeg

Tetoeg

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einssezd
pooTtq ubTH

qnop

ysnizyy TeutTbe,

eTUWOSUT

aYoRyAoo

ayoeyAooL

SSOT

qyBTEmM “mM ASTSSY

Gozxdoy «SPT ETLOOZTUWWIZO §=6ses*OOTpeW

[SeaTIepes puy sotqouddAy]

Bu 00°Sz ANT ZVALAWONd
[SSATIPATIOG

autptzedtdptAusya]

Su 00°02T ANTOTHLAd
[seatstndorg]

Su 00°OT HOINVadOTOOLEN
[sotqeyuqseuy pTtotdo]

Bw 00°00T TIANVINGA
[S8ATIPAT IEG

eutue TAdozdTAueydtq]

SISTAeL qqTa
00°¢@ OTHOOUCAH HNYHdAXOdONdONLXAT
[ssoueqsqns

peqelead puy sutrzodsoteydap]

5 oo°t WNIdGOS NILOIVAD

[SPaTQeAT IEG

euTdezetyqozueg]

Bu 00°0rZ HAIAOTHOONCGAH WHZVILTIC
[uoTqonporg ptow oTzn

HutatqtyuUy suotyerzederg]

Bu 00°O00€ TONTYNdOTTIY

[SOEATIPATASQ STOZeEpTWT]
Bu 00°002 FIOZYNOOOLAN

[SSaTIeATAeq SsuTdezetpozusg]
Bu 00°0€ WYdHZVxXO

[SPATIeATAGG proy oTtucotdorg)
n° NaHAOddN aT
[S@aTIeATAEG PToY oTuoTtdozrg]
n° NHsOedN aT

[Aatseqgo JO quewqesezl

Iog suotqepTnuio0eg 4ST dC]

Aqtseqo FO que

N*’ O wyeerZ 20g suotjzeTnus0Sg 3eTCd

98ST

ON

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ON

ON

ON

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Sada

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ON

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ON

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Sada

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ON

ON
ON

ON

soocinrod
-goocInrod

HONILNOS
-YINO

HONILNOD
- S00 cOHav0

SOOZTAONB8Z
-GOO0ZLOO6T

S007cONadvO
-GOO07LOO8T

SO007.LOO9Z
-GO00ZL50S0

SOO7TLOOLT
-GOO07LD0OZT

SO0cONVIC

“600TZOZTTI/3123/3ndano /ds/97T00°L rr TP/ Tenbozes /pord/aiso/

-GOOCTINIET dLO IO 20050208

SO0ZLOOTT

-SoozNarst TWA / WId T00S0zZ04

NOT LYWO TANI

gs0qd [NOILVOISISSVIO NOILYOICHN]

da

IO wold

aLvVa dOLs

WHHL OISHNED NOILYOICHW NAMWL NOILYOICHW -HLVd LAVLs

NOILYOICSN

aL¥d dOLs
-HLVd LAvLs
daZIWOdNva

aLV¥0 dOLs LNAWLVaaL
-aLVd LAWS
THav1 NadoO

qdadod
Loarans

GTTT JO Gre abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771717
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L8S1

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
[SepTT Tuy] SOOZONYOE
Soe pesH n° TOWWZLAOVdvd ON SaA ON -S00cdoNYST
[seutdezertyL
puy seutdezexo ‘seutdezetq] SOOZONWZT
Zepiostp 1 zetodtg Bu 00°00F BLVYWWOA ANIGWILENG ON SHA ON -S00conYeT
[seutdezeryy
puy seutdezexo ‘seutdezetq] SOOZDNYOT
Zepzostp T azeqtodta Su 00°008 ANIGVILHNS ON ON SoA -SOOTINO TS
[seatqeatszeq prow Aqje4] 900CAVNIEO
Zepiostp T zeTodtd Sw on'n000z WOTdCOS HLVONdTVA SHA SHA SHA -soocinrod
[sze0npozg 4% TNg] 9007TAYWEO
uot jedtasuop n° na AMWVLHIG ‘HUYadId SHAR SHA SHA -SOOCAYWTO
[s6nad
eTUWOSsUt pe .etey eutdezetpozueg] GOOZINETE
quSe44 Twas qUuy non WHdId1I0OZ ON ON SaA -ANA
[SeaTIeATAeq pToy oTuctdozg] SO07ZONd6z
uted potted Bu 00°007 NH40udndI = SaA ON ON -S007OHd6z
[seutdezetyL
puy seutdezexg ‘seutdezetad) sooconyst 900cadHATO SOOCAONZZ
Zeprostp T azetodtg Su 00°008 ELVUWNOA ANIGVILHNG ON SaA ON -GOOZDNYET -SOOZAONEZ -SO0O0ZDNVOT TWA / WId £00907204
[SeaTqeatszeq eutdozy
sqoesyje epts IQ euTdezL JO s181Y149] soozonv90
TeptwesAderqxg Bu 00°z GLVIISHW ANIdOULVZNaad ON SaA ON -sooconyeo
[wntyatT] SOOZdHSEZ
Zepzostp T zeqTodtq@ Su oo0°o00T WOIHLII ON SaA ON -SoocINreT
[wntyatT] SoozInr2t
Iepiostp T zeTodtg Bw 00°006 WAIHLIT ON ON SHA -INO
[SOT IeyAssuy TertSuSeD 750] soocinroc sooconwye
Azebans Teproed Bu o0°O00€ TOdO0d0ud ON SHA ON -Ssoocinrod -SO0cINCET dLlO 10 720090208
NOLLYOICNI Hs0qd [NOLLVOISISSVIO NOILYOICSN] da TO dorldd aLVd dOLs HLvd dos aLVd dOLS LINEWLVHaL qdoo
Waal OLAHNSD NOLLYOICHWN NEMNVL NOILYOICHWN -HIVd LYVLS -HLVd LAVLS -aLVd Lavis Lodrans
NOLLIVOICHN CHZIWOGNVa ‘THAVI Nado

GTTT JO 9%€ Obed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771718
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8851

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

[seutTdezeryL
puy seutdezexg ‘seutdsezetq] SOOZAON90
UoTIeAATL Bw 00°0SE HLVaWWNA ANIGVILHYNS ON ON ON -GOOTAONEO
[seutdezertyL
puy seutdezexg ‘seutdezetaq] SO00Z.LO09Z
UoTAetATL Bw 00°00€ ELVYWWNA ANIdVILaNS ON ON ON -S00ZLOOTO
[seutdazeryL
puy seutdezexg ‘seutdezetq] SOOZAONTT
UOTICAATL Bu 00°SLE ELVYWWOA ANIGVILANO ON ON ON -GOOZAONLO
[seutdezetyL
puy seutdezexo ‘seutdezeta] SOOZAONZO
uot zerzATL Bu 00°SZE HLVYWWAA ANIGVILENS ON ON ON -G00cLOOLE
[seatqeatszeq prow Aqje,] HONTLNOD
Zepiostp azeyTodtgd Bw 00°008 WNIGOS ALYOUdTVA ON ON ON -GO007LOOTO ONISSIWN voosocod
(paqertqtut [squeby
quetqed) ButAztpow PTAtIT 730] 900ZMYNED
Zepiostp azetodtg n° TIO HSId ON ON ON -9007CdH4 ZO
(peqetatut [seutdezertyL
quetyed) puy seutdezexg ‘seutdezetq] 9007TAYWWEO
Iepiostp azeptodtg Bu 00°008 HLVYWWOA ANIGVILHNS SHA ON ON -900¢EH4ATO
[SepTtT Tuy] GOOZLDOVO
SyoeyjAooL Bw 00°00S TOWZLAOVaYd ON Sada ON -G002LO070
eB TUWMOSTIT [SeaTqeATAeq suTdazetpozuag] 900ZHYNEO
quSe44 Twas qUuy n° WYdHZVxXO SHA SaA ON -G00cdHS90
eTUWOSUT [SeaATIeATANGq euTdEzZzeTpozueg]
que49 tute uy Bw 00°02 WYddZVWHL ON SaA ON
[seutdezertyL
puy seutdezexg ‘seutdezetq] SOoOcONY9T 900cCdaATO SOOTAONTT
Iepiostp T zeTodtg Bu 00°006 ELVYWWAA ANIGVILHNO ON Sax ON -GOOZDNAY9T -SOOZAONEZ -SOOZDNWOT TWA / WId £0090208
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans
NOILYWOICSN CeZIWOGNVa ‘THavl Nado

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

GTTT JO L¥E abed

CONFIDENTIAL
AZSER12771719
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s97xdoy «GPF ET? LOOZHYNZO

[seutdezertyL

68ST

ses’ ooTpew

AST 600TZOZTT/F13/ ndyano /ds/9ZT00°L PPT P/Tenbores/pord/aiso/

puy seutdezexo ‘seutdezetq] SOOZLOOTE
Jepiostp rzetodtg Su 00°S2T HLVaWWNA ANIGVILENS ON ON SHA -GOd0coNZTO
yoeq % spurl [sweoTtxo] 900ZNVC90
Jeez UT UTE Bu 00°ST WYOIXOTHN ON Sada Sada -SOO?C INCEST
[S@ATIPATASq ptoy Aqqeg] soocoOudso
Zeprostp J azetodtgq 6wu oo-ooGe QIOVW OIOddTVA ON ON SaA ->INN
[seutdezertyL
puy seutdezexo ‘seutdezetq] SOOZAONEO
Jepiostp rzetodtg Su 00°OST HLVaWWNA ANIGVILENS ON ON SHA -GOOZCAONTO
[seutTdezeryL
puy seutdezexg ‘seutdezetq] GOOZAONOZ
Zeprzostp azeptodtg Bw 00°00€ HLVYWWNA ANIGVILHYNS ON ON SaA - GOOTAONTO
[seutdezertyL
puy seutdezexg ‘seutdezetq] SOOZAONST
tepiostp azertodta Bu 00°Szz ELVYWWNA ANIdVILHNS ON ON Sada -SOOZCAONET
[SUOTISUT QUOD
pexta ‘sueborz .sy
puy suebojse6o14] ANNILNOO 900 CONT ez 900CNNLET
wot qdeoer quod) a7 a THULSHOMONOASI SHA SHA SHA -MNQ -900ZNOr0Z -S0070Ha90 TwA / Wiad s00S0z0a
Tenborzes
peqexzew jo [seutdezetyL
asop snotaaid 04 puy seutdezexo ‘sautdezetq] FONITLNOD
SoueTSETOI Fo Ae] Bw 00°SZT HLVYWWAA ANIGVILHYNS ON ON ON -SOOTAONST
peqetatut quetqed
- JTenborzes
peysyrewW jo [seutdezertyL
esop snotAeizd o4 puy seutdezexo ‘seutdezetq] SOOZAONFT
SouURTSTOI Jo Yoel Bu 00°SLT ELVYWWAA ANIGVILHNO ON ON ON -GOOZAONZT ONISSIWN FOOSOZO0a
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLVd dOLS LINEWLVHaL qdoo

WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs

Loarans
NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GTTT JO are abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771720
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06ST

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
[SeptTtuy] 900THaYET
ayoepesH 6u 00°000T TOWWLHOVaYd ON Sada ON -900CHdVEZ
[seatjeatszeq ptoy Aj jeg] 9007dHSTZ
Jepiostp azetodta bw 00°00s6z2 CIOW SIOCUdTVA SHA SHA ON -GOO0COHAe?
[SPATICATAEq SsuTdoAL
IQ sutdezl FO s78y3g] 900ZHAYOE
eTSTUATAY On HNIGOALVZNHd ON SaA ON -S007OHd90
[seatjeatszeq ptoy Aq jeg] SOO0coOeaTe
Jeprostp azetodtq Bw 00‘o00e qIoOv OTONddTVA ON Sada ON -S00coOed90
[seutdezetyL
puy seutdezexo ‘seutdezeta] s007O4NdSO
Zepiostp zejtodtg Bu 00° 007 BLVaWVWOdA ANIGVILANS ON ON SaA -S00coOedEO
[seutdezertyL
puy seutdezexg ‘seutdezetq] so0zoudzo
Jepiostp zeTtodta Bu 00°oce ELYVYWWOA ANIGVILYAS ON ON SHA -GO0O0cOHaTO
[SseutTdezeryuL
puy seutdezexo ‘seutdezetq] SOOZAONOE
tepiostp zejtodtg Bu o0°Sze ELVaWNOdA ANIGVILANG ON ON SHA -SOOTAONTZ
[seutdezertyL
puy seutdezexg ‘seutdezetq] SOOCAONOE
Iapiostp zeqodtg Bu 00°02 BLVYWWOd ANIGVILYNS oN ON SHA -GOOCAONLT
[seutTdezertyuL
puy seutdezexg ‘soutdezetq] SOOZAONZT
Tepsostp szeTodtg 6u 00° 002 ELVYWNOA ANIGVILHNO ON ON SHA -SOOCTAON60
[seutdezetyL
puy seutdezexo ‘seutdezeta] SOOZAON80
Zepiostp zejtodtg Bu 00° SLT ELWIWNOdA ANIGVILHNS ON ON SHA -SOOCAONTO
[seutdezertyL
puy seutdezexg ‘seutdezetq] SOOTAONOE 9007ONTTC 900TNOL6T
Jepiostp azertodta Bu o00°SLZ ELVaVWOdA ANIGVILENO ON ON SHA -SOOZAONTO -900ZNNP0Z -S00ZDHad90 TWA / Wild So0S0z0a
NOITLYOICNI asod [NOLLYOISJISSVIO NOILYOICEN] da TO dorldd aLVd dOLs HLYd dos aLvVd dOls LNENLYYaL ddoo
Waal OITHHNAS NOILYOICGHN NANWL NOILVYOICHW -HLVd LAVLS -dLvd LAVLs -aLlvd Lavls Loarans
NOILWOICHN dHZIWOGNVaA ‘THadv1 Nado

GTTT JO 6%E€ Bbed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771721
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16ST

s97xdoy «GPF ET? LOOZHYNZO

ses*QOTPeW IST 600TZOZTI/313/3ndano/ds/9ZT00°L¢PIp/Tenbotes/pord/eisa/

[seutdezetyL
puy seutdezexg ‘seutdezetaq] INO
UoTAetrATL n° HLVYWWNA ANIdVILaNS ON ON ON -G00ZLOOTO
[SeATIeATASd ptoy Aaqeg] HANTINOS
Zepiostp zejTodta n° WNIdGOS ALVYONdTVA ON ON ON -G00¢LOOTO ONISSIW 4L00950c0a
(OT OU AY wPTOOn [SepTtTtuy] 9007 INCLT
yo qred) eyoepeeH n° TOWZLHOVAd SHA ON ON -900CNNPSZ
[SUOTIeUT QUOD
uo TAequeweTddns *SUTWEATATIATNN] SO00ZNNLOE
UTWEIATA ho QO suet JeUTqMOD ‘SUTWEITATITNW SHA ON ON -900CNN’ZO
[S@pTT Tuy] QOOTAWNET
Soe pesH n° TOWWLAOVAd ON Sax ON -900CHdVETS
[SPTOTexTY wntdo TeznjeN] 900ZN¥rs0
Soe pesH n° TOWZLHOVagd = ON SaxA ON -900CNYC VO
[SseutTdezeryuL
puy seutdezexo ‘seutdezetq] SOOZOHCET
Zeprzostp azeptodtg Bw 00°007 HLVYWWNA ANIGVILHYNS ON ON SaA -g00cOHazO
[S@pTT Tuy] 9007EHA90
TLN é€ - t8Aeq 6u 00°00S TOWZLHOVEYd ON SaA ON -9007dH490
[seatqeatszseq prow Aj eg] HANTINOD 900 ZONES Q9OOTAYWOE
Zeprostp aetodt@ bw o00*o00zT IOV OIOddTVA SHA SHA SHA -MNN -900ZAYNTE -SOOZDHdCbT TWA / dLO 90050708
[SeaTqeATAeq suTdazetpozuag] 900ZDNYTZ
uotqdnastp deets n° WYdHZVXO SHA ON ON -900cONTVO
[SPTOTexTY wntdo TeznjeN] 900ZDN¥OT
eeysrzoutya /ybnop n° a GIOVW OTIAOITWSTIALHOW SHA ON ON -900ZDNVE0
[SepTtTtuy] S90O0cNNrES 900TONTCT 900CNNL6T
Soe pesH Su 00°005 TOWZLHOVAGd = SHA ON ON -900ZNarez -900ZNNrO0Z -S00ZDEd90 TWA / WId $00S0Z204
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans
NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GTTT JO OG€ abed

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

CONFIDENTIAL
AZSER12771722
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COST

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

[SeATIeATASq ptoy Aqqeg] HANTINOO
Zepiostp aetodtq S6w 00°00FrT WHIdOS HLVOUdIVA ON ON SaA -AINA ONISSIN 20040208
[seutdezertyL
puy seutdezexg ‘seutdezetaq] SOOZAVWI8T
tepiostp azertodta Bu 00°00F ELVYWWOA ANIGVILING ON ON ON -SO0O0caAdY6T
[S®ATIPAT AGG sUTdazeTpozuag] SOOTHAYTO
eTUWOSUT Bu 00°ST WYdHZVxXO ON SaA ON -SO00caHHA9T
[S®aTIeATASq eUuTdEzeTpozusg] SOOZNYE'TT
Hutleey pessezas Bu 90°s WYdHZVId ON DaA ON -SOOCNYI'TT
[SepTtT Tuy] SOOTAWNBT
sBeT [njuted N° ON TOWWLHOVad SHA SHA ON -PO0cosed6c
[seatqeataszsq ptow Aj eg] SOOCTAYW8T
etuew rzeTodta Bu 00°8 WOIdGOS HLVONdTVA SHA SHA ON -POOCLIO6~
[SepTtT Tuy] POOCAONTO
sbeT [Tnjuted N’ ON TOWWLHOVaYd ON SaA ON -bO0cLOOSe
[SSATIPATASqC suTdezetpozuedg] POOZTLOOFT
SUCepesH Bu og°z WYdaZvVId ON ON SaA -PO0CLOOFT
[seatqeatseq ptow Aq eg] VOOCLOOB8S
eqtuew azetodtg Su 00°009 WOIdOS HLVOUdTVA ON SaA SaA -voocdHs0c
[seutdezertyL
puy seutdezexg ‘seutdezetq] VOOCLOOTZ
eqtueu rzetodtg Bu 00°00T BLVYWWOA ANIGVILINS ON ON Sada -bo0cdHs02
[SSATQPATASq euTdozAL
IQ eutdezl FO s790yq] POOZLOOTZ
eT seyyeny Bw 00°T GLVIISHN ANIdOMLYZNHd ON ON SHA -VOOcdHSOT
[Seat zeatszeq sutTdezetpozuseg] vOOcOed80 SOOcadv8T Soocddveo
shut [ees pesseras Bu og°z WYd4ZVId ON SHA ON -POOZDEA80 -SOOZHdVPO -POOZLDOTZ TWA / W1d TOOLOZOR
NOLLYOICNI Hs0qd [NOLLVOISISSVIO NOILYOICSN] da TO dorldd aLVd dOLs HLvd dos aLVd dOLS LINEWLVHaL qdoo
Waal OLAHNSD NOLLYOICHWN NEMNVL NOILYOICHWN -HIVd LYVLS -HLVd LAVLS -aLVd Lavis Lodrans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

GTTT JO TS abed

CONFIDENTIAL
AZSER12771723
Case 6:06-md-01769-ACC-DAB Document 1363-3 Filed 03/12/09 Page 82 of 90 PagelD 85758

coSl

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

xNTjper [Sz04TqTYyUL dumg uojo74g] SOOZAONOT
Teebeydossorzqsep Bu 00°0z WNIGOS HIOZVadddvd ON Sax SaA -GOOCAVNIETS
(Stat gsAoeToyo)
uted [SSEPTT Tuy] S007@D48azO
eatyeredo ysog 5 oo°t TIOWZLAOVAYd ON Sada ON -g00cDxHac0
[STOYTQLYUL
eT aseqonpey vop Buy]
weTo1e8 se Toyo18dAq 5u 00°02 NILYVLISVAWIS ON Sada SHA
[squesseizdeptquy 781740]
uotsseadeq Su 00°09 4HNTGVZVLAIW ON Sax SaA
[SPFOOTItOD0NNTH] HANTINOD 900CNYLCT
Buy AsSy 6n 00°00z HoOVNOTdOUdIGd ANOSVLAWOTIOHA ON SaA SaA ->aINN -SOOTINEST dLO IO vooLozon
[Sept Ttuy] SOOCAYNIZO
uted qutof seuy 6w oo0°000T TOWZLHOVad ON Sada ON -SOOCNYP82
[S®aATIeATAEG PToOW oOFuoTdorg] SOOZNYP8Z
uted qutof seuy Bw 00°007 NHAOUGNAI ON Sada SaA -GOOCNYCLT
[seutdezertyL
puy seutdezexo ‘seutdezetq] SOOZNWL6T
eTUeW Bu 00°00% HLVaWWOA ANIGVILENS ON ON SHA -POOCODHAST
[SA0qTQqTYUL SYyeqdney
UTUOIOTSS SaATIOSTAas] SOOZNWLET
wot sseideq Bu 00°0T HLVIVXO WYHdOTIVLIOSH ON ON SaA -YOOcdHSTO
[seataeatszeq ptow Aq eg] SOO CUYNZO SOOCNYITE
etuemq 5w 00° 009T WOIGOS HLYONdTYA ON Sada Sada -vooconyvto -GOOCNWL6T dLO IO €00L0¢208
[seutTdezertyuL
epostdea pextu puy seutdezexg ‘soutdezetq] POOZLOOZZ
‘Jepiostp zeTodtg Bu 00° 00T HLVaVWNA ANIGVILYNS ON ON ON -P007LOO90
[squesseizdeptquy 781740] vOoOT LOOT?
uo7sseidep ze TOdT¢q Bu oo°o0€ HNIGVZVLYIW ON ON ON -Pooconwso ONISSIW Z00L070a
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

GTTT JO zGe abed

CONFIDENTIAL
AZSER12771724
Case 6:06-md-01769-ACC-DAB Document 1363-3 Filed 03/12/09 Page 83 of 90 PagelID 85759

vost

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
(otqoeTAudord) [SSATIPATASQ SeUTZerzedtg] soozoudso
sTITsnurts Bu 00°0OT HOTYOTHOOUGAH HNIZIYILYD ON SaA SaA -SOOcNNL PT
[sasTuobequy M uTwejATA] SOOZAONSZ
Ss ~soquozyy Tet Bu og's WNIGOS NIAVaadvM ON SaA SaA -SOOCNOC YT
[SSaTIeATAEq sutTdezetpozusg] SoozLooLo
AWS TXuy Bu 90°0T WYdHZVId ON DaA SoA -SOOCNNO VT
quewece Tdezt funtsse jog] SOO0cdHS8e
untsseqjog 6w on°o0ZT HQOTHOTHO WNISSVLOd ON SHA SHA -SOOCNONP YT
[uUTeTd ‘“Septweuoz [ngs] SOOCdHSET
ewepso Bu o0°0r HOIWHSOUNA ON SHA SHA -SOOCNONO YT
[PATIOSTES
‘squeby Butyootg eqeqg] SOOZdHSZT
uot sueqzsedéy Bu 9070s TIOIONS LY ON SaA SaA -SOOCNOE YT
[SSATIeAT AEG suTdezetpozueg] SOO0¢cdHSOT
uot sseideq 5u 00°OT WYddZVNAL ON SaA SHA -SOOCNAL YT
[SUOTIEUT QUOD
pexta ‘sueborz4sy
swoadwAds puy sueBoqseborg] SOOZDNYST
esnedousu 4s0d n° HLVLEOY ANOWSLSIHLYYON ON SaA SHA -SOOCNAL YT
snsojewseyqAre [SeuT Toutnboutwy] SOOZCONVTIT
sndnq ofweqsdAs Bu 00°00F GoVAINS ANINOOMOTHOAXOMNGAH ON SHA SHA -SOOCNONO YT
[UTeuD-Spts otqeudt iy
YIATIM SSsuTzetTyjoueryd_] soociInest
uot sseideq Su 00°S72 ACIMOTHOONGAH HENIZVWONdHOTHO ON SaA SaA -SOOCNOE YT
[seuowz0H ptoxrAyL] soocInest
ustptotAyjodAH = HN. «00 OST HNIXOWAHLOABI ON ON SHA -SOOZNOAPPT
snoewseyqAre [sweotxo] soozanvso 900CNYCCT
sndnjq ofweqsdAs Bu 00°0z WYOIXOdId ON SHA SHA -SOOcNNP'ZO -SO0cIN’ST dL 10 pO0L0Z0a
NOLLYOICNI asod [NOILYOI4ISSVIO NOILYOICHN]) da TO dorldd aLVd dOLs HLvd dos aLVd dOLS LINEWLVHaL qdoo
Waal OLAHNSD NOLLYOICHWN NEMNVL NOILYOICHWN -HIVd LYVLS -HLVd LAVLS -aLVd Lavis Lodrans

NOILYOICSN

qeZIWOCNVa ‘THavl Naydo

GTTT JO €6¢ Obed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771725
Case 6:06-md-01769-ACC-DAB Document 1363-3 Filed 03/12/09 Page 84 of 90 PagelID 85760

S6S1

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

[sastuobequy MY uTweqtA] 900CEHATT
s;soquoizyd TetTsaqw Bu og's WONTCOS NIav4avM ON SHA ON -S00coOxedvO
[sas tuobequy Y uTweqtTA] 9007TEHATT
s;soquoizyd TeTszlqw Bu oo's WNIGOS NIWvV4savM ON SHA ON -S00coxeaeO
(sta TasAdeTop)
uted [SPTOTeENTY wntdo Tern .eN] SOOZONACTO
eatqeredo 3sog hoon TOWWLAOVavd ON DaA ON -SO007OHUTO
[uteT@ ‘sto zTqtTyul soy] 900CHHeATT
uot sueqrsdAH Bu 00°F TTIHdOGNTHYd ON SHA ON -SOOCAONTO
[seatqeatszeq prow Aq3e,] 900CAHATT
Zepiostp I zetodtq Sw oo°o0zT WOIGOS HLVOUdIVA ON SHA ON -S00c.L5060
[SeATIeATASq ptoy Aqqeg] SOOZLOOBZ
Zeprostp I azejtodta Bu 00°008 WHIdGOS HLVOUdTIVA ON SaA ON -S00¢.L5080
(UTeTd *SAOATQTYUL soy] SOOCLOOTE
uoTsueqasdAy Bu 00°2 TIYdOdNIadd ON SaA ON -S00cdHS56¢
(eanT Tes [uteTq@ ‘septweuostns] SOOZdES8Z
qzeey) BwSepso Su 00°08 HCIWASOUNA ON SaA ON -SO00CdHSVT
[seatqeatszeq prow Aqje,] S00¢LD0L0
Jaepiostp rzejTodtg Bw 00°009 WAIdOS ALVONdTVA ON SHA ON -SO00cdHS60
[S@aATIeATAeGq SeUTdEezeTpozuEg] 900CEHATT
AqetTxXuy Bu oo°Sp WYdHZVXO ON SHA ON -Ssooconysc
(UTeUD-Spts oTIeYyIT TY
YIM seuTzetyqouard]) soociInedd
wotsseideq Su 00°SZT ACIMYOTHOOUGAH BENIZVWONdHOTHO ON SaA ON -SOOc INC ST
[seuowz0H ptoxrAyL] 900¢dsaTT
ustpTtozéyjodéH Bn -00° 00T ANIXOYAHLOATI ON SHA ON -SOOZIN9YT
Ieprostp J azeTtodtq [seatqeatszeq proy Aqqeg] soo0zdHs80 900TNWLZT
TeztTtqeis poow Bu 00°00F WOIdOS HLVOUdTIVA ON SHA ON -SOO0c INEST -SO0cIN’ST dL 10 pO0L0Z0a
NOLLYOICNI Hs0qd [NOLLVOISISSVIO NOILYOICSN] da TO dorldd aLVd dOLs HLvd dos aLVd dOLS LINEWLVHaL qdoo
Waal OLAHNSD NOLLYOICHWN NEMNVL NOILYOICHWN -HIVd LYVLS -HLVd LAVLS -aLVd Lavis Lodrans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

GTTT JO ¥Ge abed

CONFIDENTIAL
AZSER12771726
Case 6:06-md-01769-ACC-DAB Document 1363-3 Filed 03/12/09 Page 85 of 90 PagelD 85761

96ST

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

[SSATIPATA9Q sUTdEzeTpozuEg] 9007NYIVT
AqeTxuy Bu oo's WYdaZVId ON ON SHA - 900Z2NYC FT
[szoatqtyuL dumd@ uojo1d] S900CNNL9T
qeoq. ssem-AZOTTeW Bw 00°0F WAICOS HIOZVHdOINYd SHA SaA SHA -S002L00%70
[seutdezertyL
puy seutdezexo ‘seutdezetq] 9O0O0ZNWLLT
Tepiostp rzeTodtg Bu 00°00% HIVavWnd ANIGVILYNS ON ON SHA - SOO cone
(queqqTwiequt) [SqueTTTowY “Ssreueq os] 900cHdv60
uot edtqsuoD STw 00°02 CINOIT ‘NId4vavd ON SHA ON - 9007HdY60
Nad
uotTyedtqsuop suocodseay [Sasonporzg  4TNg]
que 44 TWatSqUury o0°2 WIVAO ODVINYTd SHA SHA SHA
[wnt 4t'T] FONTLNOOS 900 CAYNLT 900CAYWOT
Zepzostp zeTodtg Bu 00°os7 HLVLAOW WNIHLIT SHA SHA SHA -MNN -Q900ZAVWTT -900ZNWCLT IT / Wid 900L0708
[squesserzdeptquy 7820] SOOZLOOEO
Teprostp J azertodtg Bu 00° 0ST ONIXVAVINHA ON SHA ON -SO07¢dHSEO
[ssoueqsqns peqeTey puy
SOATIPATI9G PTOW OTQe0V] soocinrgd
STIMYyNy Bw 00°0F OVNHAOIOIG ON SHA SHA -SO00c TOTO
[squesseizdeptquy 7°70] soociInecet
Zeprostp I azetodtad Bu 00°OST ONIXVAVINGA ON ON SHA -soocNnr6eo
[SAT IOS TSS -U0ON
‘squeby butyootg eqeqg]
Zouset3 PUeH Bu 00° 09T TIOTIONVadOud ON SHA SHA
[wn ty3t'T] HONTLNOS SOO¢dHSEO
Teprostp I azejtodtgd Bu 00°0S% WOIHLII ON SHA SHA AN‘ ~SOO@IOCET dL5 IO S00L0708
[seutToAoeszj9]] 900CEHATT 900CNVCTT
eure xe STITIO Bw 00°002 HNTIDADAXOd ON SHA ON - 900ZN¥C60 -SO0ZTIOLST dLO IO vOOLOZOR
NOLLIVOIGNI gs0dq [NOILVYOISISSVIO NOILYOICHWN)] da TO Worldd HLYd dOLs Hivd doLs GLV¥d dOLS LNEWLVaaL gqdoo
WHHL OLSHNSD NOLLYOICEW NEMWL NOILVWOIGHW -HIVd LAVLS -HLVd LavLS -a1Vd Laws Loarans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

GTTT JO GGe abed

CONFIDENTIAL
AZSER12771727
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LOSI

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

(wnaqoeds
pepueyxy UATIM SUTTT[TOTUSd] 900¢cdHSL¢
Feory Se10$ 5 00°2 NITITIOIXONY SAA ON ON -900ZONTPC
[SSPTT Tuy] SOOZAYNSZ
ssouystzsaeq bw o0*o000€ TOWLHOVAd = SHA ON ON -GOOCAYNLT
Aapzostp [squesseizdeptquy 798730] POOZLOO90
I atetod-tg Bu 00°ST UNTIGVZVLAIWN ON Sada Sada -ZOOCINCOT
[seoueqsqns peqeTey puy
SOATIPATI9G PTOY OTQe0V] VOoocdas80
Sypexyoeq MOT n° OVNSAOTOTA ON Sax SaA -PoocInrot
[seutdezetyL
Aapzostp puy seutdezexo ‘seutdezeta] POOTONYOT
I azeTod-tg Bw 00°00r HLVYWWAA ANIGVILENS ON ON SaA -YoocInrot
[S®aTIeATAGG pPToy oTuoTtTdorg] FOOTdHSSO
Seypexoeq MoT n° NHAOudNAaI ON Sada SaA -VOOTAYNITO
Teprz0sTtp [seatqeatszeq ptoy Aqjeg] 900¢cdHSL2e
I azejTod-tq 6w 00°0002 WOIGOS HLVONdCIVA SHA SHA SEA -POOTAAWETC
[soTqeantq
puy SACATQTYULI s0¥]
wot sueqredéy Bu 0g°0T HNIWNdaa TIMGOCNIYHd SHA SHA SaA
[SOATIPATIEG
euTdezetyjozusg] HANTINOD 900 ZONY8Z SOOCdHHAES
wot sueqredéy Bw 00°08T HQATAYOTHOONGAH WHZVILTIG SaA SHA SaA -MNQ -SOO7EHAYZ -VOOZTHNVOT TWA / W1d 10080708
[seutdezetyL
puy seutdezexo ‘sautdezetq] 900ZNNL9T
quSAS POOW Bu 00°007 HLVYWWAA ANIGVILHYNS ON ON ON - 900TAYNBT
(queqqtwisqut) [squetTTowy ‘sreueq jos] 900ZNNL9T
wot qedtqsuoD Sav 00° WNIdGOS HLVSNOOd SHA SHA ON -9007EHA07
[SeaTzeaAtseq seutTdezetpozusg] 900cNNC9T 9007TAVWNLT 9007TAYWOT
Aye TxXuy Su 00°ST WYddZVXO SHA Saaz ON -900ZNYC[TZ -900ZAYNTT -900ZNWVCLT IT / WId 90040208
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

GTTT JO 96¢ abed

CONFIDENTIAL
AZSER12771728
Case 6:06-md-01769-ACC-DAB Document 1363-3 Filed 03/12/09 Page 87 of 90 PagelD 85763

86SI

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
[SseuTdezertyuL
puy seutdezexg ‘seutdezetq] SOOCAWNZZ
I aetodtg Su 00°00% ELVYWWOA ANIGVILENO ON ON SaA -POO0ZLOO8Z
[S@aTIexeT Joequoy]
uotaedtqsuop n° VNIYONYXEYTY VNNYS SHA Sax SHA
[sueboz sy
puy susfS0zpuetquy] HANTINOO 9007daS672 sooconveod
wo Tadeaes quop oa SLVLEOW HNOWHLOWGAD SHA SHA SHA -MNN -SOOZDNYOT -SOOZHYWZZ TWA / 410 €0080z0m
[squesseizdeptquy 781740] Voocoaast
Jeprzostp azertodtg Bu oo°Sh 4HNTXVAVINGA ON Sax ON -POOZAONLT
[seatqeatszeq prow Aq3e,] 900TdHS 7S
Zepiostp aetodt@ bw 00*o00zT WONIGOS HLVONdTIVA SHA SHA ON -POO0cdHST?
[seutTdezeryL
puy seutdezexg ‘seutdezetq] POOTdHSZZ
Zepiostp azetodtg Bw 00°007 HLVYWWNA ANIGVILHYNS ON ON SaA -POOCTONYLT
[squesseizdeptquy 721740] DVOOCAONST
Jepiostp zeyTodtg Bu 00° OST GNIXVAVINGA ON SaA SEA -PoocONT90
[seatqeatszeq prow Aqjeg] DPOOCdHSTC
Jepiostp aetodt@ bw o0*o000T WONIdGOS ALYOUdTYA ON ON SHA -¢NN
[sastuoby
Zojdaeserouerzpy- Z-eqIeg
SATIOSTAaS]
eBuyAsy n° TIOWZLNEATYS SHA SHA SHA
[sueboz4sy
puy sueBorzpuet uy]
uotqydeserquop §=6Bn 00° GE0z GLIVLHOV ANOWHLOYdAD SHA SHA Sada
[seseestq Aematy 29Sqo 104g
sbniq 29u10/soTbzsuezpy] HONILNOD 900ZDNTEZ SOOZHYN8O
euyySy n° HQINOSHadnNd SHA SHA SaA -MNNQ -SOOZUYW60 -7OOTdHSZT? TWA / W1d 20080708
SASTIEL [SpTOTexTy wntdo TeznjeN] Q9O00TGHSLZ 900ZDNY8Z  GOOTHHAET
eyoer Apog 00°? NHAOWdNaI Sax ON ON -900ZDNYSZ -SO0O7GHAPZ -POOZDNWOT TWA / W1d 10080204
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans
NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GTTT JO LSE abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771729
66ST

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

[SeATIeATASd ptoy Aaqeg] SOOcNN’SZ
T zetodtga bw oo°00zT WiIdOS HLVONdTIVA ON SaA ON -SO0O0cedv8T
[seutdezertyL
puy seutdezexo ‘seutdezetq] SOOZTAWNOE
T zetodta bw oo°o004 ALVYVNOd ENIGVILENG ON ON SHA  -SOOTHWWEZ
[SeATIeATASq ptoy Aqqeg] SOO CHdVLT
T azetodtgq bw oo°000T WiIdOS HLVONdTIVA ON Sada Sada -SOOCHWNLZ
[seutdazeryL
puy seutdezexg ‘seutdezetq] SOOCUWN8Z
T aetodta Sw 00°00€ SLVAWNOd ENIGVILENS ON ON SHA -SOOZHWAPZ
[seaTaeatzeq ptow Aaqjeg] SOOTUUNIT
T zeTodtg Bu 00°009 WiIdOS HLVONdTVA ON ON SaA -SOOCHWNYTS
[SeaTIeatseq ptoy Aqqeg]
T azetodtg 6w 00°00F WHIdGOS BLYOUdT¥YA ON ON SHA
[seutdezetyL
puy seutdezexo ‘seutdezeta] SOOCHWNEZ
T azejtodta 6w 00°00z ALVUWWAA ANIGVILYNO ON ON SHA -SOOCHWNZZ
[squesseideptquy 78170] GOOTHNYSZ
T azetodtg 6w o00°0ST ANIXWAVINEA ON SHA SHA -SOOZAYW6T
[Seatieatszeq ptoy Aqqe,]
T aeTodtg 6u 00°002 WOIdOS HLYONdTIVA ON ON SaA
[SeutdezertyL
puy seutdezexo ‘seutdezetq] SOOTAWNTZ
T azetodta Bu 00°00T HIVaWWnd ANIGVILYNS ON ON SaA -GOOCHYN6T
(Wnty aty] SOOCNN82
T tetodtg  6w o00°005 ALYNOGYYO WOIHLII ON SHA ON -SOOZNNPLZ
[sueboqseboid] SONIINOD SOOZHNWSZ
uot qdeoerqU0D a THULSHDONOLH ON SHA SHA -¥INN -SOOZUYNOE 415 IO 70080208
[seaTaeatzeq ptow Aaqeg] 900TLOO6Z «=©©900TdHS6Z ©6007 DNW6O
I azejtodtgq Sw 00°00zT WiIdOS HLVONdTVA SHA SHA SaA -SOOZNYWPST -SOOZDNYOT -SOOZHYWZZ TWA / dLO £008070H
NOIIVOIGNI gs0dq [NOILVYOISISSVIO NOILYOICHWN)] da TO dwoldd aLvd dOLs aivd dos aLVd dOLS LNEWLVaaL qdadod
WaatL OTHHNHD NOILYOICGSW NAMVL NOIDVOICHN -SIVd LAVLS -HLVd Lavis -aLlvVd Davis Loadrans
NOTIVOIGHN dxZIWOGNVS THadvl Nado

GTTT JO ace abed

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SUOTIPOTPAW 6-O0T° 2° 7T Butastq

CONFIDENTIAL
AZSER12771730
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009T

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

[seatqeatszeq ptoy Aq eg] S00CNYPTE 900 ZONVEZ 900cNNL PO
Teprostp I azetodtq bw o0°000T WNIGOS ALYONdTVA ON Sada Sada -SOOCGHSLT -900ZNOrSO -S00ZLDO8T TWA / dL5 90080708
[squessoizdeptquy ze710] 900CHVNOZ
Zeprostp I azetodta Bu 00°SLE 4HNTXVAVINGA ON Sax ON -GOOZAON6Z
[squesseizdeptquy 78740] SOOZAONTO
Zepriostp J azetodtg 6u 00° 0ST HNTIXVAVINGA ON Sada SHA -GOO0¢CdHS92
[seutdezeryy
puy seutdezexo ‘seutdezetq] S00ZL90Z0
Iepiostp J azetodtg Bu 00°007 HLVYWWNA ANIdVILHYNS ON ON SaA -SO0O0TdHS9Z
[seutdezetyL
puy seutdezexg ‘seutdezetaq] SO0zdHSSZ
Iepiostp J azetodtg Bw 00°00€ ELVYWWNA ANIdVILHNS ON ON Sada -SO0O0CdHSTT
[wuntyatT] 9O00THAYET
Zeprostp J azetodtgq 6w oo0*o000T HLVNO@avO WNIHLIT ON Sada SaA -GOOCONWTE
[squesseideptquy 151730] GOOZAONSZ 900ZHWNOZ
Teprostp J azertodtg Bw 00°00€ ANIXVAVINHA ON Sada ON -GOOTAONZO -GOO0TLOOEO dLO IO 50080708
[SeptT Tuy] SOOCdHSVC
SyoepesH B oo°t TOWZLHOVad ON ON ON -S00cdHSST
[squesserzdeptauy 7820] SOOCdHSLT
T azetodtg Bu 00°S4 ANIXVAVINGA ON ON ON - G00 ZcONT92
[wntyat tT] GOOZdHSPZ
T aetodtg 6w oo*000T HLYNO@davO WNIHLIT ON Sada ON -goocIneyto
[wntyatT] SOOZNNLOE
T azeTodtd Bw 00°0SL HLYNO@avO WNIHLIT ON SHA ON -SOOCNNL6Z
(wn tat T) SOoOocNnrgc sooconvsc
T azejTodta Bu 00°05zZ HIVNOGaZO WNIHLIT ON Sax ON -SOOZCNNPSZ -GOOZCHWWOE dLS 10 70080704
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans
NOILYWOICSN CeZIWOGNVa ‘THavl Nado
SUOTIEOTPAN 6-OT'2°2T Butastq
STIT JO 6S¢ ebed

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109T

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

[Sa0qTQTYUI eHeqQdney

Aepjzostp UTUOIOASS SATIOSTES] 9007CAVNTO
eatqooegye azetodtg Bu 00°02 HQIYOTHOONCGAH ANILEXONII ON SaA ON -9007CEE4vT
[stoatqtyul eyeadney
aaepzostp UTUOIOISS SATIOSTAES] 9007EHAET
aaT oeTje rzelTodtg Bw 00°OT HATSOTHOONGAH ANTLEXONTA ON SaA ON - 9007NWL9Z
[Ss203TqtTyUul exyeadney
Japzostp UTUOIOTaS SATIOSTAas] SOOZNYLSZ
aaTqoezye azetodtg Bw 00°02 HQIAOTHOONCGAH ANILEAXONIA ON SaA SHA -S007LOO0E
teprostp [seaTjeatizsq ptoy Aq jeg] 9007EHAEZ
eat oezye azetodtq 6w 00° 000T WNIGOS ALVONdIVA ON SaA SHA -SO007TDOWTO
[SeaTIeaTszeq pptoy otuotdozg] AOANTINOS 900cTDNVET 900C INL TT
TepTnoys 3FeT UTed n°’ a NH4OudnNagI SHA SHA SEA -MNN -900ZTONTZT -SOOZAONOE TWA / d1O 80080708
(UTeTd *SAOATQTYUL soy] 900CdHSLE
wot sueqzedAy Bw 00°OT BLVATWA TISdVIVNH SaA ON ON -900c¢NNOr80
[stoaTqtTyur eyeadney
aepzo0stp UTUOIOISS SATIOSTES] 9007TEHA60
eatqoegye AeTodtg Bu 00°05 HQIAOTHIONCGAH ANTIIVALYYS ON SaA ON -SO007LO07Z
ATepsostp [seat eatieq proy Aqqed) AANTLNOS 900cONV8~ 900cNNLSO
eatqoezye retodtq 6u 00°00ST WOIGOS HLVONdIVA SHA SHA SEA -MNN -900ZNONrP90 -SOO0ZLOOTZ TWA / Wid 40080708
[seatqeatszeq prow Aqje,] 900¢dxaS ce
Teprostp I azeTodtg 6w go 00sT WOIGOS HLVONdIVA SHA SHA ON -900CaHA TO
[Ss203TqTYyUl exyeadney
UPUOIVOTSS SATIOSETSS] 900caH490
Teprostp I azejtodtgd Sw 0070S ACIMOTHOONGAH ANIIVYLYHS ON SaA SHA -S00¢daSL2
[seutdezertyL
puy seutdezexo ‘seutdezetq] SOO0C.LOOLT 900TONVET 900TNNLTO
Tepiostp I azeTodtad Bu 00° 00€ HLIVavVWAA ANTAVILYNO ON ON SEA -SOOZdHSLZ -900ZNNFSO -S00Z1D08T TWA / dLO 900807208
NOILYOICNI gsod [NOILVOISISSVIO NOILVOICHW)] du TO wordd aLvd dOLs HLvd dos aivd dOLS INSWLVaaL gqdoo
WHHL OI1HMENHD NOILYWOICEWN NHMVWL NOILWOICHW -aLVd LYVLS -aLVd LYvls -alvd Laws Loarans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

GTTT JO 09€ Obed

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